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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES LLC,                       )
                                              )
               Plaintiff,                     )     Redacted - Public Version
                                              )
      v.                                      )     C.A. No. 22-1466-MN
                                              )
TESLA, INC.,                                  )
                                              )
               Defendant.                     )


              LETTER TO THE HONORABLE LAURA D. HATCHER
            REGARDING AUTONOMOUS DEVICE’S OPPOSITION TO
           TESLA’S SOURCE CODE PROTECTIVE ORDER PROVISIONS


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Dated: May 22, 2023
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Dear Judge Hatcher,
        Autonomous Devices LLC (“AD”) submits this letter brief to highlight the unnecessary
and unfair prejudice resulting from Tesla, Inc.’s (“Tesla”) unconventional protective order
provisions. Ex. 1 at ¶2(c); D.I. 38 at 2. Most critically, Tesla’s provisions attempt to sweep an
unknown number of routine technical documents into a single category called “Source Code,” thus
imposing onerous restrictions on AD’s access to Tesla’s core technical documents and providing
Tesla with a nearly insurmountable tactical advantage through severe access limitations that would
inhibit Tesla’s ability to gather and analyze necessary evidence to prove its infringement case. See
generally Ex. 10 1 at 1, 3; Ex. 1 at ¶2(c). AD’s proposal should be adopted because it fairly balances
the need to protect confidential information with AD’s need for continual access to these materials.
      I.      No Good Cause Exists for Tesla’s Proposed Inclusion of Technical Documents as
              “Source Code.”
        Tesla’s arguments fail to provide the “good cause” required for adopting its source code
definition. See Leucadia, Inc. v. Applied Extrusion Techs., Inc., 998 F.2d 157, 166 (3d Cir. 1993).
        First, Tesla argues that its technical documents are treated with a high level of
confidentiality and disclosed subject to NDA in access-controlled environments. D.I. 38 at 1. This
may be true, but that same argument applies to any company’s proprietary information. AD’s
proposed protective order provides the necessary judicial protection to ensure that Tesla’s
confidential information remains protected at similar, if not greater, levels of protection. Safe
Flight Instrument Corp. v. Sundstrand Data Control Inc., 682 F. Supp. 20, 22 (D. Del. 1988).
        For example, Tesla’s NDA is not judicially enforced like this Court’s protective orders,
Tesla’s engineers and other recipients of the information do not have the same professional and
ethical obligations as AD’s lawyers, and Tesla cannot distinguish its access controls from those
regularly used in any litigation involving confidential business information.
        Moreover, Tesla’s proposed provisions run contrary to how it treats its documents and
code. Tesla’s security does not prevent its engineers from making entire copies of the accused
source code or copying it onto personal Dropbox or iCloud accounts. 2 Ex. 11 at ¶¶ 3, 31; Ex. 12
at ¶26. Also, Tesla’s assertions that its technical documents must be treated as “Source Code” is
belied by the fact that, in other cases, Tesla has not imposed such a restriction on its technical
documents. Ex. 13 at ¶ 8 (source code is “computer code and/or live data”); Ex. 14 at ¶ 8.
        Second, Tesla contends that its draconian provisions are required based on speculation
surrounding “corporate espionage” and “well-funded nation-state actors.” D.I. 38 at 1. Not so. AD
is a plaintiff in patent infringement litigation seeking to analyze evidence necessary to prove its
case, not a state actor or a mole committing corporate espionage. And there is no indication that
the protections proposed by AD, provisions commonly accepted in patent litigation involving
many large companies in this District, will not adequately protect Tesla’s confidential information.
Tesla’s expanded “Source Code” provision should be rejected because Tesla has failed to provide
any concrete evidence showing why its concerns about potential espionage raise to a level different
1
    Exhibits 1-9 are attached to Tesla’s letter brief. D.I. 38.
2
 Tesla refused to answer AD’s questions about whether Tesla’s employees can access the
materials implicated by this dispute outside of Tesla’s California facility, and whether Tesla has
written policies about where code can be accessed. Ex. 10 at 1.

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from any case involving confidential secretive business information. The standard provisions in
AD’s proposed Protective Order balance the parties’ interests and fairly address Tesla’s concerns.
        Third, Tesla argues that the Court should adopt Tesla’s onerous provisions because there
are a few instances of stipulated protective orders with similar provisions, and the Northern District
of California has an optional provision that expands the meaning of “source code.” D.I. 38 at 2
(citing Exs. 4, 5, 6). Optional provisions from other courts and stipulations between other parties
in cases involving different facts and circumstances are irrelevant to this dispute. Other courts have
declined plaintiffs’ efforts to expand the scope of “source code.” See, e.g., Ex. 15 at 1; HSM
Portfolio LLC v. Fujitsu Ltd., 2013 WL 12233636, at *1 (D. Del. Jan. 9, 2013).
    II.    Treating Technical Documents as Source Code Would Unfairly Impact AD’s
           Ability to Prepare and Try its Case
        Tesla’s proposals would add significant unnecessary delays and expenses to this case. If
Tesla’s expanded definition of source code is adopted, then each time AD or its experts want to
review any technical document, counsel and the experts will have to navigate the following
process: (1) provide Tesla with 4 to 14-days written notice, (2) fly from Washington, D.C. (where
AD’s counsel and experts are primarily located) to Tesla’s California facility in San Francisco, (3)
stay in a hotel, (4) travel to Tesla’s office to review documents on a dedicated source code
computer on a business day, (5) travel to the airport and fly back to Washington, D.C., and (6)
wait for Tesla to either object to the print request or provide a paper only copy of the technical
document in the mail. Ex. 1 at ¶¶11(a), (b), (c)(vii). That exercise is expensive, oppressive, highly
prejudicial and wholly unnecessary. Critically, counsel typically analyze technical documents
repetitively as a case theory is refined. Yet, the review of technical documents described above
would need to be repeated each time Tesla produces a new technical document, 3 each time Tesla
or its expert cites a technical document and each time AD’s lawyers or experts want to recall the
substance of the document they previously read to use it in case preparation.
         While the above prohibitions are punitive standing alone, Tesla’s proposal inserts
additional restrictions that further impede AD’s ability to prepare its case. According to Tesla,
AD’s lawyers cannot be trusted to travel with technical document printouts because they could be
left “in an airport or hotel room.” D.I. 38 at 3. Tesla provides no basis for this supposition. Tesla’s
proposed solution is that Telsa’s lawyers will bring the documents to any deposition. Ex. 1 at
¶11(c)(xii). Unsurprisingly, Tesla says it needs a manifest of every technical document that will
be discussed in a deposition ten days in advance. Id. The reason for such a provision is not security;
Tesla wants a roadmap of the documents AD will use in its depositions to prepare its witnesses
based on prior disclosure of the very documents to be used at a deposition. As with the draconian
provisions concerning inspection discussed above, providing Tesla with a roadmap of depositions
would result in unprecedented prejudice and is simply not necessary. Not only do Tesla’s proposed
provisions unfairly provide work-product-protected information with waiver implications, but it
also unfairly impacts AD’s ability to prepare for depositions, given that documents selected for
use in depositions often are selected shortly before or even on the day of the deposition. Tesla’s
suggested provisions are clearly intended to provide Tesla with a significant unfair advantage in
the discovery process, and they should be rejected.

3
 While Tesla has not produced a single document to date, it is routine for companies to produce
documents on a “rolling basis,” thus resulting in numerous productions during fact discovery.

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       Moreover, this Court has acknowledged that technical documents with less than 50 lines
of code are not source code documents. Ex. 18 at ¶13. Tesla also implicitly concedes that technical
documents differ from source code. During the meet and confer process, Tesla conceded that PDF
printouts of technical documents do not pose the same risks as disclosing source code by agreeing
to provide AD with unlimited printing of technical documents. Ex. 10 at 6. Nevertheless,
producing documents in print, but not electronic form, only prevents AD from efficiently
reviewing and analyzing documents. See, e.g., Member Servs, Inc. v. Security Mutal Life Ins., 2007
WL 2907520, at *1, 7 (N.D.N.Y. Oct. 3, 2007) (dismissing the chance of electronic documents
being misappropriated when paper documents were produced).
       Tesla’s attempt to expand source code protection to potentially all of its technical
documents creates an unfair minefield that would unfairly impair AD’s ability to review, analyze,
and use Tesla’s core technical documents throughout discovery and in trial. The Court should deny
Tesla’s restrictions for lack of “good cause.” Leucadia, 998 F.2d at 166.
   III.    AD’s Responses to the Four Points Raised at the End of Tesla’s Letter
        First, AD proposes that printouts of actual source code be limited to 2,500 aggregate pages
and 50 consecutive pages (2500:50). AD’s source code experts suggested these limits given the
specialized code involved in this case. Ex. 10 at 1. AD offered to consider 1500:50 limits but
warned that doing so would result in significant additional time at the source code computer, which
would be unduly burdensome for both parties. Id. AD’s limits are also consistent with limits agreed
to by other large companies with extremely valuable source code, such as Amazon and Ericsson.
Ex. 16 at 5 (1500:25); Ex. 17 at 10(k) (1500:50). Tesla’s 200:5 limit is simply insufficient, given
the number of patents and the complicated technologies involved in this case. Ex. 18 at 11 (granting
500 pages where “source code review is not critical to the facts of [the] case.”)
        Second, AD agrees to not travel with actual source code but cannot agree to provide
advanced notice of the technical documents it will discuss in a deposition for the reasons discussed
above. Also, given that many technical depositions will likely occur in person, AD’s attorneys
need to travel with their working versions of the technical documents to ensure efficient, effective
and fair depositions.
        Third, AD agrees not to digitize Tesla’s source code except for use in excerpts and exhibits
as reasonably necessary. For the above reasons, AD cannot agree to fly to California whenever it
wants to review technical documents electronically, which is eminently unfair.

         Fourth, AD is not insisting on keeping unredacted copies of documents with Tesla’s source
code. D.I. 38 at 3. Instead, given Tesla’s concerns about its information, AD offered Tesla the
opportunity to provide redacted versions of archival documents. Such a provision is not standard
in Tesla’s other protective orders nor in most protective orders. Ex. 14 at ¶25; Ex. 4 at ¶15; Ex. 5
at ¶ 4; Ex. 6 at ¶26. AD wants to ensure that Tesla has the opportunity to provide redacted versions
of archival documents so there is no dispute about what AD can or cannot keep for its archival
purposes.




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                                              Respectfully submitted,

                                              /s/ Karen E. Keller

                                              Karen E. Keller (No. 4489)



      cc:   Clerk of the Court (by CM/ECF and Hand Delivery)
            All Counsel of Record (by CM/ECF and Email)




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                     Exhibit 10
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John Holley

From:                              John Holley
Sent:                              Thursday, May 11, 2023 9:11 PM
To:                                Moore, Ian; Autonomous_Tesla
Cc:                                Tesla_AD_Attorneys
Subject:                           RE: 2023-05-01 - DRAFT Protective Order (redline) (002).docx


Hi Ian,

Thank you for providing Tesla’s responses. We have a few follow‐up questions and comments to make sure that the
dispute is fairly framed.

Tesla says that the discovery material in the Arigna case is different from the material in this case.
     Has Tesla ever produced the discovery material implicated in this case (e.g., Autopilot source code, the Neural
        Network source code, or the non‐computer‐code documents) in any other case? If so, what case(s)?
     Has Tesla have ever allowed any third party, e.g., a supplier, vendor, partner, subsidiary, contractor, or anyone
        else, to access the discovery material implicated in this case? If so, did Tesla allow any of those third parties to
        review the code outside of Tesla’s California facilities or require the same restrictions that Tesla seeks here?

Tesla also demands that the code be reviewed at Tesla’s California facility.
     Since January 1, 2018, has any Tesla employee accessed the discovery material implicated by this case outside of
         Tesla’s California facility?
     Does Tesla have a written policy regarding where the source code implicated by this case can be accessed and
         whether or not it may be accessed outside of Tesla’s California facility? If so, will Telsa provide us with each
         version of that policy from January 1, 2018 to now?

Tesla says it is unsure what is meant by a document having a defined type.
     During our meet and confers we repeatedly mentioned Software Specifications, Requirement Specifications and
        Software Requirement Specifications. Does Tesla not have these types of documents?
     Also, we understand from our meetings that Tesla controls access to certain documents in the manner Tesla is
        demanding here. Is Tesla unable to identify the types of documents with the restrictions Tesla is
        proposing? And is Tesla actually unable to estimate the volume of the restricted documents?

Tesla identifies two cases where the parties stipulated to certain provisions surrounding source code. Please let us know
if Tesla is aware of any Court ordering those provisions without a stipulation. We are unaware of any such instance.

Regarding the volume of printed pages, we are surprised that Tesla is resurrecting the 500‐page number. As we
discussed during our meet and confer, we retained a source code expert who informed us that 2,500 pages would be
needed for a case with the specialized source code here. We also informed Tesla that 200 or 500 pages would make
proving our case nearly, if not, completely, impossible. We explained that we would be willing to consider a lower
number, such as 1,500 pages, but that number would require significant additional time on the computer to “Swiss
cheese” the code snippets needed to prove our case. Given that Tesla says it is willing to negotiate on the number,
please let us know Tesla’s proposed limits as soon as possible.

Tesla’s requirement that AD disclose its cross‐examination documents to Tesla 10‐days (or anytime) in advance of a
deposition makes little sense and is extremely prejudicial. It is fundamental that AD have an opportunity to fully cross‐
examine Tesla’s witnesses and experts, and this cannot be done properly if Tesla is tipped off to the documents we will
discuss with its witnesses. Tesla’s attempt to mitigate this extreme prejudice by being reasonably over‐inclusive is
unworkable. If Tesla is willing to bring every document to the deposition, then perhaps we can reach an agreement, but
                                                              1
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under no circumstances is Tesla entitled to uncover AD’s attorney work product vis‐à‐vis knowing a subset of documents
from which we may ask questions. Please let us know if Tesla will agree to bring every document to each deposition.

AD does not intend to attach extensive pages of source code to any filing, but it reserves the right to attach relevant
portions as an exhibit. We intend to be reasonable and Telsa may reserve the right to dispute whether AD’s exhibits are
reasonable. Please let us know if this is workable for Tesla.

Lastly, AD does not intend to keep archival copies of Tesla’s source code once the matter is complete. That was never
AD’s position. And AD will certify that it destroyed Tesla’s CBI following the conclusion of this matter. However, AD
does reserve the right to keep an archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,
correspondence, deposition and trial exhibits, expert reports, even if such materials contain Protected
Material. Typically there are no redaction requirement for archival copies. But, AD is reasonable, and agrees to allow
Tesla to provide AD with redacted archival copies that removes any source code snippets.

Best,
John



McKool Smith | John Holley
Principal | Washington | (202) 370‐8320

From: Moore, Ian <Ian.Moore@weil.com>
Sent: Tuesday, May 9, 2023 4:00 PM
To: John Holley <jholley@McKoolSmith.com>; Autonomous_Tesla <Autonomous_Tesla@mckoolsmith.com>
Cc: Tesla_AD_Attorneys <Tesla.AD.Attorneys@weil.com>
Subject: RE: 2023‐05‐01 ‐ DRAFT Protective Order (redline) (002).docx

John,

Tesla provides the following responses to AD’s comments/questions:

 AD Comment/Question                                          Tesla Response
 These limitations were not in the PO Tesla stipulated to     The discovery material potentially implicated by this
 in the Arigna case.                                          matter is particularly sensitive and was not at issue in
                                                              Arigna, which involved infringement allegations against a
                                                              third‐party component.

 Do you have an estimate on when Tesla will know what         Tesla believes that its proposed definition provides
 types of documents it has that will fall into this           adequate guidance as to the type of documents that
 category?                                                    qualify as source code. The same or similar definitions
                                                              have been used in prior cases. E.g., Parity Networks, LLC v.
 Does Tesla define its document types? If so, is Tesla        Netgear, Inc., No. 22‐cv‐1521, D.I. 20 (D. Del. Apr. 3,
 willing to define the exact types of documents that fall     2023); Almondnet, Inc. v. Roku, Inc., No. 6:21‐cv‐00876,
 under this non‐computer‐code category and figure out         D.I. 44 (W.D. Tex. Sept. 16, 2022).
 the volume of those documents?
                                                              Beyond the proposed definition of source code, Tesla is
                                                              unsure what is meant by a document having a defined
                                                              type.




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 Do you have an estimate on when Tesla will know the         Tesla will not know the volume of such documents until
 approximate volume of documents that will be classified     document collection is substantially complete.
 as non‐computer‐code documents?

 How does Tesla expect us to share these documents           These documents would be subject to the protocols
 with our expert?                                            prescribed in ¶ 11 for the disclosure and review of source
                                                             code.
 How does Tesla expect us to use these documents in a
 remote deposition, at a hearing, or at trial?

 We understand that Tesla is unwilling negotiate             Tesla is willing to negotiate but is unwilling to agree to
 regarding its original suggestion of 200 pages total with   AD’s proposal of 2500:50, which is five times higher than
 5 consecutive pages. Is our understanding correct?          AD’s original proposal of 500:15, which Tesla previously
                                                             stated it cannot agree to.
 We understand that Tesla unwilling to allow AD’s            Tesla is unwilling to allow AD to travel with source code
 lawyers to travel with deposition exhibits, regardless of   printouts.
 the security measures employed. Is our understanding
 correct?
 We understand that Tesla insisting that AD’s lawyers        Tesla would not require that AD reveal the documents it
 reveal what documents it will discuss during a              will discuss during a deposition. Tesla would require that
 deposition via a 10‐day notice to Tesla’s lawyers. Is our   AD provide notice of what source code printouts it would
 understanding correct?                                      like available at the deposition, such that Tesla can
                                                             securely prepare and transport copies. Tesla is flexible as
                                                             to the notice period.

                                                             If AD’s concern is in revealing which specific printouts will
                                                             be discussed at a deposition, provided AD is reasonable,
                                                             AD can be over‐inclusive in which printouts it requests.

 We understand that Tesla is unwilling to allow relevant     If AD only intends to use short excerpts of source code,
 portions of its documents to be attached as an exhibit to   the parties may be able to reach agreement.
 any pleading, but the relevant portion can be included in
 the body of the pleading. Is our understanding correct?
 How does Tesla expect to police the redaction of the        Tesla does not understand why AD needs to keep archival
 archival copies?                                            copies of Tesla’s source code once this matter is complete.

                                                             Tesla requires that AD certify that it has destroyed
                                                             (through redaction or otherwise) all Tesla source code at
                                                             the conclusion of this matter. If it were to be later
                                                             determined that AD failed to do so, Tesla would seek legal
                                                             recourse against AD, including its attorneys. Tesla trusts
                                                             that AD will comply with the protective order.

Best regards,
Ian




Ian Moore
Weil, Gotshal & Manges LLP
767 Fifth Avenue
                                                             3
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New York, NY 10153
Ian.Moore@weil.com
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From: Moore, Ian <Ian.Moore@weil.com>
Sent: Thursday, May 4, 2023 6:58 PM
To: John Holley <jholley@McKoolSmith.com>
Cc: Tesla_AD_Attorneys <Tesla.AD.Attorneys@weil.com>; Autonomous_Tesla <Autonomous_Tesla@mckoolsmith.com>
Subject: RE: 2023‐05‐01 ‐ DRAFT Protective Order (redline) (002).docx

We expect to be able to provide answers by Monday or Tuesday.




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From: John Holley <jholley@McKoolSmith.com>
Sent: Thursday, May 4, 2023 5:36 PM
To: Moore, Ian <Ian.Moore@weil.com>
Cc: Tesla_AD_Attorneys <Tesla.AD.Attorneys@weil.com>; Autonomous_Tesla <Autonomous_Tesla@mckoolsmith.com>
Subject: RE: 2023‐05‐01 ‐ DRAFT Protective Order (redline) (002).docx

Thanks, Ian. The 31st works on our end. Do you have a rough estimate of when you will get answers?


McKool Smith | John Holley
Principal | Washington, D.C. | Tel: (202) 370‐8320

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should be immediately destroyed.


From: Moore, Ian <Ian.Moore@weil.com>
Sent: Thursday, May 4, 2023 5:31 PM
To: John Holley <jholley@McKoolSmith.com>
Cc: Tesla_AD_Attorneys <Tesla.AD.Attorneys@weil.com>; Autonomous_Tesla <Autonomous_Tesla@mckoolsmith.com>
Subject: RE: 2023‐05‐01 ‐ DRAFT Protective Order (redline) (002).docx

Hi John,

May 18th and 22nd work for us. May 29th is Memorial Day, so we’d propose May 31st as the third date instead, if that
works for you all.

Tesla is still considering the questions below but may not be able to provide answers by the end of this week.

Best regards,
                                                                                   4
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Ian




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From: John Holley <jholley@McKoolSmith.com>
Sent: Thursday, May 4, 2023 1:55 PM
To: Moore, Ian <Ian.Moore@weil.com>
Cc: Tesla_AD_Attorneys <Tesla.AD.Attorneys@weil.com>; Autonomous_Tesla <Autonomous_Tesla@mckoolsmith.com>
Subject: RE: 2023‐05‐01 ‐ DRAFT Protective Order (redline) (002).docx

Hi Ian,

I’m following up on the comments/questions below. Will you be able to provide answers this week?

Also, Judge Hatcher’s form (Judge Hatcher Motion To Schedule Teleconference.pdf (uscourts.gov)) requires us to
identify three dates for the teleconference. We are free on the 18th, 22nd, and 29th of May. Please let us know if those
dates work on your end.

Thanks,
John


McKool Smith | John Holley
Principal | Washington, D.C. | Tel: (202) 370‐8320

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should be immediately destroyed.


From: John Holley <jholley@McKoolSmith.com>
Sent: Tuesday, May 2, 2023 6:30 PM
To: Moore, Ian <Ian.Moore@weil.com>
Cc: Tesla_AD_Attorneys <Tesla.AD.Attorneys@weil.com>; Autonomous_Tesla <Autonomous_Tesla@mckoolsmith.com>
Subject: FW: 2023‐05‐01 ‐ DRAFT Protective Order (redline) (002).docx

Hi Ian,

Thank you for the updates. Please see our comments/questions in red in‐line with your message.

Best,
John
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From: Moore, Ian <Ian.Moore@weil.com>
Sent: Tuesday, May 2, 2023 3:49 PM
To: John Holley <jholley@McKoolSmith.com>
Cc: Autonomous_Tesla <Autonomous_Tesla@mckoolsmith.com>; Tesla_AD_Attorneys <Tesla.AD.Attorneys@weil.com>
Subject: RE: 2023‐05‐01 ‐ DRAFT Protective Order (redline) (002).docx

John,

We understand that the parties will notify the Court today that there are outstanding PO disputes. Nevertheless, we
wanted to provide Tesla’s response to the proposals discussed on our last call.

¶ 2(c) (definition of source code): Tesla proposes the following definition of source code:
         “‘Source Code’ means computer code, associated comments, and/or revision histories for computer code,
         formulas, engineering specifications, or schematics that define or otherwise describe in detail the algorithms or
         structure of software or hardware designs.”
Tesla can agree that non‐computer‐code documents will not count towards the printed page limit, and that printouts of
non‐computer‐code documents will be delivered. Tesla cannot at this time estimate the volume of these documents or
specify their exact type beyond the above definition.
     As you can imagine, this definition seems onerous to Plaintiff as it contains very few boundaries and could lead
         to a scenario where almost all technical documents were subject to source code provisions of the PO. That is
         not acceptable. For the non‐computer‐code documents (i.e., formulas, engineering specifications, or schematics
         that define or otherwise describe in detail the algorithms or structure of software or hardware designs) please
         let us know if you can provide any clarity on the following questions to aid in the assessment of the severity of
         the proposed definition.
              o Do you have an estimate on when Tesla will know what types of documents it has that will fall into this
                  category?
              o Do you have an estimate on when Tesla will know the approximate volume of documents that will be
                  classified as non‐computer‐code documents?
              o Does Tesla define its document types? If so, is Tesla willing to define the exact types of documents that
                  fall under this non‐computer‐code category and figure out the volume of those documents?
                        We want to be reasonable here, but we need to understand the scope of any possible
                           agreement. For example, we don’t want a moving target on what does or does not constitute a
                           non‐computer‐code document. And we cannot agree for Tesla to make vast portions of its
                           production in unsearchable paper format. If there is a limited subset of documents, e.g., a few
                           dozen Software and Requirement Specifications filling roughly a 4‐inch binder, then we can
                           likely reach an agreement.
                        Assuming an agreement is reached:
                                 How does Tesla expect us to share these documents with our expert?
                                 How does Tesla expect us to use these documents in a remote deposition, at a hearing,
                                    or at trial?
     We also note that Tesla did not require these limitations in its case against Arigna Technology Ltd., 2:21‐cv‐
         00054‐JRG‐RSP. In that case, Tesla defined “Source Code” as follows:




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For the following provisions, the parties remain at an impasse:
     ¶ 11(c)(vii) (print limits);
             o We understand that Tesla is unwilling negotiate regarding its original suggestion of 200 pages total with
                5 consecutive pages. Is our understanding correct? This limitation was not in the Arigna PO Tesla
                agreed to.
     ¶ 11(c)(xii) (deposition printouts);
             o We understand that Tesla unwilling to allow AD’s lawyers to travel with deposition exhibits, regardless
                of the security measures employed. Is our understanding correct?
             o We understand that Tesla insisting that AD’s lawyers reveal what documents it will discuss during a
                deposition via a 10‐day notice to Tesla’s lawyers. Is our understanding correct?
             o These limitations were not in the PO Tesla stipulated to in the Arigna case.
     ¶ 11(c)(xiii) (electronic exhibits);


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            o   We understand that Tesla is unwilling to allow relevant portions of its documents to be attached as an
                exhibit to any pleading, but the relevant portion can be included in the body of the pleading. Is our
                understanding correct?
            o   Here is what Tesla stipulated to in the Arigna case. Notably, it does not include the no‐exhibit provision
                Tesla seeks here.




       ¶ 18(c) (redaction of archival copies).
            o How does Tesla expect to police the redaction of the archival copies? Also, Tesla did not have a
                 redaction requirement in is Argna case.




Finally, further to our call, Tesla proposes the following additional provision regarding data breaches:

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           The Receiving Party shall promptly notify the Producing Party within 5 days if it becomes aware of any
           unauthorized access of the Receiving Party or any unauthorized access of a Party having access to the Producing
           party’s materials.
               o This is fine.

Best regards,
Ian




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From: John Holley <jholley@McKoolSmith.com>
Sent: Monday, May 1, 2023 4:00 PM
To: Moore, Ian <Ian.Moore@weil.com>
Cc: Autonomous_Tesla <Autonomous_Tesla@mckoolsmith.com>; Tesla_AD_Attorneys <Tesla.AD.Attorneys@weil.com>
Subject: 2023‐05‐01 ‐ DRAFT Protective Order (redline) (002).docx

Ian,

Thanks for the call just now. Attached is the document we talked through on the call. The yellow parts are the disputes
that you highlighted. The red parts are the ones we cannot accept as written. The blue/green/grey parts are the ones
that we are either close on or tentatively agreed upon, subject to client approval.

Please let us know what Telsa says about the redefinition of “Source Code Material” to include only
Software/Requirement Specifications. If you could please provide the exact types of documents and the volume of
those documents, it would help reach a resolution, e.g., we don’t want to agree to have millions of pages produced in
paper form only and we do not want a lack of clarity about what constitutes a Source code like document.

Also, please let us know if Tesla can provide a more reasonable number of source code printouts / consecutive pages.

Thanks,
John




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                     Exhibit 11
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10
                                UNITED STATES DISTRICT COURT
11
                            NORTHERN DISTRICT OF CALIFORNIA
12

13
                                                    CASE NO.
14
       TESLA, INC., a Delaware corporation,         COMPLAINT
15
                   Plaintiff,
16
          v.                                        JURY TRIAL DEMANDED
17
     GUANGZHI CAO, an individual,
18

19                 Defendant.

20

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                                              COMPLAINT
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 1                                      SUMMARY OF THE ACTION
 2           1.      Tesla, Inc. (“Tesla”) leads the world in the design and production of all-electric
 3   vehicles, as well as clean energy generation and storage products. Defendant Guangzhi Cao was a
 4   member of Tesla’s Autopilot team, an elite group of engineers developing Tesla’s industry-leading
 5   Autopilot features, including its full self-driving technology – a crown jewel of Tesla’s intellectual
 6   property portfolio. As part of the Autopilot team, Cao had access to crucially important, and highly
 7   confidential, Tesla trade secrets, including source code.
 8           2.      On January 3, 2019, Cao abruptly announced that he was quitting his job at Tesla,
 9   effective the very next day. Although he did not tell anyone at the time, Cao had accepted a job
10   doing the same work for Xiaopeng Motors Technology Company Ltd. (“XMotors”), a Tesla imitator
11   also pursuing self-driving and electric vehicle technology.
12           3.      As Tesla has now learned, Cao began searching for a new job by November 2018.
13   Long before he left, Cao began uploading complete copies of Tesla’s Autopilot-related source code
14   to his personal iCloud account – more than 300,000 files and directories, in violation of Tesla’s
15   policies and its agreements with Cao. Then, as he was looking to leave Tesla, Cao created .zip files
16   of Tesla’s complete Autopilot-related source code repositories, making them smaller and easier to
17   move.
18           4.      Unbeknownst to Tesla, Cao had at least a verbal offer from XMotors by November
19   26, 2018. Cao then traveled to China (the home of XMotors) between December 5 and 9, without
20   telling his manager where he was going or why. He received a written employment offer from
21   XMotors on December 12.
22           5.      Tesla does not know when Cao accepted his job offer. However, as Tesla now
23   knows, Cao deleted over 120,000 files in the month of December and disconnected his iCloud
24   account from his Tesla-issued computer on December 26. Between December 27 and January 1,
25   Cao repeatedly logged into Tesla’s secure networks, and he cleared his browser history by January
26   4, his last day at Tesla.
27           6.      When he left, Cao did not return Tesla’s highly confidential information, nor disclose
28   that he had made copies. Tesla thus believes that Cao still has, can access at will, and may be using
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 1   all the source code needed to replicate Tesla’s proprietary Autopilot technology, none of which he
 2   has a legal right to possess.
 3          7.      Needless to say, Tesla’s confidential information is not safe in the hands of XMotors
 4   or its employees. Inspired by and on a mission to beat Tesla, XMotors reportedly designed its
 5   vehicles around Tesla’s open-source patents and has transparently imitated Tesla’s design,
 6   technology, and even its business model. XMotors has also introduced reportedly “Autopilot-like”
 7   features (called X-Pilot), and now employs at least five of Tesla’s former Autopilot employees,
 8   including Cao. And, as discussed below, this would not be the first time that a new XMotors recruit
 9   tried to bring his former employer’s trade secrets to XMotors.
10          8.      Tesla has spent hundreds of millions of dollars and more than five years developing
11   Autopilot. Now that investment is at risk. Tesla must learn what Cao has done with Tesla’s IP, to
12   whom he has given it, and the extent to which Tesla has been harmed. Tesla files this lawsuit to
13   compel the return of its valuable IP and protect it from further exploitation, and for all other relief as
14   the facts may warrant.
15                                               THE PARTIES
16          9.      Tesla is a Delaware corporation with its headquarters and principal place of business
17   in Palo Alto, California.
18          10.     Defendant Guangzhi Cao is an individual who, on information and belief, resides in
19   Cupertino, California. From April 24, 2017 until January 4, 2019, Cao worked for Tesla in Palo
20   Alto, California.
21                                      JURISDICTION AND VENUE
22          11.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331 because this matter involves
23   claims under the Defend Trade Secrets Act (“DTSA”), 18 U.S.C. §§ 1836 et seq. This Court has
24   supplemental jurisdiction over the remaining claims pursuant to 28 U.S.C. § 1367, as the remaining
25   claims form part of the same case or controversy: Cao’s access to, taking of, and use of Tesla’s
26   intellectual property and confidential information.
27          12.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a
28   substantial part of the events giving rise to the claims occurred in this District. For example, Tesla
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 1   employed Cao in Palo Alto, which is within the Northern District; Cao downloaded Tesla’s source
 2   code while physically present at or connected to his Tesla workplace.
 3                                      FACTUAL BACKGROUND
 4      A. Tesla’s Industry-Leading Autopilot Technology And Autopilot Source Code
 5          13.     Tesla’s Autopilot technology is widely regarded as the most advanced, safest, and
 6   most reliable technology of any consumer advanced driver-assistance system solution. Today,
 7   Autopilot is an advanced driver assistance system that augments drivers’ perception, improves their
 8   decision-making, and assists in controlling their vehicles. Autopilot offers advanced driver
 9   assistance features including lane-keeping, adaptive cruise control, and automatic parking. More
10   recently, Tesla introduced Navigate on Autopilot, which guides a car from a highway’s on-ramp to
11   off-ramp, including suggesting and making lane changes, navigating highway interchanges, and
12   taking exits (in each case under the driver’s supervision). Tomorrow’s Autopilot will make Tesla’s
13   vehicles fully autonomous, capable of driving short and long distances without driver involvement.
14          14.     Tesla has a global fleet of more than 500,000 cars, which have driven more than a
15   billion collective miles with Autopilot activated. Every day, thousands of Autopilot-enabled Tesla
16   vehicles provide real-time feedback to Tesla’s servers, yielding voluminous data that Tesla uses to
17   continually improve the Autopilot system. This fleet gives Tesla exponentially more data than its
18   autonomous vehicle competitors, who generally have only small fleets of prototype vehicles, and
19   has allowed Tesla to accelerate its autonomy technology in a way no other company can.
20          15.     Tesla uses multiple, highly confidential kinds of source code for its Autopilot
21   features, including the firmware, Autopilot, and neural net source code repositories (the “Autopilot
22   Trade Secrets”). Firmware source code executes core tasks on Tesla’s vehicles, such as motor
23   controls, steering, and infotainment functions. Autopilot source code executes Autopilot-related
24   functions, such as semi-autonomous driving, in response to environmental and driver-supplied
25   inputs, and uses the neural net to process (and “see”) information from onboard cameras to make
26   decisions. The neural net source code does not run on Tesla’s vehicles directly but is used to “train”
27   the neural net using a massive dataset via machine-learning processes. Each of these source code
28   repositories is highly valuable in its own right. Taken together, the Autopilot Trade Secrets would
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 1   give a competitor an enormous advantage in attempting to replicate Tesla’s current self-driving
 2   technology, and in anticipating future developments.
 3          16.     Tesla derives independent value from maintaining the secrecy of its source code and
 4   other proprietary information related to Autopilot and the functioning of its vehicles. Tesla’s source
 5   code reveals how Tesla has approached and solved problems in vehicle autonomy, and disclosure of
 6   that source code could give competitors an unfair, and unearned, advantage.
 7          17.     For example, unlike many of Tesla’s competitors, Tesla’s self-driving functionality is
 8   primarily based on cameras and radar, without the use of another expensive sensor, LIDAR. The
 9   source code reveals in great detail how Tesla has used camera and radar to solve problems in
10   autonomous driving.
11          18.     As another example, the source code also reflects and contains improvements that are
12   built on Tesla’s massive volume of fleet telemetry data. If disclosed to a competitor, that competitor
13   could use Tesla’s source code to copy Tesla’s work, compete with Tesla, or otherwise accelerate the
14   development of its own vehicle autonomy technology.
15          19.     Similarly, across all of its source code (including firmware, Autopilot, and neural net
16   source code), Tesla has invested enormous time and expense to write and incrementally improve its
17   source code over time. Disclosure of this source code to Tesla’s competitors could give them access
18   to off-the-shelf code that they could use in operating their own vehicles or vehicle autonomy
19   software. If Tesla’s source code is disclosed to competitors, those competitors will unfairly receive,
20   for free, the fruit of Tesla’s labor and investment over many years to develop, improve, and refine its
21   various kinds of source code.
22      B. Tesla Vigorously Protects The Confidentiality Of Its Confidential Information
23          20.     Tesla’s policies and practices robustly protect confidential and proprietary
24   information, including the Autopilot Trade Secrets. For example, Tesla requires all its employees to
25   enter into agreements that obligate them to safeguard the company’s confidential information,
26   including trade secrets and source code. Employees must sign confidentiality agreements as a
27   condition of their employment, such as Tesla’s Employee Non-Disclosure and Inventions
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 1   Assignment Agreement (“NDA”), and must periodically re-sign as the company revises and updates
 2   its agreements.
 3          21.      Tesla secures its physical facilities by restricting access to authorized personnel, and
 4   then monitoring actual access with security guards and cameras. Visitors to Tesla’s headquarters in
 5   Palo Alto (“Deer Creek”), where the Autopilot team is located, must check in with a receptionist or
 6   security guard, sign a nondisclosure agreement, and submit to a photograph. While at Deer Creek,
 7   they must be escorted by a Tesla employee at all times.
 8          22.      Tesla also protects its confidential information with stringent information security
 9   policies and practices. Tesla’s network and servers are themselves password-protected and firewall-
10   protected and are accessible only to current Tesla employees with proper credentials. And after an
11   employee resigns or is terminated, Tesla promptly deactivates that user’s network, active directory,
12   and email permissions, which cuts off access to Tesla’s source code repositories. In addition, Tesla
13   prohibits employees from storing confidential Tesla information on unsecured systems, such as
14   iCloud, Google Drive, or DropBox – which Cao violated here.
15      C. Tesla Guards The Autopilot Source Code Even More Strictly
16          23.      The Autopilot Trade Secrets are extremely valuable, and Tesla takes extreme care to
17   keep them secret. Each of Tesla’s 200 Autopilot team members must sign Tesla’s NDA, which
18   requires employees to keep confidential all of Tesla’s confidential and proprietary information,
19   including technical data, trade secrets, source code, and other business information. The Autopilot
20   team members are also subject to Tesla’s general policies and practices, as described above. In
21   addition, the Autopilot team is physically separated from the other employees at Deer Creek.
22   Employees with approved access rights to the Autopilot team area must badge into the area and pass
23   through a turnstile, which prevents “tailgating” by other people who are not authorized to enter the
24   restricted area. This physical separation ensures that other Tesla employees, or authorized guests,
25   cannot see or learn what the Autopilot team is doing. The Autopilot team’s work is top secret, even
26   within Tesla.
27          24.      Tesla stores the Autopilot Trade Secrets on a Tesla-owned server, protected behind
28   Tesla’s firewall. Of Tesla’s approximately 45,000 employees worldwide, only about 800 have
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 1   access to the firmware source code, while only about 200 have access to any portion of the Autopilot
 2   source code. Access to both firmware and Autopilot source code is granted and monitored by high-
 3   level managers in the Autopilot group. Tesla restricts the neural network source code most
 4   stringently: currently, only about 40 people have access to this source code, which is granted on a
 5   strict “need-to-know” basis and only by the head of Artificial Intelligence at Tesla. As noted above,
 6   by virtue of his position and responsibilities, Cao had access to all three types of source code.
 7       D. XMotors Copies Tesla To Catch Up
 8           25.     Given Tesla’s success with its electric and autonomous cars, numerous companies are
 9   trying to catch up. One such company is XMotors. 1 XMotors is one of many Tesla-inspired
10   startups, and its copying of Tesla is well documented. 2 For example, XMotors’ first vehicle, the G3,
11   has been called a “Tesla clone” based on visual similarities in the vehicles’ styling, touchscreen,
12   user interface, instrument cluster, headlights, and more. XMotors has also announced that it will
13   operate a broad “super charging” network (Tesla’s global fast-charging network is called the
14   “Supercharger” network), and will operate a direct sales and service network, like Tesla has done
15   since its inception.
16           26.     XMotors has also pursued Tesla’s employees. In 2017, XMotors hired a former Tesla
17   Autopilot team member as its Vice President of Autonomous Driving. Tesla is informed and
18   believes that this employee is now responsible for the self-driving research and development team
19   for XMotors. At least five former Autopilot team members have now gone to XMotors, including
20   Cao.
21           27.     XMotors has previously gained notoriety in connection with competitors’ trade
22   secrets. In July 2018, a former Apple employee was arrested at the San Jose International Airport
23
     1
       On information and belief, the parent company, based in China, is Xiaopeng Motors Technology
24
     Company Ltd., often referred to as Xpeng Motors. According the website www.xmotors.ai,,
25   “XMotors is a fully-owned subsidiary of XPENG Motors.” On information and belief, the XMotors
     entity that hired Cao is formally known as XMotors.ai, Inc.
     2
26     https://interestingengineering.com/is-xpeng-set-to-be-the-tesla-of-china;
     https://qz.com/1362926/chinese-ev-unicorn-xpeng-motors-wouldnt-exist-without-tesla/;
27   https://electrek.co/2018/12/13/tesla-inspired-ev-startup-xiaopeng-all-electric-suv/;
     https://electrek.co/2018/04/10/ev-startup-tesla-clone-alibaba-foxconn-xiaopeng/.
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 1   for stealing self-driving intellectual property from Apple. 3 Like Cao, that individual had accepted a
 2   job with XMotors and left his old job with valuable trade secrets he had no right to possess.
 3       E. Cao Agreed to Protect Tesla’s Confidential Information
 4          28.     Cao was subject to confidentiality agreements throughout his employment at Tesla.
 5   Even before he was hired, he expressly assented to a non-disclosure agreement as part of his pre-
 6   employment interview process. The day before his first day as an employee, on April 23, 2017, he
 7   agreed to a Tesla Motors, Inc. Employee Proprietary Information and Inventions Agreement, which
 8   included restrictions on his use of Tesla’s confidential information. See Exhibit A (the “First
 9   NDA”). On June 4, 2018, Cao agreed to an updated agreement with substantially similar provisions.
10   See Exhibit B (“Second NDA,” and together with Exhibit A, the “NDAs”).
11          29.     The NDAs cover all of Tesla’s technical data, trade secrets, source code, and other
12   business information, and require employees to keep that information confidential. See Exhibit A at
13   § 1, Exhibit B at § 1. Both NDAs explicitly require an employee, upon termination, to
14   “immediately” return to Tesla all Tesla hard copy and electronic documents and materials. See
15   Exhibit A at § 4, Exhibit B at § 4. Both prohibit current and former employees from soliciting Tesla
16   employees on behalf of another company for 12 months after they leave Tesla. See Exhibit A at §
17   8.2; Exhibit B at §§ 9.2.1, 9.2.2.
18       F. Cao Misappropriates The Autopilot Trade Secrets
19          30.     Cao started as a full-time employee at Tesla on April 24, 2017, as a Staff Computer
20   Vision Scientist, working as part of the team building the neural net that is the foundation for Tesla’s
21   self-driving technologies. Because of his position and job duties, Cao had extensive access to
22   Tesla’s confidential information, including all of the Autopilot Trade Secrets. While at Tesla, Cao
23   worked on Autopilot with the former Tesla employee who later left to become XMotors’ current
24   Vice President of Autonomous Driving.
25          31.     As Tesla now knows, Cao violated Tesla’s policies and his agreements with Tesla
26   from the beginning. Cao used his personal iCloud account from 2017 to 2018 to create backup
27
     3
      https://www.reuters.com/article/us-apple-theft/ex-apple-worker-charged-with-stealing-self-driving-
28
     car-trade-secrets-idUSKBN1K02RR.
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 1   copies of Tesla’s highly confidential information, including the Autopilot Trade Secrets. For
 2   example, a forensic analysis shows that, between March 25, 2018 and December 26, 2018, he
 3   backed up entire repositories for the firmware, Autopilot, and neural net source code repositories –
 4   apparently all of the source code to which he had access – including more than 300,000 individual
 5   files and directories. Tesla believes that all of this information remains accessible to Cao in his
 6   personal iCloud account, in violation of Tesla’s policies, Cao’s agreements, and his legal
 7   obligations.
 8          32.     Between November 2 and November 13, 2018, Cao created .zip files of all of the
 9   Autopilot source code. At the same time, he was looking to leave Tesla for another job. Although
10   Tesla does not know when Cao began talking to XMotors about employment, Cao’s wife referred to
11   an offer from Xiaopeng in a November 26, 2018 iMessage to Cao. On December 1, Cao began
12   deleting files from his laptop. And from December 5 through 9, 2018, Cao quietly traveled to
13   China, where XMotors is located, without telling his Tesla supervisor where he was going or why.
14          33.     Three days later, on December 12, Cao received his formal XMotors offer letter, for
15   the position of “Senior Director of Engineering, heading the camera perception team.”
16          34.     Tesla does not know when Cao accepted his offer at XMotors, but he gave notice on
17   January 3, 2019. On December 26, 2018, he logged out of his personal iCloud account,
18   disconnecting that account from his Tesla-issued computer. Between December 27 and January 1,
19   Cao repeatedly logged into Tesla’s secure networks; between December 1 and his last day, he
20   deleted more than 120,000 files from his Tesla computer. He cleared his browser history on January
21   4, 2019, his last day at Tesla. No one at Tesla instructed Cao to take these steps, and no one at Tesla
22   was aware he did so until late February 2019 when his misconduct was discovered as a result of
23   Tesla’s investigative efforts.
24          35.     Cao did not disclose to Tesla that he had copied thousands of files, including the
25   Autopilot Trade Secrets, to his iCloud account. He did not return the electronic copies of those
26   documents when he left the company, as required by the NDAs. There is every reason to believe the
27   Autopilot Trade Secrets remain in Cao’s personal iCloud folder today.
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 1             36.   Since Cao’s departure from Tesla, at least one other Tesla employee has accepted an
 2   offer at XMotors. On January 26, 2019, that other Tesla employee sent texts about how Cao
 3   solicited him to join XMotors, including “Guangzhi [Cao] wants me to be their manager,” and “I
 4   went to eat with Xiaopeng at noon on Monday.” The employee received an offer letter from
 5   XMotors.ai, Inc. on February 20, 2019 and left Tesla on February 26, 2019.
 6             37.   According to his current LinkedIn profile, at XMotors Cao is now “[d]eveloping and
 7   delivering autonomous driving technologies for production cars,” precisely what he was doing for
 8   Tesla.
 9      G. Tesla Faces The Threat Of Immediate And Irreparable Harm
10             38.   Absent immediate relief, Tesla believes Cao and his new employer, XMotors, will
11   continue to have unfettered access to Tesla’s marquee technology, the product of more than five
12   years’ work and over hundreds of millions of dollars of investment, which they have no legal right
13   to possess. Tesla has been damaged by the misappropriation of its confidential information,
14   including because it has incurred substantial investigatory costs, and will suffer immeasurable harm
15   if its confidential information, including the Autopilot Trade Secrets, are subject to further
16   disclosure or misuse.
17
                                        FIRST CLAIM FOR RELIEF
18
               Misappropriation of Trade Secrets in Violation of the Defend Trade Secrets Act
19
               39.   Tesla incorporates by reference all of the preceding paragraphs as if fully set forth
20
     herein.
21
               40.   Tesla’s confidential, proprietary, and trade secret information, including the
22
     Autopilot Trade Secrets, are protected under the DTSA, 18 U.S.C. § 1836 et seq.
23
               41.   Tesla’s confidential, proprietary, and trade secret information relates to products and
24
     services used, sold, shipped and/or ordered in, or intended to be used, sold, shipped and/or ordered
25
     in, interstate or foreign commerce.
26

27

28
                                                     9
                                                 COMPLAINT
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 1             42.   The information derives independent economic value by not being accessible,
 2   through proper means, to competitors like XMotors. The information is also not readily available to
 3   the public or to Tesla’s other competitors.
 4             43.   Tesla takes reasonable measures to keep this information secret and confidential, as
 5   described above. Tesla derives significant economic benefit from maintaining the secrecy and
 6   confidentiality of this information.
 7             44.   Cao’s conduct constitutes a misappropriation and misuse of Tesla’s confidential
 8   information in violation of the DTSA because Cao used and/or disclosed the information without
 9   Tesla’s consent. Further, Cao acquired the information under circumstances giving rise to a duty to
10   maintain the information’s secrecy and limit its use. Cao owed that duty to Tesla as an agent,
11   employee, and representative of Tesla.
12             45.   Cao has not returned the information that he took from Tesla. Upon information and
13   belief, Cao is retaining and using Tesla’s trade secret and confidential information.
14             46.   Cao’s conduct constitutes a willful and malicious misappropriation of Tesla’s
15   confidential information.
16             47.   Tesla has suffered and will continue to suffer damage and irreparable harm, absent
17   immediate injunctive relief. Because Tesla’s remedy at law is inadequate, Tesla seeks preliminary
18   and permanent injunctive relief to recover and protect its confidential, proprietary, and trade secret
19   information and the competitive and other benefits that information confers.
20             48.   Thus, Tesla is entitled to preliminary injunctive relief, restitution, compensatory and
21   exemplary damages, and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1836.
22                                     SECOND CLAIM FOR RELIEF
23    Misappropriation of Trade Secrets in Violation of the California Uniform Trade Secrets Act
24             49.   Tesla incorporates by reference all of the preceding paragraphs as if fully set forth
25   herein.
26             50.   At all times relevant to this Complaint, the California Uniform Trade Secrets Act,
27   California Civil Code §§ 3426-3426.11 (“CUTSA”) was in effect.
28             51.   Tesla developed and owns trade secrets as defined by CUTSA, as described above.
                                                       10
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 1             52.   The information derives independent economic value by not being accessible,
 2   through proper means, to competitors like XMotors. The information is also not readily available to
 3   the public or to Tesla’s other competitors.
 4             53.   Tesla derives significant economic benefit from maintaining the secrecy and
 5   confidentiality of this information.
 6             54.   Tesla takes reasonable measures to maintain its trade secrets, as described above.
 7             55.   Cao’s conduct constitutes a misappropriation and misuse of Tesla’s confidential
 8   information in violation of CUTSA because Cao used and/or disclosed the information without
 9   Tesla’s consent. Further, Cao acquired the information under circumstances giving rise to a duty to
10   maintain the information’s secrecy and limit its use. Cao owed that duty to Tesla as an agent,
11   employee, and representative of Tesla.
12             56.   Cao has not returned the information that he took from Tesla. Upon information and
13   belief, Cao is retaining and using Tesla’s trade secret and confidential information
14             57.   Cao’s conduct constitutes a willful and malicious misappropriation of Tesla’s trade
15   secrets and confidential information.
16             58.   As a consequence of the foregoing, Tesla has suffered and will continue to suffer
17   damages and irreparable harm.
18             59.   Unless Cao is preliminarily and permanently enjoined from the foregoing conduct,
19   Tesla faces the threat of irreparable harm as described above. Tesla has also suffered damages.
20   Additionally, Tesla is entitled to an award of punitive damages and attorneys’ fees pursuant to
21   CUTSA based on Cao’s willful and malicious misappropriation of Tesla’s trade secrets.
22                                      THIRD CLAIM FOR RELIEF
23                                             Breach of Contract
24             60.   Tesla incorporates by reference all of the preceding paragraphs as if fully set forth
25   herein.
26             61.   The NDAs are valid, enforceable contracts and Tesla and Cao are parties to both
27   contracts.
28
                                                       11
                                                   COMPLAINT
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 1            62.    Tesla did all, or substantially all, of the significant things that the NDAs required of
 2   Tesla.
 3            63.    Through his conduct described herein, Cao breached his contractual obligations to
 4   Tesla, including the confidentiality obligations and non-solicit restrictions in the NDA §§ 1, 4, 9.2
 5   and Second NDA §§ 1, 4, and 8.
 6            64.    As a direct and proximate result of the foregoing breaches, Tesla has suffered, and
 7   will continue to suffer, damages in an amount to be proven at trial.
 8
                                        FOURTH CLAIM FOR RELIEF
 9
                                      Breach of Employee’s Duty of Loyalty
10
              65.    Tesla realleges and incorporates by reference each of the foregoing paragraphs as
11
     though fully set forth herein.
12
              66.    By virtue of his position as an employee of Tesla, Cao owed a duty of loyalty to
13
     Tesla, at least insofar as he was entrusted with Tesla’s highly sensitive, valuable confidential
14
     information, including the Autopilot Trade Secrets.
15
              67.    Through his conduct described herein, Cao breached his duty to Tesla.
16
              68.    As a direct and proximate result of the foregoing breaches, Tesla has suffered, and
17
     will continue to suffer, damages in an amount to be proven at trial.
18
              69.    In doing the things herein alleged, Cao acted willfully, maliciously, oppressively, and
19
     with full knowledge of the adverse effects on Tesla, and with willful and deliberate disregard of the
20
     consequences to Tesla, so as to constitute oppression, fraud, and malice. Tesla is therefore entitled
21
     to exemplary and punitive damages.
22
                                            PRAYER FOR RELIEF
23
              WHEREFORE, Tesla respectfully prays for relief as follows:
24
              A.     For preliminary and permanent injunctive relief enjoining Cao and all persons or
25
     entities acting in concert or participation therewith, from:
26

27

28
                                                      12
                                                  COMPLAINT
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 1                  (1) retaining, disclosing, or using any Tesla confidential and proprietary information
 2                     in any manner, such as the Autopilot Trade Secrets, including without limitation to
 3                     design, develop, or offer products or services in the autonomous driving industry;
 4                  (2) directly or indirectly soliciting any employee or contractor of Tesla to terminate
 5                     their employment with, or otherwise cease their relationship with, Tesla for a
 6                     period of one year following the termination of Cao’s employment with Tesla; and
 7          B.      For preliminary and permanent injunctive relief requiring Cao to submit to ongoing
 8   auditing of his personal and work-related systems and accounts to monitor for unlawful retention or
 9   use of Tesla’s confidential and proprietary information;
10          C.      For compensatory damages in an amount to be proven at trial;
11          D.      For prejudgment interest according to law;
12          E.      For recovery of attorneys’ fees, costs, and expenses incurred in this action; and
13          F.      For such other and further relief as the Court may deem just and proper.
14

15   Dated: March 20, 2019                                      THE NORTON LAW FIRM PC
16

17                                                     By: ____/s/ Fred Norton_________________
                                                                Fred Norton
18                                                              Attorneys for Plaintiff
                                                                Tesla, Inc.
19

20
                                        DEMAND FOR JURY TRIAL
21
            Plaintiff Tesla, Inc. hereby demands a trial by jury of all issues so triable.
22
     Dated: March 20, 2019                                      THE NORTON LAW FIRM PC
23

24
                                                       By: _______/s/ Fred Norton________________
25                                                              Fred Norton
                                                                Attorneys for Plaintiff
26                                                              Tesla, Inc.
27

28
                                                     13
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             TESLA MOTORS, INC.                                                2.3       Inventions. The term “Inventions”
     EMPLOYEE PROPRIETARY INFORMATION                                shall mean all trade secrets, inventions, mask works, ideas,
         AND INVENTIONS AGREEMENT                                    processes, formulas, source and object code, data,
                                                                     databases, programs, other works of authorship, know-how,
         In consideration of my employment or continued              improvements, discoveries, developments, designs and
employment by TESLA MOTORS, INC. (the “Company”),                    techniques that I make or conceive or first reduce to
and the compensation now and hereafter paid to me, I                 practice or create, either alone or jointly with others,
hereby agree as follows:                                             during the period of my employment, whether or not in the
                                                                     course of my employment, and whether or not patentable,
1.        PROPRIETARY INFORMATION. At all times during               copyrightable or protectable as trade secrets.
my employment and thereafter, I will hold in strictest
confidence and will not disclose, use, lecture upon or                         2.4       Prior Inventions. I have set forth on
publish any of the Company's Proprietary Information                 Exhibit A, PRIOR INVENTIONS DISCLOSURE, to
(defined below), except as such disclosure, use or                   this Agreement a complete list of all inventions that I
publication may be required in connection with my work               have, alone or jointly with others, made prior to the
for the Company, or unless an officer of the Company                 commencement of my employment with the Company that I
expressly authorizes such in writing.         “Proprietary           consider to be my property or the property of third parties
Information” shall mean any and all confidential and/or              and that I wish to have excluded from the scope of this
proprietary knowledge, data or information of the                    Agreement (collectively referred to as “Prior Inventions”).
Company, its parents, subsidiaries, or affiliated entities,           If no such disclosure is attached, I represent that there are
customers and suppliers, or any other party with whom the            no Prior Inventions. If, in the course of my employment
Company agrees to hold information of such party in                  with the Company, I incorporate a Prior Invention into a
confidence, including but not limited to information                 Company product, process or machine, the Company is
relating to products, processes, know-how, designs,                  hereby granted a nonexclusive, royalty-free, irrevocable,
formulas, methods, developmental or experimental work,               perpetual, worldwide license (with rights to sublicense
improvements, discoveries, inventions, ideas, source and             through multiple tiers of sublicensees) to make, have
object codes, data, programs, other works of authorship,             made, modify, use, copy, distribute, and sell such Prior
and plans for research and development. During my                    Invention. Notwithstanding the foregoing, I agree that I
employment by the Company I will not improperly use or               will not incorporate, or permit to be incorporated, Prior
disclose any confidential information or trade secrets, if           Inventions in any Company Inventions without the
any, of any former employer or any other person to whom I            Company's prior written consent.
have an obligation of confidentiality, and I will not bring
onto the premises of the Company any unpublished                               2.5       Labor Code Section 2870 Notice. I
documents or any property belonging to any former                    have been notified and understand that the provisions of
employer or any other person to whom I have an obligation            Section 2.6 of this Agreement do not apply to any Company
of confidentiality unless consented to in writing by that            Invention (defined below) that qualifies fully under the
former employer or person.                                           provisions of Section 2870 of the California Labor Code,
                                                                     which states as follows:
2.       ASSIGNMENT OF INVENTIONS.
                                                                          ANY PROVISION IN AN EMPLOYMENT
           2.1        Proprietary Rights.        The term                 AGREEMENT WHICH PROVIDES THAT AN
“Proprietary Rights” shall mean all trade secret, patent,                 EMPLOYEE SHALL ASSIGN, OR OFFER TO
patent application, copyright, mask work, rights in                       ASSIGN, ANY OF HIS OR HER RIGHTS IN AN
databases, and other intellectual property rights throughout              INVENTION TO HIS OR HER EMPLOYER
the world, including any registrations of or applications to              SHALL NOT APPLY TO AN INVENTION THAT
register such rights.                                                     THE EMPLOYEE DEVELOPED ENTIRELY ON
                                                                          HIS OR HER OWN TIME WITHOUT USING
          2.2      Moral Rights.        The term “Moral                   THE EMPLOYER’S EQUIPMENT, SUPPLIES,
Rights” shall mean any rights to claim authorship of or                   FACILITIES,   OR     TRADE     SECRET
credit on any Company Inventions (defined below), to                      INFORMATION    EXCEPT    FOR    THOSE
object to or prevent the modification or destruction of any               INVENTIONS THAT EITHER: (1) RELATE AT
Company Inventions, or to withdraw from circulation or                    THE TIME OF CONCEPTION OR REDUCTION
control the publication or distribution of any Company                    TO PRACTICE OF THE INVENTION TO THE
Inventions, and any similar right, existing under judicial or             EMPLOYER’S BUSINESS, OR ACTUAL OR DE-
statutory law of any country or subdivision thereof in the                MONSTRABLY ANTICIPATED RESEARCH OR
world, or under any treaty, regardless of whether or not                  DEVELOPMENT OF THE EMPLOYER; OR
such right is denominated or generally referred to as a                   (2) RESULT FROM ANY WORK PERFORMED
“moral right.”                                                            BY THE EMPLOYEE FOR THE EMPLOYER.
                                                                          TO THE EXTENT A PROVISION IN AN



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    EMPLOYMENT AGREEMENT PURPORTS TO                               4.        RETURN OF COMPANY DOCUMENTS.               Upon
    REQUIRE AN EMPLOYEE TO ASSIGN AN                               termination of my employment with the Company for any
    INVENTION OTHERWISE EXCLUDED FROM                              reason whatsoever, voluntarily or involuntarily, and at any
    BEING REQUIRED TO BE ASSIGNED UNDER                            earlier time the Company requests, I will deliver to the
    CALIFORNIA LABOR CODE SECTION 2870(a),                         person designated by the Company all originals and copies
    THE PROVISION IS AGAINST THE PUBLIC                            of all documents and other property of the Company in my
    POLICY OF     THIS  STATE AND      IS                          possession, under my control or to which I may have
    UNENFORCEABLE.                                                 access. I will not reproduce or appropriate for my own use,
                                                                   or for the use of others, any property, Proprietary
          2.6       Works for Hire; Assignment of                  Information or Company Inventions.
Inventions.      I acknowledge and agree that any
copyrightable works prepared by me within the scope of             5.        LEGAL AND EQUITABLE REMEDIES. Because my
my employment are “works for hire” under the Copyright             services are personal and unique and because I may have
Act and that the Company will be considered the author             access to and become acquainted with the Proprietary
and owner of such copyrightable works. I agree to assign,          Information of the Company, the Company shall have the
and do hereby assign, to the Company all my right, title           right to enforce this Agreement and any of its provisions by
and interest in and to any and all Inventions that (i) are         injunction, specific performance or other equitable relief,
developed using equipment, supplies, facilities or trade           without bond and without prejudice to any other rights and
secrets of the Company, (ii) result from work performed by         remedies that the Company may have for a breach of this
me for the Company, or (iii) relate to the Company’s               Agreement.
business or actual or demonstrably anticipated research and
development (the “Company Inventions”). I agree to                 6.        NOTICES. Any notices required or permitted
assign, and do hereby irrevocably transfer and assign, to          hereunder shall be given to the appropriate party at the
the Company all Proprietary Rights and Moral Rights in or          address specified below or at such other address as the
with respect to any Company Inventions. I also hereby              party shall specify in writing. Such notice shall be deemed
forever waive and agree never to assert any and all Moral          given upon personal delivery to the appropriate address or
Rights I may have in or with respect to any Company                if sent by certified or registered mail, three (3) days after
Inventions, even after termination of my work on behalf of         the date of mailing.
the Company.
                                                                   7.        EMPLOYMENT.       I agree and understand that
         2.7       Obligation to Keep Company                      nothing in this Agreement shall confer any right with
Informed. I will promptly and fully disclose in writing to         respect to continuation of employment by the Company,
the Company all Inventions, including any that may be              nor shall it interfere in any way with my right or the
covered by Section 2870.                                           Company's right to terminate my employment at any time,
                                                                   with or without cause.
          2.8        Assistance. I agree to assist in every
proper way and to execute those documents and to take              8.        NON-SOLICITATION.
such acts as are reasonably requested by the Company to
obtain, sustain and from time to time enforce patents,                        8.1       During and after the termination of my
copyrights and other rights and protections relating to            employment with the Company, I will not directly or
Company Inventions in the United States or any other               indirectly solicit or otherwise take away customers or
country. I appoint the Secretary of the Company as my              suppliers of the Company if, in so doing, I use or disclose
attorney-in-fact to execute documents on my behalf for the         any trade secrets or proprietary or confidential information
purposes set forth in this paragraph. My obligations under         of the Company. I agree that the non-public names and
this paragraph will continue beyond the termination of my          addresses of the Company’s customers and suppliers, and
employment with the Company, provided that the Company             all other confidential information related to them, including
will compensate me at a reasonable rate after such                 their buying and selling habits and special needs, created
termination for time or expenses actually spent by me at           or obtained by me during my employment, constitute trade
the Company’s request on such assistance.                          secrets or proprietary or confidential information of the
                                                                   Company.
3.        NO CONFLICTING OBLIGATION. I represent that
my performance of all the terms of this Agreement and as                     8.2        During the term of my employment and
an employee of the Company does not and will not breach            for one (1) year following any termination of my
any agreement to keep in confidence information acquired           employment with the Company, I will not, directly or
by me in confidence or in trust prior to my employment by          indirectly (whether for compensation or without
the Company. I have not entered into, and I agree I will           compensation), solicit any employee or contractor of the
not enter into, any agreement either written or oral in            Company to terminate their employment with, or otherwise
conflict herewith.                                                 cease their relationship with, the Company.




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.         GENERAL PROVISIONS. This Agreement will
be governed by and construed according to the laws of
the State of California, as such laws are applied to
agreements entered into and to be performed entirely                 Dated:
within California between California residents. In case
any one or more of the provisions contained in this
Agreement shall, for any
reason, be held to be invalid, illegal or unenforceable in
any respect, such invalidity, illegality or unenforceability         (Signature)
shall not affect the other provisions of this Agreement, and
this Agreement shall be construed as if such invalid, illegal
or unenforceable provision had never been contained                  (Printed Name)
herein. This Agreement will be binding upon my heirs,
executors, administrators and other legal representatives
and will be for the benefit of the Company, its successors,          (Address)
and its assigns. The provisions of this Agreement shall
survive the termination of my employment and the
assignment of this Agreement by the Company to any
successor in interest or other assignee. The Company may
assign any of its rights or obligations under this                   Accepted and Agreed To:
Agreement. No waiver by the Company of any breach of
this Agreement shall be a waiver of any preceding or                 TESLA MOTORS, INC.
succeeding breach. No waiver by the Company of any right
under this Agreement shall be construed as a waiver of any
other right. This Agreement is the final, complete and
exclusive agreement of the parties with respect to the               (Signature)
subject matter hereof and supersedes and merges all prior
or contemporaneous discussions or agreements between us
regarding such subject matter. No modification of or                 (Printed Name)
amendment to this Agreement, nor any waiver of any rights
under this Agreement, will be effective unless in writing
and signed by the party to be charged. Any subsequent                (Title)
change or changes in my duties, salary or compensation
will not affect the validity or scope of this Agreement. This
Agreement shall be effective as of the first day of my
employment with the Company.




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                                                           EXHIBIT A


TO:                  Tesla Motors, Inc.

FROM:

DATE:

SUBJECT:             Prior Inventions


1.        Except as listed in Section 2 below, the following is a complete list of all inventions or improvements
that have been made or conceived or first reduced to practice by me alone or jointly with others prior to my engagement by the
Company:




                    Additional sheets attached.

2.        Due to a prior confidentiality agreement, I cannot complete the disclosure under Section 1 above with respect to
inventions or improvements generally listed below, the proprietary rights and duty of confidentiality with respect to which I
owe to the following party(ies):


                       Invention or Improvement                             Party(ies)                        Relationship

          1.

          2.

          3.

                    Additional sheets attached.




*** WARNING - If you sign (or eSign) this document and do not fill in
anything in sections 1 or 2 on page 4, we assume that you do not have
any inventions.




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                                                               4.
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                                                                       EXHIBIT B
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        TESLA, INC. EMPLOYEE NON-                                 under judicial or statutory law of any country or
       DISCLOSURE AND INVENTIONS                                  subdivision thereof in the world, or under any treaty,
                                                                  regardless of whether or not such right is denominated or
         ASSIGNMENT AGREEMENT                                     generally referred to as a “moral right.”
In consideration of my employment or continued                              2.3      Inventions. The term “Inventions”
employment by TESLA, INC. (collectively with its                  shall mean any idea, concept, discovery, invention,
divisions, subsidiaries and affiliates, the “Company”)            development, research, technology, work of authorship,
and the compensation now and hereafter paid to me, I              trade secret, software, firmware, content, audiovisual
agree as follows:                                                 material, tool, process, technique, know-how, data, plan,
                                                                  device, apparatus, specification, design, prototype,
1.        PROPRIETARY INFORMATION. At all times                   circuit, layout, mask work, algorithm, program, code,
during my employment and thereafter, I will hold in               documentation, or other material or information, tangible
strictest confidence and will not disclose, use, lecture          or intangible, whether or not it may be patented,
upon or publish any of the Company’s Proprietary                  copyrighted, trademarked, or otherwise protected
Information (defined below), except as such disclosure,           (including all versions, modifications, enhancements,
use or publication may be required in connection with             improvements, and derivative works thereof).
my work for the Company, or unless an officer of the
Company expressly authorizes such in writing.                               2.4     Prior Inventions. I have set forth on
“Proprietary Information” shall mean all information,             Exhibit A, PRIOR INVENTIONS DISCLOSURE, to
in whatever form and format, to which I have access by            this Agreement a complete list of all inventions that I
virtue of and in the course of my employment by the               have, alone or jointly with others, conceived, developed,
Company. Proprietary Information includes without                 or reduced to practice prior to the commencement of my
limitation technical data, trade secrets, know-how,               employment with the Company, that I consider to be my
research and development, products, features, concepts,           property or the property of third parties and that I wish to
ideas, plans, designs, formulas, methods, processes,              have excluded from the scope of this Agreement
discoveries, improvements, source and object codes,               (collectively referred to as “Prior Inventions”). If no
data, programs, lists of or information relating to,              such disclosure is attached, I represent that there are no
employees, suppliers, and customers, financial                    Prior Inventions. If, in the course of my employment
information and other business information, Inventions,           with the Company, I incorporate a Prior Invention into a
and works of authorship. Notwithstanding the foregoing,           Company product, process, or machine, the Company is
Proprietary Information excludes any information that is          hereby granted a nonexclusive, royalty-free, irrevocable,
or lawfully becomes part of the public domain. I agree            perpetual, worldwide license (with rights to sublicense
that, in any dispute related to this Agreement, I will bear       through multiple tiers of sublicensees) to make, have
the burden of proving by clear and convincing evidence            made, modify, use, copy, distribute, and sell such Prior
the applicability of this exclusion. This Agreement is            Invention. Notwithstanding the foregoing, I agree that I
intended to supplement, and not to supersede, any rights          will not incorporate, or permit to be incorporated, Prior
the Company may have in law or equity with respect to             Inventions in any Company Inventions without the
the protection of trade secrets or confidential or                Company’s prior written consent.
proprietary information.
                                                                           2.5      Labor Code Section 2870 Notice. I
2.       ASSIGNMENT OF INVENTIONS.                                have been notified and understand that the provisions of
                                                                  Section 2.6 of this Agreement do not apply to any
         2.1       Proprietary Rights. The term                   Company Invention (defined below) that qualifies fully
“Proprietary Rights” shall mean all trade secret, patent,         as a nonassignable invention under the provisions of
copyright, mask work, and other intellectual property             Section 2870 of the California Labor Code, which states:
rights throughout the world, including any registrations
of or applications to register such rights.                                ANY PROVISION IN AN EMPLOYMENT
                                                                           AGREEMENT WHICH PROVIDES THAT
          2.2     Moral Rights. The term “Moral                            AN EMPLOYEE SHALL ASSIGN, OR
Rights” shall mean any rights to claim authorship of or                    OFFER TO ASSIGN, ANY OF HIS OR HER
credit on any Company Inventions (defined below), to                       RIGHTS IN AN INVENTION TO HIS OR
object to or prevent the modification or destruction of                    HER EMPLOYER SHALL NOT APPLY TO
any Company Inventions, or to withdraw from                                AN INVENTION THAT THE EMPLOYEE
circulation or control the publication or distribution of                  DEVELOPED ENTIRELY ON HIS OR HER
any Company Inventions, and any similar right, existing                    OWN TIME WITHOUT USING THE




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         EMPLOYER’S EQUIPMENT, SUPPLIES,                         from, or as a result of the work performed by me during
         FACILITIES,  OR   TRADE      SECRET                     my employment with the Company, or any Proprietary
         INFORMATION EXCEPT FOR THOSE                            Information to which I had access during or as a result
         INVENTIONS THAT EITHER: (1) RELATE                      of my employment with the Company. In addition, I
         AT THE TIME OF CONCEPTION OR                            acknowledge and agree that all patent applications for
         REDUCTION TO PRACTICE OF THE                            such Inventions that are filed by me or on my behalf,
         INVENTION TO THE EMPLOYER’S                             whether during my employment or after termination of
         BUSINESS, OR ACTUAL OR DE-                              my employment, are subject to this Agreement and
         MONSTRABLY ANTICIPATED RESEARCH                         belong to the Company. At the time of each such
         OR     DEVELOPMENT      OF      THE                     disclosure, I will advise the Company in writing of any
         EMPLOYER; OR (2) RESULT FROM ANY                        Inventions that I believe fully qualify for protection
         WORK PERFORMED BY THE EMPLOYEE                          under Section 2870 of the California Labor Code and
         FOR THE EMPLOYER. TO THE EXTENT                         will provide to the Company in writing all evidence
         A PROVISION IN AN EMPLOYMENT                            necessary to substantiate that belief.
         AGREEMENT PURPORTS TO REQUIRE
         AN EMPLOYEE TO ASSIGN AN                                         2.8      Notice to Third Parties. During and
         INVENTION OTHERWISE EXCLUDED                            after the term of my employment, the Company may,
         FROM BEING REQUIRED TO BE                               with or without prior notice to me, notify third parties of
         ASSIGNED UNDER CALIFORNIA LABOR                         my agreements and obligations under this Agreement.
         CODE     SECTION    2870(a),    THE
         PROVISION IS AGAINST THE PUBLIC                                  2.9       Assistance. I agree to assist in every
         POLICY OF THIS STATE AND IS                             proper way and to execute those documents and to take
         UNENFORCEABLE.                                          such acts as are reasonably requested by the Company to
                                                                 obtain, sustain, and from time to time enforce patents,
          2.6     Works for Hire; Assignment of                  copyrights, and other rights and protections relating to
Inventions. I acknowledge and agree that all original            Company Inventions in the United States or any other
works of authorship which are made by me (solely or              country. I hereby irrevocably designate and appoint the
jointly with others) within the scope of my employment           Secretary of the Company as my attorney-in-fact, which
and which are protectable by copyright are “works for            appointment is coupled with an interest, to act for and in
hire” under the U.S. Copyright Act and that the                  my behalf to execute, verify, and file any such
Company will be considered the author and owner of               documents and to do all other lawfully permitted acts to
such works. I further agree to assign, and do hereby             further the purposes of this paragraph with the same
assign, to the Company all my right, title and interest in       legal force and effect as if executed by me. My
and to any and all Inventions that (i) are developed using       obligations under this paragraph will continue beyond
equipment, supplies, facilities, trade secrets, or               the termination of my employment with the Company
Proprietary Information of the Company, (ii) result from         for any reason, provided that the Company will
work performed by me for the Company, or (iii) relate at         compensate me at a reasonable rate after such
the time of conception or reduction to practice of the           termination for time or expenses actually spent by me at
invention to the Company’s business, or actual or                the Company’s request on such assistance.
demonstrably anticipated research and development of
the Company (the “Company Inventions”). I agree to               3.       RECORDS. I agree to keep and maintain
assign, and do hereby irrevocably transfer and assign, to        adequate and current written records of all Inventions
the Company all Proprietary Rights and Moral Rights in           made by me during the period of my employment at the
or with respect to any Company Inventions. I forever             Company, which records shall be available to and
waive and agree never to assert any and all Moral Rights         remain the sole property of the Company at all times. I
I may have in or with respect to any Company                     will promptly disclose all such Inventions in writing to
Inventions, even after termination of my work on behalf          the Company and will supplement any such disclosures
of the Company.                                                  to the extent the Company may request. If I have any
                                                                 doubt as to whether or not to disclose an Invention to the
         2.7      Obligation to Keep Company                     Company, I will disclose it.
Informed. During the period of my employment and for
twelve (12) months after the termination of my                   4.       RETURN OF COMPANY RECORDS. Upon the
employment with the Company, I will promptly and                 termination of my employment for any reason, or at such
fully disclose in writing to the Company all Inventions          earlier time as the Company may request, I shall
authored, conceived, or reduced to practice by me, either        immediately return to the Company all originals and
alone or jointly with others, in connection with, derived        copies of all hard copy and electronic documents, files




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and other property of the Company in my possession or            9.       NON-SOLICITATION.
control or to which I may have access, including all
records referred to in Section 3 above, regardless of the                  9.1      During and after the termination of my
storage medium (e.g., internal or external hard drives,          employment with the Company, I will not directly or
solid-state drives, USB flash drives, flash memory cards,        indirectly solicit or otherwise take away customers or
and cloud storage).                                              suppliers of the Company if, in so doing, I use or
                                                                 disclose any of the Company’s trade secrets, including
5.        NO CONFLICTING OBLIGATIONS. I represent                without limitation the non-public names and addresses
that my performance of this Agreement and as an                  of the Company’s customers and suppliers and/or other
employee of the Company does not and will not breach             confidential information related to them, including their
any agreement to keep in confidence information                  buying and selling habits and special needs.
acquired by me in confidence or in trust prior to my
employment by the Company. Without limiting the                           9.2        I acknowledge that the Company has
foregoing, I agree that during my employment by the              invested, and will continue to invest, significant time
Company I will not improperly use or disclose any                and money to recruit and retain its employees. I
confidential information or trade secrets of any former          recognize that in the course of my employment I have
employer or any other person to whom I have an                   obtained or will obtain valuable information about the
obligation of confidentiality; I will not bring onto the         Company’s employees and contractors, and their
premises of the Company any unpublished documents or             respective talents and areas of expertise.
any property belonging to any former employer or any
other person to whom I have an obligation of                                        9.2.1     I agree that during the term of
confidentiality unless consented to in writing by that           my employment and for twelve (12) months thereafter, I
former employer or person; and I will use in the                 will not directly or indirectly, for my own account or for
performance of my duties only information which is               others, solicit (or assist another in soliciting) for
generally known and used by persons with training and            employment or for the performance of services any
experience comparable to my own, is common                       Company employee or contractor with whom I had
knowledge in the industry or otherwise in the public             contact or of whom I became aware during the period of
domain, or is otherwise provided or developed by the             my employment. Nor will I, for my account or for
Company. I have not entered into and will not enter into         others, in any way induce or attempt to induce any such
any agreement or understanding, either written or oral,          individual to terminate his or her employment by or
in conflict herewith.                                            performance of services for the Company.

6.        LEGAL AND EQUITABLE REMEDIES. I                                           9.2.2     During     and     after  the
acknowledge and agree that violation of this Agreement           termination of my employment with the Company, I will
by me may cause the Company irreparable harm and                 not directly or indirectly hire or otherwise take away any
that the Company shall therefore have the right to               of the Company’s employees (as an employee or an
enforce this Agreement and any of its provisions by              independent contractor) if, in so doing, I use or disclose
injunction, specific performance, or other equitable             any of the Company’s trade secrets, including without
relief, without bond and without prejudice to any other          limitation the non-public names and addresses of the
rights and remedies that the Company may have for a              Company’s employees and/or other confidential
breach of this Agreement.                                        information related to them, including their skills,
                                                                 experience, current projects or assignments for the
7.       NOTICES. Any notices required or permitted              Company and specialized experience in Company
hereunder shall be given to the appropriate party at the         technology and Inventions.
address specified below or at such other address as the
party shall specify in writing. Such notice shall be             10.     18 U.S.C. § 1833 NOTICE. I have been given
deemed given upon personal delivery to the appropriate           notice of the immunity provided by 18 U.S.C.
address or, if sent by certified or registered mail, three       § 1833(b)(1), which provides:
(3) days after the date of mailing.
                                                                          IMMUNITY. An individual shall not be held
8.        EMPLOYMENT. I understand and agree that                         criminally or civilly liable under any
nothing in this Agreement shall confer any right with                     Federal or State trade secret law for the
respect to continuation of employment, nor shall it                       disclosure of a trade secret that (A) is made-
interfere in any way with my right or the Company’s                       (i) in confidence to a Federal, State, or local
right to terminate my employment at any time, with or                     government official, either directly or
without cause.                                                            indirectly, or to an attorney; and (ii) solely




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         for the purpose of reporting or investigating             or contemporaneous discussions or agreements between
         a suspected violation of law; or (B) is made              us regarding such subject matter. No modification of or
         in a complaint or other document filed in a               amendment to this Agreement, nor any waiver of any
         lawsuit or other proceeding, if such filing is            rights under this Agreement, will be effective unless in
         made under seal.                                          writing and signed by the party to be charged.

11.      GENERAL PROVISIONS.                                                11.6     Any subsequent change or changes in
                                                                   my duties, salary or compensation will not affect the
          11.1     This Agreement will be governed by              validity or scope of this Agreement. This Agreement
and construed according to the laws of the State of                shall be effective as of the first day of my employment
California, as such laws are applied to agreements                 with the Company.
entered into and to be performed entirely within
California between California residents. I agree to submit
to the jurisdiction of, and that exclusive jurisdiction over       Dated: _____________________________________
and venue for any action or proceeding arising out of or
relating to this Agreement shall lie, in the state and
federal courts located in Santa Clara or San Francisco             ___________________________________________
Counties, California.                                              (Signature)

          11.2      If any provision of this Agreement is
found to be excessively broad as to duration,                      ___________________________________________
geographical scope, activity or subject, such provision            (Printed Name)
shall be construed or reformed by limiting and reducing
it to the extent required to render it enforceable under
applicable law. If any provision of this Agreement is              ___________________________________________
found to be invalid, illegal or unenforceable and cannot           (Address)
be construed so as to render it enforceable, such
invalidity, illegality or unenforceability shall not affect
any other provision of this Agreement, and this                    ___________________________________________
Agreement shall be construed as if such invalid, illegal
or unenforceable provision had never been contained
herein. Nothing in this Agreement is intended to restrict,
or shall be interpreted as restricting, my right to engage
in activity protected by Section 7 of the National Labor
Relations Act or any other applicable state or federal
law.

         11.3     The provisions of this Agreement shall
survive the termination of my employment and the
assignment of this Agreement by the Company to any
successor in interest or other assignee. This Agreement
will be binding upon my heirs, executors, administrators
and other legal representatives and will be for the benefit
of the Company, its successors, and its assigns. The
Company may assign any of its rights or obligations
under this Agreement

        11.4     No waiver by the Company of any
breach of this Agreement shall be a waiver of any
preceding or succeeding breach. No waiver by the
Company of any right under this Agreement shall be
construed as a waiver of any other right.

         11.5     This Agreement is the final, complete
and exclusive agreement of the parties with respect to the
subject matter hereof and supersedes and merges all prior




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                                                  Exhibit A


TO:                 Tesla, Inc.

FROM:

DATE:

SUBJECT:              Prior Invention


1.       Except as listed in Section 2 below, the following is a complete list of all inventions or
improvements that have been made or conceived or first reduced to practice by me alone or jointly with others
prior to my engagement by the Company:




                  Additional sheets attached.

2.      Due to a prior confidentiality agreement, I cannot complete the disclosure under Section 1 above with
respect to inventions or improvements generally listed below, the proprietary rights and duty of confidentiality
with respect to which I owe to the following party(ies):


                    Invention or Improvement        Party(ies)               Relationship

             1.

             2.

             3.

                  Additional sheets attached.




*** WARNING - If you sign (or eSign) this document and do not fill in
anything in sections 1 or 2 on Exhibit A, we assume that you do not have
any inventions.


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                     Exhibit 12
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  6
                                   UNITED STATES DISTRICT COURT
  7

  8                               NORTHERN DISTRICT OF CALIFORNIA

  9                                      SAN JOSE DIVISION
 10   TESLA, INC.,                               )   Case No.: ______________
 11                                              )
                     Plaintiff,                  )   COMPLAINT
 12                                              )
             v.                                  )   (1) Violation of the Defend Trade Secrets
 13                                              )   Act (18 U.S.C. § 1831 et seq.)
      ALEX KHATILOV                              )
 14                                              )   (2) Violation of the California Uniform
 15                  Defendant.                  )   Trade Secrets Act (Cal. Civ. Code § 3426
                                                 )   et seq.)
 16                                              )
                                                 )   (3) Breach of Contract
 17                                              )
                                                 )   JURY TRIAL DEMANDED
 18                                              )
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      COMPLAINT
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  1          Plaintiff Tesla, Inc. (“Tesla” or “Plaintiff”), complains and alleges against Defendant Alex

  2   Khatilov (“Khatilov” or “Defendant”), as follows:

  3                                     NATURE OF THE ACTION

  4          1.      This case is about Tesla protecting its trade secrets from premeditated theft by a

  5   (now) former employee, and making sure it does not happen again. Within three days of being

  6   hired by Tesla, Defendant brazenly stole thousands of trade secret computer scripts that took Tesla

  7   years to develop. Then, he lied about it and tried to delete the evidence of his theft when quickly

  8   confronted by Tesla’s security team, forcing Tesla to bring this complaint.

  9          2.      Tesla hired Defendant as a software automation engineer on December 28, 2020.

 10   Within three days, he began stealing thousands of highly confidential software files from Tesla’s

 11   secure internal network, transferring them to his personal cloud storage account on Dropbox, to

 12   which Tesla has no access or visibility. The files consist of “scripts” of proprietary software code

 13   that Tesla has spent years of engineering time to build. These scripts, when executed, automate a

 14   broad range of functions throughout Tesla’s business. Only a select few Tesla employees even

 15   have access to these files; and as a member of that group, Defendant took advantage of that access

 16   to downloaded files unrelated to his job.

 17          3.      Tesla’s information security personnel detected Defendant’s unauthorized

 18   download on January 6, 2021 and confronted Defendant that day and interviewed him. During

 19   this interview he repeatedly claimed that he had only transferred a couple personal administrative

 20   documents. After being prompted, he gave Tesla investigators access to view his Dropbox

 21   account, where they discovered Defendant’s claims were outright lies: the Tesla investigators

 22   found thousands and thousands of Tesla’s confidential computer scripts in his Dropbox.

 23   Defendant then claimed he somehow “forgot” about the thousands of other files he stole (almost

 24   certainly another lie). Even worse, it became apparent that Defendant had brazenly attempted to

 25   destroy the evidence by hurriedly deleting the Dropbox client and other files during the beginning

 26   of the interview when investigators were attempting to remotely access his computer.

 27          4.      Fortunately, the investigators were able to eventually view the Dropbox account

 28   and instructed Defendant to delete all Tesla files that still remained. But Tesla’s ability to rectify



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  1   Defendants’ wrongdoing ended there. Tesla does not know whether Defendant took additional

  2   files, whether he copied files from the Dropbox account to other locations in the days before he

  3   was caught, or whether he sent any of the files to other persons or entities. Indeed, as soon as

  4   Defendant uploaded the stolen files to his Dropbox account, he could have shared or retransferred

  5   those files to anyone or any other storage media (whether an external thumb drive, another

  6   computer, a mobile device, or another cloud-based storage system). And Tesla would have had

  7   no way to know that.

  8          5.        This action is based on Defendant’s: (1) violation of the Defend Trade Secret Act,

  9   18 U.S.C. § 1831, et seq.; (2) violation of the California Uniform Trade Secret Act, Cal. Civ. Code

 10   § 3426, et seq.; and (3) breach of contract.

 11                                             THE PARTIES

 12          6.        Plaintiff Tesla is a corporation organized and existing under the laws of Delaware,

 13   with its principal place of business located at 3500 Deer Creek Road, Palo Alto, California 94304.

 14   Tesla develops, manufactures, sells, and leases electric vehicles and energy generation and storage

 15   systems throughout the United States and abroad.

 16          7.        Defendant Alex Khatilov is a former Tesla employee who also goes by the names

 17   Alex Tilov or Sabir Khatilov. Upon information and belief, he resides at 556 Chestnut Avenue,

 18   San Bruno, California 94066.

 19                                     JURISDICTION AND VENUE

 20          8.        This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

 21   1331 and 18 U.S.C. § 1836(c), as it arises under the federal Defend Trade Secrets Act, 18 U.S.C.

 22   § 1831 et seq.

 23          9.        This Court has supplemental jurisdiction over Plaintiff’s state law claims under the

 24   California Uniform Trade Secret Act, Cal. Civ. Code § 3426, et seq. and for breach of contract

 25   pursuant to 28 U.S.C. § 1367(a) because Tesla’s state law claims are so closely related to its federal

 26   claim that they form part of the same case of controversy under Article III of the United States

 27   Constitution.

 28



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  1           10.     Venue is proper in the United States District Court for the Northern District of

  2   California pursuant to 28 U.S.C. § 1391 because Defendant resides in the Northern District of

  3   California and a substantial part of the events and omissions giving rise to the claims asserted

  4   occurred in this District.

  5                                  INTRADISTRICT ASSIGNMENT

  6           11.     A substantial part of the events and omissions which gave rise to the claims asserted

  7   took place in Santa Clara County, California. Thus, pursuant to Civil L.R. 3-2(c) and (e), this

  8   action should be assigned to the San Jose Division of this District.

  9                                     FACTUAL ALLEGATIONS

 10                          Tesla’s Trade Secrets and Confidential Information

 11           12.     Among Tesla’s numerous innovations is its development of automated, “Quality

 12   Assurance” processes that run a broad range of business functions without human effort, including

 13   procurement, materials planning and processing, payables, and purchasing (collectively, the “Tesla

 14   Trade Secrets”). For example, much of the manufacturing cycle of Tesla vehicles is managed by

 15   these automated processes – from ordering parts to delivering cars.

 16           13.     Tesla employs a team of Quality Assurance Engineers who help identify business

 17   tasks to be automated based on input from Tesla’s business leaders. The engineers write computer

 18   scripts in Python (a computer programming language) to automate those tasks, and test the

 19   automated processes to ensure they function properly. These scripts are unique to Tesla and run

 20   on WARP Drive, the backend software for much of Tesla’s business.

 21           14.     Developing this complex system is expensive and time-consuming. Tesla has spent

 22   roughly 200 man-years of work to develop the Quality Assurance scripts – the cumulative hours

 23   spent by the Quality Assurance Engineering team over the past twelve years. The engineers’ work

 24   is also guided by the business leaders in Tesla, who identify what tasks need to be automated –

 25   another large and valuable investment of its time.

 26           15.     The Tesla Trade Secrets are extremely valuable to Tesla, and would be to a

 27   competitor. Access to the scripts would enable engineers at other companies to reverse engineer

 28   Tesla’s automated processes to create a similar automated system in a fraction of the time and with



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  1   a fraction of the expense it took Tesla to build it. Third-party engineers could not compose these

  2   scripts based on public information, especially with such minimal time and effort. The scripts also

  3   would inform competitors of which systems Tesla believes are important and valuable to automate

  4   and how to automate them – providing a roadmap to copy Tesla’s innovation.

  5          16.        For these reasons, Tesla takes extensive measures to ensure that the Tesla Trade

  6   Secrets remain strictly confidential and are never shared externally. Even within Tesla, access to

  7   the scripts is limited to members of the Quality Assurance Engineering team, which is

  8   approximately 40 people out of Tesla’s roughly 50,000 employees. Who can grant access rights

  9   to the Trade Secrets is even more narrowly controlled, with only eight people having the ability to

 10   grant access. The engineers who do have access to the scripts are not permitted to download them

 11   to personal devices or cloud storage.

 12          17.        Tesla’s engineers also sign a comprehensive set of agreements and policies as a

 13   condition of their employment which require them to protect Tesla’s confidential information and

 14   not to disclose or misuse that information, including the Tesla Trade Secrets. These include: an

 15   Employee Nondisclosure And Inventions Assignment Agreement (“NDA”), which requires

 16   employees to hold Tesla’s information “in strictest confidence” and prohibits them from using or

 17   disclosing any Tesla “Proprietary Information,” including “technical data, trade secrets, know-

 18   how, … plans, designs, … methods, processes, … data, programs, … and other business

 19   information”; and an Internet Usage Policy that prohibits “transmitting, copying, downloading, or

 20   removing trade secret, proprietary, or confidential business information of Tesla without written

 21   authorization.”

 22          18.        The NDA also requires employees, upon termination, to “immediately return to the

 23   Company all originals and copies of all hard copy and electronic documents, files and other

 24   property of the Company in [their] possession or control or to which [they] have access …

 25   regardless of the storage medium (e.g., internal or external hard drives, solid-state drives, USB

 26   flash drives, flash memory cards, and cloud storage).”

 27          19.        Tesla secures its physical facilities by restricting access to authorized personnel,

 28   and then monitoring actual access with security guards and cameras. Visitors to Tesla’s facilities



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  1   must check in with a receptionist or security, sign a nondisclosure agreement, and submit to a

  2   photograph. Visitors must also always be escorted by a Tesla employee while at the facilities.

  3          20.     Tesla further protects its confidential, trade secret, and proprietary information by

  4   using password-protected and firewall-protected networks and servers that are only accessible to

  5   current Tesla employees with proper credentials.

  6          21.     Tesla also has an Information Security team that monitors its systems for suspicious

  7   activity, including unauthorized downloading of confidential information.

  8        Defendant Alex Khatilov Promises to Protect Tesla’s Trade Secrets and Confidential

  9                       Information as a Condition of His Employment at Tesla

 10          22.     On December 28, 2020, Tesla hired Defendant Alex Khatilov as a Senior Software

 11   Quality Assurance Engineer.

 12          23.     Defendant’s role and responsibility was to prepare and revise computer scripts to

 13   help automate Environmental Health and Safety (“EHS”) systems.

 14          24.     As part of his employment, Tesla provided Defendant a laptop to perform his work.

 15          25.     As a condition of his employment, Defendant signed and agreed to abide by the

 16   terms of the NDA.

 17       Defendant’s Theft of Tesla’s Trade Secrets, and Attempts to Conceal His Misconduct

 18          26.     On December 31, 2020 – just three days after being hired by Tesla – Defendant

 19   began downloading thousands of files from Tesla’s networks and transmitted those files to his

 20   personal Dropbox account. The downloading was completed on January 4, 2021. He also

 21   downloaded some additional files on January 6.

 22          27.     Tesla’s Information Security team detected the downloading of up to approximately

 23   26,000 files on January 6 through its monitoring software. The team immediately reviewed the

 24   activity and concluded that it was not an authorized transfer. Tesla also discovered that the files

 25   contained a complete set of all automation scripts produced by the Quality Assurance Engineering

 26   team for WARP Drive over the last twelve years.

 27          28.     The scripts downloaded by Defendant had nothing to do with his responsibilities

 28   for developing scripts on the EHS system, which runs on a separate system from WARP Drive.



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  1          29.     Shortly after the Tesla Information Security team discovered Defendant’s theft,

  2   Tesla personnel confronted Defendant by initiating a videoconference call via Microsoft Teams

  3   that same day. Defendant had been working remotely due to COVID-19.

  4          30.     During the call, Defendant confirmed that he had signed the NDA. He also

  5   confirmed that he installed a Dropbox desktop application on his Tesla-issued laptop, which

  6   enabled him to upload files to a personal cloud-based account to which Tesla has no access or

  7   visibility. Defendant claimed, however, that he had only uploaded personal administrative

  8   documents to his Dropbox, such as his scanned passport and a copy of his W-4. When asked to

  9   clarify, he reiterated again that he uploaded only personal administrative documents to his

 10   Dropbox account, not anything confidential to Tesla.

 11          31.     Tesla personnel prompted Defendant to share his laptop screen to confirm that his

 12   Dropbox account did not contain any confidential Tesla files, as he twice claimed. Defendant

 13   delayed accepting the screen share request for over a minute, thus preventing Tesla personnel from

 14   viewing his screen or Dropbox files. During this time, he could be seen on videochat hurriedly

 15   deleting information from his computer.

 16          32.     Once Defendant finally shared his screen, he claimed that he had already deleted

 17   the Dropbox desktop application during the interview, confirming that Defendant was destroying

 18   evidence to try to prevent Tesla from inspecting what he had done.

 19          33.     Although Defendant had deleted the Dropbox desktop application from his laptop,

 20   such deletion only disabled the functionality that uploads files to the Dropbox cloud, and did not

 21   necessarily delete files uploaded to the account itself. Tesla personnel thus instructed Defendant

 22   to display all files that had already been transferred to Dropbox, which revealed folders containing

 23   a large amount of non-administrative material, including many of the Quality Assurance scripts

 24   that were detected by Tesla’s monitoring software.

 25          34.     Tesla personnel also instructed Defendant to login to the Dropbox website so they

 26   could see whether the files he downloaded remained available in his Dropbox account. This

 27   revealed that the same confidential Tesla files seen on his laptop were still available through his

 28   cloud storage account. Defendant agreed to delete the remainder of those files – or at least, the



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  1   ones that Tesla personnel were able to see during the call. The investigators, however, were only

  2   able to view Defendant’s screen – they could not actually control his mouse or keyboard in order

  3   to delete the files themselves.

  4           35.    Tesla personnel then informed Defendant that, despite his claims to the contrary,

  5   the Information Security team detected that he removed over 26,000 highly confidential, non-

  6   administrative files from the Tesla network over the course of several days. Defendant claimed

  7   that he “forgot” he had downloaded them. Defendant was also unable to articulate a business

  8   reason for his downloads.

  9           36.    Defendant was terse and evasive throughout the interview, providing mostly one-

 10   word answers and feigning ignorance. Defendant repeatedly lied to Tesla, claiming (twice) that

 11   he had only downloaded and transferred personal administrative files, and then claiming that he

 12   “forgot” about downloading thousands of other non-administrative, highly confidential software

 13   scripts. He also attempted to destroy evidence of his theft while obstructing Tesla’s efforts to

 14   access his laptop screen and see what he had taken.

 15           37.    After discovering Defendant’s theft of the Tesla Trade Secrets, and due to his

 16   repeated lying and obfuscation during the investigation, Tesla fired Defendant that day.

 17           38.    Although investigators were able to watch Defendant delete the information they

 18   found on Defendant’s laptop and in his Dropbox account, Tesla could not confirm whether he took

 19   additional files, whether the information he downloaded was further transferred from Dropbox to

 20   other locations in the days before he was caught, or whether he shared the information with anyone

 21   else.

 22           39.    As soon as Defendant uploaded the files to his Dropbox account, he had the ability

 23   to instantly share or retransfer those files from Dropbox to any other person or location at any time

 24   – including loading them onto a thumb drive, emailing them, syncing them to another computer,

 25   transferring them to an entirely different cloud-based account, or even printing them. Tesla would

 26   have had no way to monitor that activity, which Defendant could have done at any time before he

 27   purportedly deleted the files from Dropbox.

 28



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  1          40.     Moreover, because of COVID-19, this interview had to be conducted remotely,

  2   rather than in person. This remote process necessarily hindered Tesla’s ability to ensure complete

  3   deletion of the Trade Secrets, since Tesla could not directly control Defendant’s devices, perform

  4   immediate forensic analysis of the devices, or acquire full access to Defendant’s Dropbox.

  5          41.     On information and belief, Tesla did not uncover all of Defendant’s theft.

  6   Defendant’s proven track record of dishonesty and evidence destruction raises grave concerns that

  7   he continues to misappropriate Tesla’s Trade Secrets. On information and belief, Defendant has

  8   indeed further used and/or disseminated that information.

  9                                          First Cause of Action

 10                (Violation of the Defend Trade Secrets Act, 18 U.S.C. § 1831 et seq.)

 11          42.     Tesla re-alleges and incorporates by reference each and every allegation contained

 12   in paragraphs 1 through 38 of this Complaint.

 13          43.     As set forth above, Defendant misappropriated thousands of Quality Assurance

 14   automation software scripts constituting “trade secrets” under the Defend Trade Secrets Act, 18

 15   U.S.C. § 1831 et seq. Tesla is the owner of these Tesla Trade Secrets.

 16          44.     The Tesla Trade Secrets automate business processes underlying the development,

 17   manufacturing, sale, and leasing of products and services used in, and intended for use in, interstate

 18   and foreign commerce.

 19          45.     The Tesla Trade Secrets derive independent economic value from not being

 20   generally known to the public, to Tesla’s competitors, or to other persons who can obtain economic

 21   value from the disclosure or use of the information.

 22          46.     The Tesla Trade Secrets are not readily ascertainable through proper means or from

 23   generally available, public sources.

 24          47.     At all relevant times, Tesla has made reasonable efforts to protect and preserve the

 25   secrecy of the Tesla Trade Secrets.

 26          48.     Defendant misappropriated the Tesla Trade Secrets within the meaning of 18

 27   U.S.C. § 1839(5) by, inter alia, knowingly acquiring the Tesla Trade Secrets through improper

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  1   means, and disclosing and/or using the Tesla Trade secrets without Tesla’s express or implied

  2   consent.

  3            49.   Defendant knew or had reason to know that, at the time he accessed, downloaded

  4   and used the Tesla Trade Secrets, this information was acquired and obtained by improper means

  5   and/or under circumstances giving rise to a duty to maintain secrecy or limit use, and that he did

  6   not have Tesla’s express or implied consent to do so.

  7            50.   Defendant acquired the Tesla Trade Secrets by virtue of his employment with Tesla,

  8   not through his own independent research and efforts, in direct violation of his legal obligations to

  9   Tesla.

 10            51.   On information and belief, Defendant failed to fully delete or return the Tesla Trade

 11   Secrets that he misappropriated, and continues to use or disclose the Tesla Trade Secrets without

 12   Tesla’s consent.

 13            52.   On information and belief, Defendant has gained, or will gain, substantial benefit

 14   from his misappropriation of the Tesla Trade Secrets, to Tesla’s substantial detriment.

 15            53.   As a result of Defendant’s unlawful conduct, the Tesla Trade Secrets have been

 16   compromised, and Tesla is substantially threatened by Defendant’s further use and/or

 17   dissemination of that information.

 18            54.   As a direct, proximate, and foreseeable result of Defendant’s misappropriation of

 19   the Tesla Trade Secrets, Tesla has been damaged in an amount not yet ascertained.

 20            55.   Defendant’s unlawful actions were willful and malicious, and with the deliberate

 21   intent to injure Tesla’s business, thereby entitling Tesla to exemplary damages and/or attorneys’

 22   fees in an amount to be proven at trial pursuant to 18 U.S.C. § 1836(b)(3)(D).

 23            56.   Tesla is entitled to an order requiring Defendant, his agents, and all persons acting

 24   in concert with him, from using or disclosing, or threatening to use or disclose, the Tesla Trade

 25   Secrets, and restraining Defendant from obtaining any benefit from his wrongful possession and

 26   use of the Tesla Trade Secrets. Unless enjoined by this Court, said misappropriation of the Tesla

 27   Trade Secrets, actual or threatened, will cause great and irreparable injury to Tesla. Tesla has no

 28   adequate or other remedy at law for such acts and threatened acts.



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  1                                         Second Cause of Action

  2       (Violation of California’s Uniform Trade Secrets Act, Cal. Civ. Code § 3426 et seq.)

  3            57.   Tesla re-alleges and incorporates by reference each and every allegation contained

  4   in paragraphs 1 through 53 of this Complaint.

  5            58.   As set forth above, Defendant misappropriated thousands of Quality Assurance

  6   automation software scripts constituting “trade secrets” under the California Uniform Trade

  7   Secrets Act, Cal. Civ. Code § 3426, et seq. Tesla is the owner of these Tesla Trade Secrets.

  8            59.   The Tesla Trade Secrets derive independent economic value from not being

  9   generally known to the public, to Tesla’s competitors, or to other persons who can obtain economic

 10   value from disclosure or use of the information.

 11            60.   At all relevant times, Tesla has made reasonable efforts to protect and preserve the

 12   secrecy of the Tesla Trade Secrets.

 13            61.   Defendant misappropriated the Tesla Trade Secrets within the meaning of Cal. Civ.

 14   Code § 3426.1(b) by, inter alia, knowingly acquiring the Tesla Trade Secrets through improper

 15   means, and disclosing and/or using the Tesla Trade secrets without Tesla’s express or implied

 16   consent.

 17            62.   Defendant knew or had reason to know that, at the time he accessed, downloaded

 18   and used the Tesla Trade Secrets, this information was acquired and obtained by improper means

 19   and/or under circumstances giving rise to a duty to maintain secrecy or limit use, and that he did

 20   not have Tesla’s express or implied consent to do so.

 21            63.   Defendant acquired the Tesla Trade Secrets by virtue of his employment with Tesla,

 22   not through his own independent research and efforts, in direct violation of his legal obligations to

 23   Tesla.

 24            64.   On information and belief, Defendant failed to fully delete or return the Tesla Trade

 25   Secrets that he misappropriated, and continues to use or disclose the Tesla Trade Secrets without

 26   Tesla’s consent.

 27            65.   On information and belief, Defendant has gained, or will gain, substantial benefit

 28   from his misappropriation of the Tesla Trade Secrets, to Tesla’s substantial detriment.



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  1          66.     As a result of Defendant’s unlawful conduct, the Tesla Trade Secrets have been

  2   compromised, and Tesla is substantially threatened by Defendant’s further use and/or

  3   dissemination of that information.

  4          67.     As a direct, proximate, and foreseeable result of Defendant’s misappropriation of

  5   the Tesla Trade Secrets, Plaintiff has been damaged in an amount not yet ascertained.

  6          68.     Defendant’s unlawful actions were willful and malicious, and with the deliberate

  7   intent to injure Tesla’s business, thereby entitling Tesla to exemplary damages pursuant to Cal.

  8   Civ. Code § 3426.3(c) and/or attorneys’ fees in an amount to be proven at trial pursuant to Cal.

  9   Civ. Code § 3246.4.

 10          69.     Tesla is entitled to an order requiring Defendant, his agents, and all persons acting

 11   in concert with him, from using or disclosing, or threatening to use or disclose, the Tesla Trade

 12   Secrets, and restraining Defendant from obtaining any benefit from his wrongful possession and

 13   use of the Tesla Trade Secrets. Unless enjoined by this Court, said misappropriation of the Tesla

 14   Trade Secrets, actual or threatened, will cause great and irreparable injury to Tesla. Tesla has no

 15   adequate or other remedy at law for such acts and threatened acts.

 16                                        Third Cause of Action

 17                                         (Breach of Contract)

 18          70.     Tesla re-alleges and incorporates by reference each and every allegation contained

 19   in paragraphs 1 through 66 of this Complaint.

 20          71.     As a condition of his employment with Tesla, Defendant signed and agreed to abide

 21   by 1) the terms of an NDA between himself and Tesla and 2) the terms of an employment

 22   agreement contained in the offer letter between Defendant and Tesla. Both the NDA and the

 23   employment agreement prohibited Defendant from, among other things, using or disclosing the

 24   Tesla Trade Secrets.

 25          72.     Tesla fully complied with and fulfilled its obligation under the NDA and

 26   employment agreement by, among other things, employing the Defendant.

 27          73.     While employed by Tesla, Plaintiff breached the NDA and employment agreement

 28   by, without authorization or any business purpose, accessing, downloading, transmitting, and



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  1   retaining thousands of Quality Assurance automation software scripts constituting the Tesla Trade

  2   Secrets, and storing those scripts on a personal cloud storage account.

  3          74.     On information and belief, Plaintiff further breached his NDA and employment

  4   agreement by providing the Trade Secret information to other unknown individuals or entities after

  5   that information had been exfiltrated to Dropbox.

  6          75.     Tesla has sustained and will sustain damages as a direct and proximate result of

  7   Defendant’s breach of contract.

  8                                        PRAYER FOR RELIEF

  9          WHEREFORE, Plaintiff Tesla prays for judgment in its favor and against Defendant Alex

 10   Khatilov, inclusive as follows:

 11          1.      Granting temporary, preliminary, and permanent injunctive relief against

 12   Defendant, and any persons in active concert or participation with him: (i) enjoining Defendant

 13   from obtaining, retaining, using, transmitting, disseminating, or disclosing the Tesla Trade Secrets;

 14   (ii) requiring Defendant to immediately return all Tesla equipment, tangible materials, and

 15   information that remain in Defendant’s possession, custody, or control; (iii) ordering Defendant to

 16   identify, and turn over, any property in his possession, custody, or control containing or reflecting

 17   the Tesla Trade Secrets, including hard copy documents or any form of electronic storage media;

 18   (iv) ordering Defendant to identify any other persons, entities, or locations not within his

 19   possession, custody, or control, to which Defendant has transmitted, disseminated, disclosed, or

 20   stored any Tesla Trade Secrets; and (v) any other appropriate injunctive relief;

 21          2.      Awarding compensatory damages in an amount to be determined at trial;

 22          3.      Awarding exemplary damages in an amount to be determined at trial;

 23          4.      Awarding interest at the maximum legal rate on all sums awarded;

 24          5.      Awarding reasonable attorneys’ fees as permitted by law;

 25          6.      Awarding all costs of suit and investigation herein; and

 26          7.      Awarding such other and further relief as the Court deems just and proper.

 27                                            JURY DEMAND

 28          Plaintiff Tesla demands a jury trial on all triable issues.



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  1   Dated: January 22, 2021                         s/ Joseph Alm
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  2
                                                      Joseph Alm
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  6
                                                      Counsel for Plaintiff
  7                                                   Tesla, Inc.

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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        MARSHALL DIVISION

    ARIGNA TECHNOLOGY LIMITED,                     §
                                                   §
                  Plaintiff,                       §
                                                   §
    v.                                             §         Case No. 2:21-cv-00054-JRG-RSP
                                                   §
    VOLKSWAGEN AG, ET AL.                          §
                                                   §
                  Defendants.                      §

                                    JOINT PROTECTIVE ORDER

          WHEREAS, Plaintiff Arigna Technology Limited and Defendants Volkswagen AG;

          Volkswagen Group of America, Inc.; Bayerische Motoren Werke AG; BMW of North

   America, LLC; Daimler AG; Mercedes-Benz USA, LLC; Nissan Motor Co., Ltd.; Nissan North

   America, Inc.; Tesla, Inc.; Tesla Motors TX, Inc.; Toyota Motor Corporation; Toyota Motor North

   America, Inc.; and General Motors LLC, hereafter referred to as “the Parties,” believe that certain

   information that is or will be encompassed by discovery demands by the Parties involves the

   production or disclosure of trade secrets, confidential business information, or other proprietary

   information;

          WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance

   with Federal Rule of Civil Procedure 26(c):

          THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

          1. Each Party may designate as confidential for protection under this Order, in whole or

              in part, any document, information or material that constitutes or includes, in whole or

              in part, confidential or proprietary information or trade secrets of the Party or a Third

              Party to whom the Party reasonably believes it owes an obligation of confidentiality

              with respect to such document, information or material (“Protected Material”).
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            Protected Material shall be designated by the Party producing it by affixing a legend or

            stamp on such document, information or material as follows: “CONFIDENTIAL,”

            “RESTRICTED         –    ATTORNEYS’          EYES      ONLY”       or    “RESTRICTED

            CONFIDENTIAL SOURCE CODE” (individually or collectively “DESIGNATED

            MATERIAL”). The words “CONFIDENTIAL,” “RESTRICTED – ATTORNEYS’

            EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE” shall be

            placed clearly on each page of the Protected Material for which such protection is

            sought (except deposition and hearing transcripts). For deposition and hearing

            transcripts, the word “CONFIDENTIAL,” “RESTRICTED – ATTORNEYS’ EYES

            ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE” (depending on

            which designation is appropriate) shall be placed on the cover page of the transcript (if

            not already present on the cover page of the transcript when received from the court

            reporter) by each attorney receiving a copy of the transcript after that attorney receives

            notice of the designation of some or all of that transcript as “CONFIDENTIAL,”

            “RESTRICTED         –    ATTORNEYS’          EYES      ONLY,       or    “RESTRICTED

            CONFIDENTIAL SOURCE CODE.” For documents produced in native format, the

            appropriate designation shall be affixed on the face of the media containing such native

            format documentation. In addition to the foregoing, to the extent that documents are

            produced in native electronic form, the addition of a confidentiality designation in the

            file or folder name shall be sufficient to provide notice of said confidentiality and

            additional written notice is unnecessary in this situation. Other tangible things not

            produced in documentary form may be designated by affixing the appropriate

            designation on a cover page for such material and in a prominent place on the exterior
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            of the container(s) in which the information or things are stored. For information not

            reduced to any documentary, tangible, or physical form, or which cannot be

            conveniently designated as set forth above, the producing Party must inform the

            receiving Party of the designation of such information in writing. Protected Material of

            persons or entities who are not Parties to this Action (“Third Parties”) may be

            designated as “CONFIDENTIAL,” “RESTRICTED – ATTORNEYS’ EYES ONLY”

            or “RESTRICTED CONFIDENTIAL SOURCE CODE” in the same manner in which

            such Protected Material is designated by a Party.

         2. Any document produced under Patent Rules 2-2, 3-2, and/or 3-4 before issuance of this

            Order with the designation “Confidential” or “Highly Confidential – Attorneys’ Eyes

            Only” shall receive the same treatment as if designated “CONFIDENTIAL” or

            “RESTRICTED - ATTORNEYS’ EYES ONLY” under this Order, respectively, unless

            and until such document is redesignated to have a different classification under this

            Order.

         3. With respect to documents, information or material designated “CONFIDENTIAL,”

            “RESTRICTED - ATTORNEYS’ EYES ONLY,” “RESTRICTED CONFIDENTIAL

            SOURCE CODE,” subject to the provisions herein and unless otherwise stated, this

            Order governs, without limitation: (a) all documents, electronically stored information,

            and/or things as defined by the Federal Rules of Civil Procedure; (b) all pretrial, hearing

            or deposition testimony, or documents marked as exhibits or for identification in

            depositions and hearings; (c) pretrial pleadings, exhibits to pleadings and other court

            filings; (d) affidavits; (e) discovery responses, including answers to interrogatories and

            to requests for admission; and (f) stipulations. All copies, reproductions, extracts,
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            digests, and complete or partial summaries prepared from any DESIGNATED

            MATERIALS shall also be considered DESIGNATED MATERIAL and treated as

            such under this Order.

         4. A designation of Protected Material (i.e., “CONFIDENTIAL,” “RESTRICTED -

            ATTORNEYS’ EYES ONLY,” “RESTRICTED CONFIDENTIAL SOURCE

            CODE,”) may be made at any time. Inadvertent or unintentional production of

            documents, information or material that has not been designated as DESIGNATED

            MATERIAL shall not be deemed a waiver in whole or in part of a claim for confidential

            treatment. Any party that inadvertently or unintentionally produces Protected Material

            without designating it as DESIGNATED MATERIAL may request destruction of that

            Protected Material by notifying the recipient(s), as soon as reasonably possible after

            the producing Party becomes aware of the inadvertent or unintentional disclosure, and

            providing replacement Protected Material that is properly designated. The recipient(s)

            shall then destroy all copies of the inadvertently or unintentionally produced Protected

            Materials and any documents, information or material derived from or based thereon.

         5. “CONFIDENTIAL” documents, information and material may be disclosed only to the

            following persons, except upon receipt of the prior written consent of the designating

            party, upon order of the Court, or as set forth in paragraph 14 herein:

               a. outside counsel of record in this Action for the Parties;

               b. employees of such outside counsel assigned to and reasonably necessary to

                   assist such counsel in the litigation of this Action;
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               c. in-house counsel for the Parties who either have responsibility for making

                  decisions dealing directly with the litigation of this Action, or who are assisting

                  outside counsel in the litigation of this Action;

               d. up to and including three (3) designated representatives of each of the Parties

                  to the extent reasonably necessary for the litigation of this Action, except that

                  either party may in good faith request the other party’s consent to designate one

                  or more additional representatives, the other party shall not unreasonably

                  withhold such consent, and the requesting party may seek leave of Court to

                  designate such additional representative(s) if the requesting party believes the

                  other party has unreasonably withheld such consent;

               e. outside consultants or experts (i.e., not existing employees or affiliates of a

                  Party or an affiliate of a Party) retained for the purpose of this litigation and

                  employees of these consultants or experts, provided that: (1) such consultants

                  or experts are not presently employed by the Parties hereto for purposes other

                  than this Action; and (2) before access is given, the consultant or expert has

                  completed the Undertaking attached as Exhibit A hereto and the same is served

                  upon the producing Party or Third Party with a current curriculum vitae of the

                  consultant or expert at least ten (10) days before access to the Protected Material

                  is to be given to that consultant or expert to enable the producing Party or Third

                  Party to object to and notify the receiving Party in writing that it objects to

                  disclosure of Protected Material to the consultant or expert. The affected Parties

                  and/or Third Parties agree to promptly confer and use good faith to resolve any

                  such objection. If the Parties and/or Third Parties are unable to resolve any
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                    objection, the objecting Party or Third Party may file a motion with the Court

                    within ten (10) days of the notice, or within such other time as the Parties and/or

                    Third Parties may agree, seeking a protective order with respect to the proposed

                    disclosure. The objecting Party or Third Party shall have the burden of proving

                    the need for a protective order. In the event of such a dispute, no disclosure shall

                    occur until all such objections are resolved by agreement or Court order;

                f. independent litigation support services, including persons working for or as

                    court reporters, graphics or design services, jury or trial consulting services

                    including mock jurors, mediators and supporting personnel, and photocopy,

                    document imaging, and database services retained by counsel and reasonably

                    necessary to assist counsel with the litigation of this Action; and

                g. the Court and its personnel.

         6. A Party shall designate documents, information or material as “CONFIDENTIAL”

            only upon a good faith belief that the documents, information or material contains

            confidential or proprietary information or trade secrets of the Party or a Third Party to

            whom the Party reasonably believes it owes an obligation of confidentiality with

            respect to such documents, information or material.

         7. Documents, information, or material produced in this Action, including but not limited

            to Protected Material designated as DESIGNATED MATERIAL shall be used by the

            Parties only in the litigation, including any attempt to settle it, and shall not be used for

            any other purpose. Any person or entity who obtains access to DESIGNATED

            MATERIAL or the contents thereof pursuant to this Order shall not make any copies,

            duplicates, extracts, summaries or descriptions of such DESIGNATED MATERIAL
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              or any portion thereof except as may be reasonably necessary in the litigation of this

              Action. Any such copies, duplicates, extracts, summaries or descriptions shall be

              classified DESIGNATED MATERIALS and subject to all of the terms and conditions

              of this Order.

          8. To the extent a producing Party believes in good faith that certain Protected Material

              qualifying to be designated CONFIDENTIAL is so sensitive that its dissemination

              deserves even further limitation, the producing Party may designate such Protected

              Material “RESTRICTED - ATTORNEYS’ EYES ONLY,” or to the extent such

              Protected Material includes computer source code and/or live data (that is, data as it

              exists residing in a database or databases) (“Source Code Material”), the producing

              Party may designate such Protected Material as “RESTRICTED CONFIDENTIAL

              SOURCE CODE”.

          9. For Protected Material designated RESTRICTED - ATTORNEYS’ EYES ONLY,

              access to, and disclosure of, such Protected Material shall be limited to individuals

              listed in paragraphs 5(a–c) and (e–g); provided, however, that access by in-house

              counsel pursuant to Paragraph 5(c) be limited to in-house counsel who exercise no

              competitive decision making authority on behalf of the client.

          10. For Protected Material designated RESTRICTED CONFIDENTIAL SOURCE CODE,

              the following additional restrictions apply: 1




   1
     By including provisions within this Protective Order that govern the production of Source
   Code, the Parties do not concede that any Source Code will likely be produced, is discoverable,
   or is relevant to the claims and/or defenses asserted in this case. Based on information known at
   the time this Protective Order was submitted to the Court for its entry and the nature of the patent
   claims asserted, Defendants have stated that they do not believe they have any relevant Source
   Code.
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               a. Access to a Party’s Source Code Material shall be provided only on two “stand-

                  alone” computers—that is, the computers may not be linked to any network,

                  including a local area network (“LAN”), an intranet, or the Internet (“Source

                  Code Computers”). Neither the receiving Party’s outside counsel nor its outside

                  consultants or experts may connect any devices to the Source Code Computers,

                  nor may they copy, extract, or otherwise take any information from the Source

                  Code Computers in electronic form. In addition, neither the receiving Party’s

                  outside counsel nor its outside consultants or experts may modify the files on

                  the Source Code Computers nor may they load anything onto the Source Code

                  Computers absent the consent of the producing Party. Unless otherwise agreed,

                  the Source Code Computers shall be located at the offices of the producing

                  Party’s outside counsel;

               b. Prior to the first inspection of Source Code Material, the receiving Party shall

                  provide ten (10) days’ notice of its intent to inspect Source Code. The receiving

                  Party shall provide three (3) days’ notice prior to any additional inspection. If a

                  review of the source code is taking place and the receiving Party requests the

                  review continue to take place on the subsequent business day, the producing

                  Party shall make the Source Code Material available unless it is not possible to

                  do so (e.g., a person to monitor the review is unavailable). When requesting

                  inspection of a Party’s Source Code Material on the Source Code Computers,

                  the receiving party shall identify all persons who will inspect the producing

                  Party’s Source Code Material on behalf of a receiving Party, including members

                  of a receiving Party’s outside law firm. The receiving Party shall make
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                  reasonable efforts to restrict its requests for such access to the Source Code

                  Computers to normal business hours, which for purposes of this paragraph shall

                  be 8:00 a.m. through 6:00 p.m. local time. However, upon reasonable notice

                  from the receiving Party, the producing Party shall make reasonable efforts to

                  accommodate the receiving Party’s request for access to the Source Code

                  Computers outside of normal business hours. The Parties agree to cooperate in

                  good faith such that maintaining the producing Party’s Source Code Material at

                  the offices of its outside counsel (or at some other mutually agreeable location)

                  shall not unreasonably hinder the receiving Party’s ability to efficiently and

                  effectively conduct the prosecution or defense of this Action;

               c. The producing Party shall provide the receiving Party with information

                  explaining how to start, log on to, and operate the Source Code Computers in

                  order to access the produced Source Code Material on the Source Code

                  Computers;

               d. No cell phones, PDAs, cameras, recordable or storage media (e.g., USB thumb

                  drive, etc.), or computers (other than a notetaking laptop that is not connected

                  to the Internet) will be permitted inside the source code review room. A

                  telephone and internet access will be provided in a room convenient to and near

                  the source code review room—i.e., a room in close proximity to the source code

                  review room. A reviewer shall be permitted to access the internet and use a

                  personal cell phone in that room. If any individual inspecting Source Code seeks

                  to take notes, all such notes will be taken by hand or on a laptop not connected

                  to the Internet (notetaking laptop);
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                  e. The producing Party will produce Source Code Material in computer searchable

                      format. The receiving Party, at its own expense, may request that the producing

                      Party install licensed software on a Source Code Computer to assist with review

                      of the producing Party’s Source Code. The receiving Party must provide the

                      Producing Party with the requested licensed software at least five (5) days in

                      advance of the date upon which the receiving Party wishes to have the

                      additional software tools available for use. The Parties shall promptly meet and

                      confer as to any objection the producing Party may have to the installation of

                      such software. Otherwise, the producing Party will install and confirm

                      installation of said software on the Source Code Computers prior to the date the

                      receiving Party seeks access.

                  f. The source code is to be provided in native format with, if possible, the original

                      path names (e.g., the directory tree pertinent to the produced files). Native

                      format means electronic files containing native text not produced through any

                      process involving optical character recognition.

                  g. Access to Protected Material designated RESTRICTED CONFIDENTIAL

                      SOURCE CODE shall be limited to outside counsel and up to three (3) outside

                      consultants or experts 2 (i.e., not existing employees or affiliates of a Party)

                      retained for the purpose of this litigation and approved to access such Protected

                      Materials pursuant to paragraph 5(e) above.




   2
    For the purposes of this paragraph, an outside consultant or expert is defined to include the
   outside consultant’s or expert’s direct reports and other support personnel, such that the
   disclosure to a consultant or expert who employs others within his or her firm to help in his or
   analysis shall count as a disclosure to a single consultant or expert.
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                h. A receiving Party may include excerpts of Source Code Material in a pleading,

                   exhibit, expert report, discovery document, deposition transcript, other Court

                   document (“Source Code Documents”), provided that the Source Code

                   Documents are appropriately marked under this Order, restricted to those who

                   are entitled to have access to them as specified herein, and, if filed with the

                   Court, filed under seal in accordance with the Court’s rules, procedures and

                   orders;

                i. To the extent portions of Source Code Material are quoted in a Source Code

                   Document, either (1) the entire Source Code Document will be stamped and

                   treated as RESTRICTED CONFIDENTIAL SOURCE CODE or (2) those

                   pages containing quoted Source Code Material will be separately stamped and

                   treated as RESTRICTED CONFIDENTIAL SOURCE CODE;

                j. Unless otherwise agreed to by the Parties, no electronic copies of Source Code

                   Material shall be made without prior written consent of the producing Party,

                   except as necessary to create documents which, pursuant to the Court’s rules,

                   procedures and order, must be filed or served electronically;

                k. The receiving Party shall be permitted to request a reasonable number of

                   printouts and photocopies of Source Code Material, all of which shall be

                   designated and clearly labeled “RESTRICTED CONFIDENTIAL SOURCE

                   CODE,” and the receiving Party shall maintain a log of all such files that are

                   printed or photocopied. The receiving Party shall not print Source Code

                   Material in order to review blocks of Source Code Material elsewhere in the

                   first instance, as the parties agree that the purpose of the protections herein
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                   would be frustrated by printing portions of source code for review and analysis

                   elsewhere;

                l. Should such printouts or photocopies be transferred back to electronic media,

                   such media shall be labeled “RESTRICTED CONFIDENTIAL SOURCE

                   CODE” and shall continue to be treated as such;

                m. If the receiving Party’s outside counsel, consultants, or experts obtain printouts

                   or photocopies of Source Code Material, the receiving Party shall ensure that

                   such outside counsel, consultants, or experts keep the printouts or photocopies

                   in a secured locked area in the offices of such outside counsel, consultants, or

                   expert. The receiving Party may also temporarily keep the printouts or

                   photocopies at: (i) the Court for any proceedings(s) relating to the Source Code

                   Material, for the dates associated with the proceeding(s); (ii) the sites where any

                   deposition(s) relating to the Source Code Material are taken, for the dates

                   associated with the deposition(s); and (iii) any intermediate location reasonably

                   necessary to transport the printouts or photocopies (e.g., a hotel prior to a Court

                   proceeding or deposition); and

                n. A producing Party’s Source Code Material may be transported by the receiving

                   Party only at the direction of a person authorized under paragraph 10(g) above

                   to another person authorized under paragraph 10(g) above, on paper or

                   removable electronic media (e.g., a DVD, CD-ROM, or flash memory “stick”)

                   via hand carry, Federal Express, or other similarly reliable courier. Source Code

                   Material may not be transported or transmitted electronically over a network of

                   any kind, including a LAN, an intranet, or the Internet. Source Code Material
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                     otherwise may be transported electronically only for the purpose of Court

                     proceeding(s) or deposition(s) as set forth in paragraph 10(l) above and is at all

                     times subject to the transport restrictions set forth herein. But, for those

                     purposes only, the Source Code Materials may be loaded onto a stand-alone

                     computer without prior consent from the producing Party or as necessary to file

                     with the Court or serve documents which, pursuant to the Court’s rules,

                     procedures and order, must be filed or served electronically under seal.

          11. Any attorney representing a Party, whether in-house or outside counsel, and any person

             who is both associated with a Party and permitted to receive the other Party’s Protected

             Material that is designated RESTRICTED – ATTORNEYS’ EYES ONLY and/or

             RESTRICTED        CONFIDENTIAL           SOURCE       CODE      (collectively   “HIGHLY

             SENSITIVE MATERIAL”), who obtains, receives, has access to, or otherwise learns,

             in whole or in part, the other Party’s HIGHLY SENSITIVE MATERIAL under this

             Order shall not prepare, prosecute, supervise, or assist in the preparation or prosecution

             of any patent application pertaining to the field of the invention of the patent(s) in suit

             on behalf of the receiving Party or its acquirer, successor, predecessor, or other affiliate

             during the pendency of this Action and for one year after its conclusion, including any

             appeals. This provision does not prohibit the Parties’ counsel of record or experts in

             this litigation from participating in or representing it in reexamination proceedings,

             Post-Grant Review proceedings, inter partes review proceedings, or Covered Business

             Method Review proceedings involving any patent, including the patents-in-suit,

             provided they (1) do not rely upon or use, directly or indirectly, another Party’s

             HIGHLY SENSITIVE MATERIAL in those proceedings and (2) do not advise on,
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              consult on, prepare, draft, or edit any amendment to specifications or claims in those

              proceedings. Further, the Parties’ counsel of record or experts in this litigation may not

              reveal HIGHLY SENSITIVE MATERIAL of another Party to any reexamination, inter

              partes review, or covered business method review counsel or agent. To ensure

              compliance with the purpose of this provision, each Party shall create an “Ethical Wall”

              between those persons with access to HIGHLY SENSITIVE MATERIAL and any

              individuals who, on behalf of the Party or its acquirer, successor, predecessor, or other

              affiliate, prepare, prosecute, supervise, or assist in the preparation or prosecution of any

              patent application pertaining to the field of invention of the patent(s) in suit.

          12. Nothing in this Order shall require production of documents, information, or other

              material that a Party contends is protected from disclosure by the attorney-client

              privilege, the work product doctrine, or other privilege, doctrine, or immunity. 3 If

              documents, information, or other material subject to a claim of attorney-client

              privilege, work product doctrine, or other privilege, doctrine, or immunity is

              inadvertently or unintentionally produced, such production shall in no way prejudice

              or otherwise constitute a waiver of, or estoppel as to, any such privilege, doctrine, or

              immunity. Any Party that inadvertently or unintentionally produces documents,

              information or other material it reasonably believes are protected under the attorney-

              client privilege, work product doctrine, or other privilege, doctrine, or immunity may

              obtain the return of such documents, information or other material by promptly

              notifying the recipient(s) and providing a privilege log for the inadvertently or



   3
     The Defendants assert that a joint defense and/or common interest privilege exists among
   Defendants in this action and those named in other pending E.D. Texas cases filed by Arigna
   involving any of the same Defendants.
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             unintentionally produced documents, information or other material. The recipient(s)

             shall (1) gather, destroy, and certify destruction of all copies of such documents,

             information, or other material to the producing Party; or (2) gather and return all copies

             of such documents, information or other material to the producing Party, except for any

             pages containing privileged or otherwise protected markings by the recipient(s), which

             pages shall instead be destroyed and certified as such to the producing Party. The

             receiving Party may move the Court for an Order compelling production of such

             information, but the motion shall not assert as a ground for production the fact or

             circumstances of the inadvertent or unintentional production. If a claim is disputed, the

             receiving Party shall not use or disclose a document or information for which a claim

             of privilege or immunity is made pursuant to this Paragraph for any purpose except to

             challenge the claim of privilege or immunity to the Court until the matter is resolved

             by agreement of the parties or by a decision of this Court.

          13. There shall be no disclosure of any DESIGNATED MATERIAL by any person

             authorized to have access thereto to any person who is not authorized for such access

             under this Order. The Parties are hereby ORDERED to safeguard all such documents,

             information, and material to protect against disclosure to any unauthorized persons or

             entities.

          14. Nothing contained herein shall be construed to prejudice any Party’s right to use any

             DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided

             that the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible

             to have access to the DESIGNATED MATERIAL by virtue of his or her employment

             with the designating party, (ii) identified in the DESIGNATED MATERIAL as an
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             author, addressee, or copy recipient of such information, (iii) although not identified as

             an author, addressee, or copy recipient of such DESIGNATED MATERIAL, has, in

             the ordinary course of business, seen such DESIGNATED MATERIAL, (iv) a current

             or former officer, director or employee of the producing Party or a current or former

             officer, director or employee of a company affiliated with the producing Party; (v)

             counsel for a Party, including outside counsel and in-house counsel (subject to

             paragraphs 9 of this Order); (vi) an independent contractor, consultant, and/or expert

             retained for the purpose of this litigation; (vii) court reporters and videographers; (viii)

             the Court; or (ix) other persons entitled hereunder to access to DESIGNATED

             MATERIAL. DESIGNATED MATERIAL shall not be disclosed to any other persons

             unless prior authorization is obtained from counsel representing the producing Party or

             from the Court.

          15. Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

             deposition or hearing transcript, designate the deposition or hearing transcript or any

             portion thereof as “CONFIDENTIAL,” “RESTRICTED – ATTORNEYS’ EYES

             ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE” pursuant to this

             Order. Access to the deposition or hearing transcript so designated shall be limited in

             accordance with the terms of this Order. Until expiration of the 30-day period, the entire

             deposition or hearing transcript shall be treated as confidential.

          16. Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal

             and shall remain under seal until further order of the Court. The filing party shall be

             responsible for informing the Clerk of the Court that the filing should be sealed and for

             placing the legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER”
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             above the caption and conspicuously on each page of the filing. Exhibits to a filing

             shall conform to the labeling requirements set forth in this Order. If a pretrial pleading

             filed with the Court, or an exhibit thereto, discloses or relies on confidential documents,

             information or material, such confidential portions shall be redacted to the extent

             necessary and the pleading or exhibit filed publicly with the Court.

          17. The Order applies to pretrial discovery. Nothing in this Order shall be deemed to

             prevent the Parties from introducing any DESIGNATED MATERIAL into evidence at

             the trial of this Action, or from using any information contained in DESIGNATED

             MATERIAL at the trial of this Action, subject to any pretrial order issued by this Court.

          18. A Party may request in writing to the other Party that the designation given to any

             DESIGNATED MATERIAL be modified or withdrawn. If the designating Party does

             not agree to redesignation within ten (10) days of receipt of the written request, the

             requesting Party may apply to the Court for relief. Upon any such application to the

             Court, the burden shall be on the designating Party to show why its classification is

             proper. Such application shall be treated procedurally as a motion to compel pursuant

             to Federal Rules of Civil Procedure 37, subject to the Rule’s provisions relating to

             sanctions. In making such application, the requirements of the Federal Rules of Civil

             Procedure and the Local Rules of the Court shall be met. Pending the Court’s

             determination of the application, the designation of the designating Party shall be

             maintained.

          19. Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed

             in accordance with the terms of this Order shall be advised by counsel of the terms of

             this Order, shall be informed that he or she is subject to the terms and conditions of this
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             Order, and shall sign an acknowledgment that he or she has received a copy of, has

             read, and has agreed to be bound by this Order. A copy of the acknowledgment form

             is attached as Appendix A.

          20. To the extent that any discovery is taken of persons who are not Parties to this Action

             (“Third Parties”) and in the event that such Third Parties contend the discovery sought

             involves trade secrets, confidential business information, or other proprietary

             information, then such Third Parties may agree to be bound by this Order.

          21. To the extent that discovery or testimony is taken of Third Parties, the Third Parties

             may designate as “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’ EYES

             ONLY,” “RESTRICTED CONFIDENTIAL SOURCE CODE” any documents,

             information, or other material, in whole or in part, produced or given by such Third

             Parties. The Third Parties shall have ten (10) days after production of such documents,

             information, or other materials to make such a designation. Until that time period lapses

             or until such a designation has been made, whichever occurs sooner, all documents,

             information or other material so produced or given shall be treated as

             “CONFIDENTIAL” in accordance with this Order.

          22. The provisions of this Order shall continue to be binding after final termination of this

             case until a Producing Party agrees otherwise in writing or a court order otherwise

             directs. Within sixty (60) days of final termination of this Action, including any

             appeals, all DESIGNATED MATERIAL, including all copies, duplicates, abstracts,

             indexes, summaries, descriptions, and excerpts or extracts thereof (excluding excerpts

             or extracts incorporated into any privileged memoranda of the Parties and materials

             which have been admitted into evidence in this Action), shall either be returned to the
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             producing Party or be destroyed. The receiving Party shall verify the return or

             destruction by affidavit furnished to the producing Party, upon the producing Party’s

             request. Notwithstanding the foregoing, outside counsel of record shall be entitled to

             maintain copies of all pleadings, expert reports, motions and trial briefs (including all

             supporting and opposing papers and exhibits thereto), written discovery requests and

             responses (and exhibits thereto), deposition transcripts (and exhibits thereto), trial

             transcripts and hearing transcripts, and exhibits offered or introduced into evidence at

             any hearing or trial, emails and their attachments, and their attorney work product

             which refers or is related to any Protected Material for archival purposes only. Any

             such archived copies that contain or constitute Protected Material remain subject to this

             Order and shall be maintained in confidence by outside counsel for the Party retaining

             the materials. This provision does not apply to the Court, including court personnel and

             the Court’s reporter. Any destruction obligations under this Protective Order shall not

             apply to electronically-stored information in archival form stored on backup tapes or

             computer servers that are created only for disaster recovery purposes, provided that

             such electronic archives are not used as reference materials for a receiving Party’s

             business operations.

          23. The failure to designate documents, information, or material in accordance with this

             Order, and the failure to object to a designation at a given time shall not preclude the

             filing of a motion at a later date seeking to impose such designation or challenging the

             propriety thereof. The entry of this Order and/or the production of documents,

             information, and material hereunder shall in no way constitute a waiver of any

             objection to the furnishing thereof, all such objections being hereby preserved. Newly
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             designated DESIGNATED MATERIAL must be treated by the receiving party

             according to the new designation from the time the receiving party is notified in writing

             of the change in the designation. If material is designated as containing DESIGNATED

             MATERIAL subsequent to production or disclosure, the producing party shall

             reproduce the material with the correct designation. Upon receiving the material with

             the correct designation, the receiving party shall return or securely destroy all copies

             that were not properly designated. Any party desiring to change the designation of any

             previously produced material may do so at any time under the provisions of this section.

          24. Any Party knowing or believing that any other party is in violation of or intends to

             violate this Order and has raised the question of violation or potential violation with

             the opposing party and has been unable to resolve the matter by agreement may move

             the Court for such relief as may be appropriate in the circumstances. Pending

             disposition of the motion by the Court, the Party alleged to be in violation of or

             intending to violate this Order shall discontinue the performance of and/or shall not

             undertake the further performance of any action alleged to constitute a violation of this

             Order.

          25. Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed

             a publication of the documents, information and material (or the contents thereof)

             produced so as to void or make voidable whatever claim the Parties may have as to the

             proprietary and confidential nature of the documents, information, or other material or

             its contents.
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          26. Nothing in this Order shall be construed to constitute an abrogation, waiver, or

             limitation of any kind on the rights of each of the Parties to assert any applicable

             discovery or trial privilege.

          27. Each of the Parties shall also retain the right to file a motion with the Court (a) to

             modify this Order to allow disclosure of DESIGNATED MATERIAL to additional

             persons or entities if reasonably necessary to prepare and present this Action and (b) to

             apply for additional protection of DESIGNATED MATERIAL.
              SIGNED this 3rd day of January, 2012.
             SIGNED this 9th day of August, 2021.




                                                           ____________________________________
                                                           ROY S. PAYNE
                                                           UNITED STATES MAGISTRATE JUDGE
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                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION



    ARIGNA TECHNOLOGY LIMITED,

                  Plaintiff,

    vs.                                                 Case No. 2:21-cv-00054-JRG-RSP

    VOLKSWAGEN AG ET AL.,

                  Defendants.

                                APPENDIX A
             UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                            PROTECTIVE ORDER

          I, ______________________________________, declare that:

   1.     My address is _________________________________________________________.

          My current employer is _________________________________________________.

          My current occupation is ________________________________________________.

   2.     I have received a copy of the Protective Order in this action. I have carefully read and

          understand the provisions of the Protective Order.

   3.     I will comply with all of the provisions of the Protective Order. I will hold in confidence,

          will not disclose to anyone not qualified under the Protective Order, and will use only for

          purposes   of   this    action   any   information designated    as   “CONFIDENTIAL,”

          “RESTRICTED - ATTORNEYS’ EYES ONLY,” “RESTRICTED CONFIDENTIAL

          SOURCE CODE” that is disclosed to me.

   4.     Promptly upon termination of these actions, I will return all documents and things

          designated as “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’ EYES ONLY,”

          “RESTRICTED CONFIDENTIAL SOURCE CODE” that came into my possession, and




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          all documents and things that I have prepared relating thereto, to the outside counsel for

          the party by whom I am employed.

   5.     I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

          Protective Order in this action.

          I declare under penalty of perjury that the foregoing is true and correct.

   Signature ________________________________________

   Date ____________________________________________




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                     Exhibit 14
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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                         MARSHALL DIVISION

 UNICORN ENERGY GMBH,                                        §
                                                             §
                         Plaintiff,                          §
                                                             §
 v.                                                          §   CIVIL ACTION NO. 2:20-CV-00338-JRG
                                                             §
 TESLA, INC.,                                                §
                                                             §
                         Defendant.                          §

                                      STIPULATED PROTECTIVE ORDER

               WHEREAS, Plaintiff Unicorn Energy GmbH and Defendant Tesla, Inc. (hereafter referred

to as “the Parties,” collectively, or “Party,” individually), believe that certain information that is or

will be encompassed by discovery demands by the Parties discloses or reflects trade secrets,

confidential business information, or other proprietary information;

               WHEREAS, the Parties seek entry of the following protective order limiting disclosure

thereof in accordance with Federal Rule of Civil Procedure 26(c):

               THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

1.             Each Party may designate as confidential for protection under this Order, in whole or in part,

               any document, information or material that constitutes or includes, in whole or in part,

               confidential or proprietary information or trade secrets of the Party or persons who are not

               Parties to this Action (“Third Parties”) to whom the Party reasonably believes it owes an

               obligation of confidentiality with respect to such document, information or material. In

               this stipulated order, the foregoing documents, information, and materials are referred to

               as “Protected Material.” Protected Material shall be designated by the Party producing it

               by affixing a legend or stamp on such document, information or material as follows:




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               “CONFIDENTIAL,”          “RESTRICTED          –   ATTORNEYS’         EYES     ONLY,”      or

               “RESTRICTED CONFIDENTIAL SOURCE CODE.” The appropriate legend or stamp

               shall be placed clearly on each page of the Protected Material (except deposition and hearing

               transcripts) for which such protection is sought. For deposition and hearing transcripts, the

               appropriate legend or stamp shall be placed on the cover page of the transcript (if not

               already present on the cover page of the transcript when received from the court reporter)

               by each attorney receiving a copy of the transcript after that attorney receives notice

               of the designation of some or all of that transcript as “CONFIDENTIAL,” “RESTRICTED

               – ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE

               CODE.”

2.             Any document produced under Patent Rules 2-2, 3-2, and/or 3-4 before issuance of this

               Order with the designation “Confidential” or “Confidential - Outside Attorneys’ Eyes Only”

               shall receive the same treatment as if designated “RESTRICTED - ATTORNEYS’ EYES

               ONLY” under this Order, unless and until such document is redesignated to have a different

               classification under this Order.

3.             With respect to documents, information or material designated “CONFIDENTIAL,”

               “RESTRICTED - ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

               SOURCE CODE” (“DESIGNATED MATERIAL”),1 subject to the provisions herein and

               unless otherwise stated, this Order governs, without limitation: (a) all documents,

               electronically stored information, and/or things as defined by the Federal Rules of Civil




               1
         The term DESIGNATED MATERIAL is used throughout this Protective Order to refer
to the class of materials designated as “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’
EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE,” both individually and
collectively.



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               Procedure; (b) all pretrial, hearing or deposition testimony, or documents marked as exhibits

               or for identification in depositions and hearings; (c) pretrial pleadings, exhibits to pleadings

               and other court filings; (d) affidavits; and (e) stipulations.     All copies, reproductions,

               extracts, digests and complete or partial summaries prepared from any DESIGNATED

               MATERIALS shall also be considered DESIGNATED MATERIAL and treated as such

               under this Order. DESIGNATED MATERIAL must be stored and maintained by a

               Receiving Party at a location in the United States and in a secure manner that ensures that

               access is limited to the persons authorized under this Order. DESIGNATED MATERIAL

               may not be exported outside the United States except for the purpose of using such material

               in connection with the preparation for and taking of a deposition outside the United States,

               so long as the transport and use of such material in connection with the preparation for and

               taking of a deposition outside the United States complies with any applicable laws.

4.             A designation of Protected Material (i.e., “CONFIDENTIAL,” “RESTRICTED -

               ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE,”)

               may be made at any time.          Inadvertent or unintentional production of documents,

               information or material that has not been designated as DESIGNATED MATERIAL shall

               not be deemed a waiver in whole or in part of a claim for confidential treatment. Any party

               that inadvertently or unintentionally produces Protected Material without designating it as

               DESIGNATED MATERIAL may request destruction of that Protected Material by notifying

               the recipient(s), as soon as reasonably possible after the producing Party becomes aware of

               the inadvertent or unintentional disclosure, and providing replacement Protected Material

               that is properly designated. The recipient(s) shall then destroy all copies of the inadvertently




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               or unintentionally produced Protected Materials and any documents, information or material

               derived from or based thereon.

5.             The “CONFIDENTIAL” designation means that the designating Party reasonably believes,

               in good faith, that the information or material contains, embodies, refers to, and/or reflects

               non-public information (regardless of how it is generated, stored, or maintained) that is not

               generally known and which the designating Party would not normally reveal to Third

               Parties, such information, for example, may include confidential financial, proprietary, or

               commercial information or confidential personal information, or other information

               required by law or agreement to be kept confidential. Any information that is subject to

               federal, state, or foreign data protection laws or other privacy obligations (including,

               without limitation, Regulation (EU) 2016/679 of the European Parliament and of the

               Council of 27 April 2016 on the Protection of Natural Persons with Regard to the

               Processing of Personal Data and on the Free Movement of Such Data, also known as the

               General Data Protection Regulation (“GDPR”)) (“Protected Data”) shall also be treated as

               CONFIDENTIAL. “CONFIDENTIAL” documents, information and material may be

               disclosed only to the following persons, except upon receipt of the prior written consent of

               the designating Party, upon order of the Court, or as set forth in paragraph 13 herein:

               (a)       outside counsel of record in this Action for the Parties;

               (b)       employees of such counsel assigned to and reasonably necessary to assist such
                         counsel in the litigation of this Action;

               (c)       in-house counsel for the Parties who either have responsibility for making decisions
                         dealing directly with the litigation of this Action, or who are assisting outside
                         counsel in the litigation of this Action;

               (d)       up to and including three (3) designated representatives of each of the Parties who
                         are officers or employees of a Party, to the extent reasonably necessary for the
                         litigation of this Action, except that either Party may in good faith request the




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                         other Party’s consent to designate one or more additional such representatives,
                         the other Party shall not unreasonably withhold such consent, and the requesting
                         Party may seek leave of Court to designate such additional representative(s) if the
                         requesting Party believes the other Party has unreasonably withheld such consent;

               (e)       outside consultants or experts (i.e., not existing employees or affiliates of a Party or
                         an affiliate of a Party) retained for the purpose of this litigation, provided that:
                         (1) such consultants or experts are not presently employed by the Parties hereto for
                         purposes other than this Action; (2) before access is given, the consultant or expert
                         has completed the Undertaking attached as Exhibit A hereto; (3) the Party retaining
                         the consultant or expert serves the Undertaking upon the other Party; (4) the outside
                         consultant or expert resides in and is a citizen of the United States, along with:

                           (i) a current curriculum vitae of the consultant or expert, including a list
                               identifying the consultant’s or expert’s current employer and his or her
                               former employers in the previous ten (10) years and a list of all his or her
                               publications from the previous ten (10) years;

                           (ii) a list identifying by case name, case number, and court/agency of any
                                litigation in which the consultant or expert offered expert testimony (at
                                deposition, hearing, or trial) in the previous four (4) years;

                           (iii) a list identifying each person or entity for which the consultant or expert has
                                consulted during the previous ten (10) years, including the nature and time
                                period of such consultancy, provided that the proposed expert or consultant
                                is not otherwise prohibited due to confidentiality obligations to a non-party
                                from disclosing such information. Where a proposed expert or consultant
                                cannot disclose information due to a confidentiality obligation to a third
                                party, the expert or consultant shall in good faith disclose such information
                                as the expert or consultant is permitted to provide regarding the nature of the
                                consultancy (such as, e.g., the industry or technology involved in that
                                consultancy, whether the employment or consultancy was for a competitor
                                of a party, etc.) to enable, to the extent possible, the producing Party to
                                determine whether or not to object to the expert or consultant;

                         and (5) at least ten (10) days have elapsed after service of the Undertaking without
                         the other Party’s having served an objection to the disclosure of DESIGNATED
                         MATERIAL to the consultant or expert upon the Party retaining such consultant
                         or expert. The Parties agree to promptly confer and use good faith to resolve any
                         such objection. If the Parties are unable to resolve any objection, the objecting
                         Party may file a motion with the Court within fifteen (15) days of service of the
                         objection, or within such other time as the Parties may agree, seeking a protective
                         order with respect to the proposed disclosure. The objecting Party shall have the
                         burden of proving the need for a protective order. No disclosure shall occur until
                         all such objections are resolved by agreement or Court order;




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               (f)       independent litigation support services, including persons working for or as court
                         reporters, graphics or design services, jury or trial consulting services, and
                         photocopy, document imaging, and database services retained by counsel and
                         reasonably necessary to assist counsel with the litigation of this Action; and

               (g)       the Court and its personnel as well as any mediator who is assigned to hear this
                         matter, and his or her staff, subject to their agreement to maintain confidentiality
                         to the same degree as required by this Order.

6.             A Party shall designate documents, information or material as “CONFIDENTIAL” only

               upon a good faith belief that the documents, information or material contains confidential

               or proprietary information of the Party or a Third Party to whom the Party reasonably

               believes it owes an obligation of confidentiality with respect to such documents, information

               or material.

7.             Documents, information or material produced pursuant to any discovery request in this

               Action, including but not limited to Protected Material designated as DESIGNATED

               MATERIAL, shall be used by the Parties only in the litigation of this Action and shall not

               be used for any other purpose. Any person or entity who obtains access to DESIGNATED

               MATERIAL or the contents thereof pursuant to this Order shall not make any copies,

               duplicates, extracts, summaries or descriptions of such DESIGNATED MATERIAL or any

               portion thereof except as may be reasonably necessary in the litigation of this Action. Any

               such copies, duplicates, extracts, summaries or descriptions shall be classified

               DESIGNATED MATERIALS and subject to all of the terms and conditions of this Order.

8.             To the extent a producing Party believes that certain Protected Material qualifying to be

               designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

               limitation, the producing Party may designate such Protected Material “RESTRICTED –

               ATTORNEYS’ EYES ONLY.” The “RESTRICTED – ATTORNEYS’ EYES ONLY”

               designation means that the designating Party reasonably believes, in good faith, that the




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               information or material contains, embodies, refers to, and/or reflects confidential

               information that the designating Party reasonably believes could cause significant

               economic and/or competitive harm to the designating Party if disclosed to Third Parties,

               certain officers, directors, employees, consultants, and/or agents of a receiving Party,

               which may include, but is not limited to, trade secrets; pricing information; non-public

               financial, organizational, or operational information; sales, marketing, and strategic

               forecasts and plans; licenses and licensing agreements; technical information relating to

               the design, development, engineering, research, testing, operation, and production of

               products; personal employee information; unpublished pending domestic or foreign patent

               applications; and other non-public information of similar sensitivity. To the extent such

               Protected Material includes computer source code, descriptions of computer source code,

               and/or live data (that is, data as it exists residing in a database or databases) (“Source Code

               Material”), the producing Party may designate such Protected Material as “RESTRICTED

               CONFIDENTIAL SOURCE CODE.”

9.             For Protected Material designated RESTRICTED – ATTORNEYS’ EYES ONLY, access

               to, and disclosure of, such Protected Material shall be limited to individuals listed in

               paragraphs 5(a-c) and (e-g) and persons whom counsel for the designating Party otherwise

               agree in writing may have access only on a document-by-document basis; provided,

               however, that access by in-house counsel pursuant to paragraph 5(c) be limited to in-house

               counsel who exercise no competitive decision-making authority on behalf of the client with

               respect to any products, whether commercial or contemplated for development in the

               future, relevant to the subject matter in the patent-in-suit.




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10.            For Protected Material designated RESTRICTED CONFIDENTIAL SOURCE CODE, the

               following additional restrictions apply, unless the producing Party and the receiving Party

               agree otherwise:

                         (a) Access to a Party’s Source Code Material shall be provided only on “stand-alone”
                             computer(s) (that is, the computer shall not be linked to any network, including a
                             local area network (“LAN”), an intranet or the Internet). The stand-alone
                             computer(s) (“secured computer”) may be connected to a printer, solely for the
                             limited purposes permitted pursuant to paragraphs 10(h) and10(k) below, but shall
                             not have any other enabled access ports, as necessary and appropriate to prevent
                             and protect against any unauthorized copying, transmission, removal or other
                             transfer of any Source Code Material outside or away from the computer on which
                             the Source Code Material is provided for inspection. No recordable media or
                             recordable devices, including without limitation sound recorders, computers,
                             cellular telephones, peripheral equipment, cameras, CDs, DVDs, or drives of any
                             kind, shall be permitted into the Source Code Material review room. Additionally,
                             except as provided in paragraph 10(k) below, the secured computer(s) may only be
                             located at the offices of the producing Party’s outside counsel;

                         (b) The receiving Party shall make reasonable efforts to restrict its requests for such
                             access to the secured computer(s) to normal business hours, which for purposes of
                             this paragraph shall be 8:00 a.m. through 6:00 p.m. However, upon reasonable
                             notice from the receiving Party, the producing Party shall make reasonable efforts to
                             accommodate the receiving Party’s request for access to the secured computer(s)
                             outside of normal business hours. The Parties agree to cooperate in good faith such
                             that maintaining the producing Party’s Source Code Material at the offices of its
                             outside counsel shall not unreasonably hinder the receiving Party’s ability to
                             efficiently and effectively conduct the prosecution or defense of this Action. All
                             persons who will review a producing party’s Source Code Material on behalf of a
                             receiving Party, including members of a receiving Party’s outside law firm, shall
                             be identified in writing to the producing Party at least five (5) days in advance of
                             the first time that such person reviews such Source Code Material. All persons
                             viewing Source Code Material shall sign on each day they view Source Code
                             Material a log that will include the names of persons who view the Source Code
                             Material and when they enter and depart;

               (c)          The producing Party shall provide the receiving Party with information explaining
                            how to start, log on to, and operate the secured computer(s) in order to access the
                            produced Source Code Material on the secured computer(s);

               (d)          The producing Party will produce Source Code Material in computer searchable
                            format on the secured computer(s) as described above. No copies of all or any
                            portion of the Source Code Material may leave the room in which the Source
                            Code Material is inspected except as otherwise provided herein and the receiving



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                         Party will not transmit any Source Code Material in any way from the producing
                         Party’s facilities or the offices of its outside counsel of record. Further, no other
                         written or electronic record of the Source Code Material is permitted except as
                         otherwise provided herein. The producing Party shall make available a printer with
                         commercially reasonable printing speeds for on-site printing during inspection of
                         the Source Code Material. The receiving Party may print limited portions of the
                         Source Code Material only when necessary to prepare court filings or pleadings or
                         other papers (including a testifying expert’s expert report). Any printed portion that
                         consists of more than ten (10) pages of a continuous block of Source Code Material
                         shall be presumed to be excessive, and the burden shall be on the Receiving Party
                         to demonstrate good cause for such a printed copy. The Receiving Party may print
                         out no more than fifty (50) pages total absent a showing of good cause. The
                         receiving Party shall not print Source Code Material in order to review blocks of
                         Source Code Material elsewhere in the first instance, i.e., as an alternative to
                         reviewing that Source Code Material electronically on the secured computer, as
                         the Parties acknowledge and agree that the purpose of the protections herein would
                         be frustrated by printing portions of code for review and analysis elsewhere, and
                         that printing is permitted only when necessary to prepare court filings,
                         infringement contentions, pleadings or other papers (including a testifying expert’s
                         expert report). Upon printing any such portions of Source Code Material, the
                         printed pages shall be collected by the producing Party. The producing Party shall
                         Bates number, copy, and label “RESTRICTED CONFIDENTIAL SOURCE
                         CODE” any pages printed by the receiving Party;

               (e)       Access to Protected Material designated RESTRICTED CONFIDENTIAL
                         SOURCE CODE shall be made available through the end of expert discovery in
                         this litigation and shall be limited to outside counsel and up to three (3) outside
                         consultants or experts2 (i.e., not existing employees or affiliates of a Party or an
                         affiliate of a Party) retained for the purpose of this litigation and approved to access
                         such Protected Materials pursuant to paragraph 5(e) above. A receiving Party may
                         include excerpts of Source Code Material in a pleading, exhibit, expert report,
                         discovery document, deposition transcript, or other Court document (“Source Code
                         Document”), provided that the Source Code Document is appropriately marked
                         under this Order, restricted to those who are entitled to have access to it as specified
                         herein, and, if filed with the Court, filed under seal in accordance with the Court’s
                         rules, procedures and orders. Unless otherwise agreed in advance by the Parties in
                         writing, following each day on which inspection is done under this Order, the
                         receiving Party’s outside counsel and/or experts shall remove all notes, documents,
                         and all other materials from the Source Code Material review room. The producing
                         Party shall not be responsible for any items left in the room following each
                         inspection session, and the receiving Party shall have no expectation of

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         For the purposes of this paragraph, an outside consultant or expert is defined to include
the outside consultant’s or expert’s direct reports and other support personnel, such that the
disclosure to a consultant or expert who employs others within his or her firm to help in his or her
analysis shall count as a disclosure to a single consultant or expert.



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                         confidentiality for any items left in the room following each inspection session
                         without a prior agreement to that effect. Proper identification of all authorized
                         persons shall be provided prior to any access to the secure room or the computer
                         containing Source Code Material, and a copy of such identification will be made
                         and provided to the producing Party. Proper identification requires showing, at a
                         minimum, a photo identification card sanctioned by the government of any State
                         of the United States, by the government of the United States, or by the nation state
                         of the authorized person’s current citizenship. Access to the secure room or the
                         secured Source Code Material computer may be denied, at the discretion of the
                         supplier, to any individual who fails to provide proper identification;

               (f)       To the extent portions of Source Code Material are quoted in a Source Code
                         Document, either (1) the entire Source Code Document will be stamped and treated
                         as RESTRICTED CONFIDENTIAL SOURCE CODE or (2) those pages containing
                         quoted Source Code Material will be separately stamped and treated as
                         RESTRICTED CONFIDENTIAL SOURCE CODE;

               (g)       Except as set forth in paragraph 10(k) below, no electronic copies of Source Code
                         Material shall be made without prior written consent of the producing Party, except
                         as necessary to create documents which, pursuant to the Court’s rules, procedures
                         and order, must be filed or served electronically;

               (h)       The receiving Party’s outside counsel shall be permitted to make no more than
                         three (3) additional paper copies of any portions of a Source Code Material, not
                         including copies attached to court filings or used at depositions, all of which shall
                         be designated and clearly labeled “RESTRICTED CONFIDENTIAL SOURCE
                         CODE,” and the receiving Party shall maintain a log of all such files that are
                         printed or photocopied; The receiving Party shall maintain a log of all paper copies
                         of any Source Code Material, which identifies the names of the reviewers and/or
                         recipients of paper copies, the locations where the paper copies are stored, and the
                         dates on which such paper copies were received by such individuals. Upon one
                         (1) day’s advance notice to the receiving Party by the producing Party, the
                         receiving Party shall provide a copy of this log to the producing Party.

               (i)       Should such printouts or photocopies be transferred to electronic media, such
                         media shall be labeled “RESTRICTED CONFIDENTIAL SOURCE CODE” and
                         shall continue to be treated as such;

               (j)       If the receiving Party’s outside counsel, consultants, or experts obtain printouts or
                         photocopies of Source Code Material, the receiving Party shall ensure that such
                         outside counsel, consultants, or experts keep the printouts or photocopies in a
                         secured locked area in the offices of such outside counsel, consultants, or expert.
                         The receiving Party may also temporarily keep the printouts or photocopies at: (i) the
                         Court for any proceedings(s) relating to the Source Code Material, for the dates
                         associated with the proceeding(s); (ii) the sites where any deposition(s) relating to




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                         the Source Code Material are taken, for the dates associated with the deposition(s);
                         and (iii) any intermediate location reasonably necessary to transport the printouts or
                         photocopies (e.g., a hotel prior to a Court proceeding or deposition); and

               (k)       A producing Party’s Source Code Material may only be transported by the receiving
                         Party at the direction of a person authorized under paragraph 10(e) above to another
                         person authorized under paragraph 10(e) above, on paper via hand carry, Federal
                         Express or other similarly reliable courier. Source Code Material may not be
                         transported or transmitted electronically over a network of any kind, including a
                         LAN, an intranet, or the Internet. Source Code Material may only be transported
                         electronically for the purpose of Court proceeding(s) or deposition(s) as set forth in
                         paragraph 10(j) above and is at all times subject to the transport restrictions set forth
                         herein. But, for those purposes only, the Source Code Materials may be loaded onto
                         a secured computer.

11.            The producing Party will produce its Source Code Material in a manner that allows the

               receiving Party to reasonably inspect the Source Code Material. The producing Party will

               monitor the receiving Party’s inspection only to the extent necessary to ensure that the

               receiving Party is complying with the terms of this Order. The producing Party shall install

               tools that are sufficient for viewing and searching the Source Code Material produced, on

               the platform produced, if such tools exist and are presently used in the ordinary course of

               the Producing Party’s business. The receiving Party’s outside counsel and/or experts may

               request that commercially available software tools for viewing and searching Source Code

               Material be installed on the secured computer, provided, however, that (a) the receiving

               Party possesses an appropriate license to such software tools; (b) the producing Party

               approves such software tools; and (c) such other software tools are reasonably necessary

               for the Receiving Party to perform its review of the Source Code Material consistent with

               all of the protections herein. The receiving Party must provide the producing Party with

               the CD or DVD containing such licensed software tool(s) at least fifteen (15) days in

               advance of the date upon which the receiving Party wishes to have the additional software

               tools available for use on the Source Code Material secured computer, with the




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               understanding that if the producing Party is unable to make the Source Code Material

               available for inspection within the fifteen (15) days, the producing Party shall inform the

               receiving Party of the reason it is unable to do so and the Parties shall confer and use good

               faith to identify an alternative date for inspection. The receiving Party’s outside counsel

               and retained experts or consultants otherwise allowed to view Source Code Material shall

               be entitled to take handwritten notes relating to the Source Code Material but may not copy

               more than five (5) successive lines of any individual file of the Source Code Material into

               the handwritten notes and may not take such notes electronically on the secured computer

               itself or any other computer. No provision herein gives the producing Party the right to

               inspect or review any notes and/or other work product of the receiving Party. However, if

               the producing Party has good cause to believe that the provisions of this Protective Order

               have been violated, then the producing Party may request that the Court conduct an in-

               camera review of said notes.

12.            The Parties agree that productions of Protected Data may require additional safeguards

               pursuant to federal, state, or foreign statutes, regulations, or privacy obligations and will

               meet and confer to implement these safeguards if and when needed.

13.            Any attorney representing a Party, whether in-house or outside counsel, and any person

               associated with a Party and permitted to receive the other Party’s Protected Material that is

               designated RESTRICTED -- ATTORNEYS’ EYES ONLY and/or RESTRICTED

               CONFIDENTIAL SOURCE CODE (collectively “HIGHLY SENSITIVE MATERIAL”),

               who obtains, receives, has access to, or otherwise learns, in whole or in part, the other

               Party’s HIGHLY SENSITIVE MATERIAL under this Order shall not prepare, prosecute,

               supervise, or assist in the preparation or prosecution of any patent application pertaining to




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               the field of the invention of the patent-in-suit on behalf of the receiving Party or its

               acquirer, successor, predecessor, or other affiliate during the pendency of this Action and for

               one year after its conclusion, including any appeals. To ensure compliance with the purpose

               of this provision, receiving persons shall not discuss or review DESIGNATED

               MATERIAL under circumstances where such materials would be exposed to persons

               involved in the drafting or amending of such patent claims. Nothing in this paragraph shall

               prevent any attorney or person associated with a receiving Party that has received another

               Party’s or non-Party’s DESIGNATED MATERIALS from participating in any post-grant

               patent proceedings (e.g., reexamination, inter partes review, or other post-grant challenges

               to patents) that is instituted or sought to be instituted challenging the validity of any patents;

               however, consistent with the foregoing restrictions of this paragraph, said attorney or

               person may not assist or provide any advice in any manner to the Party owning the

               challenged patent with respect to drafting, amending, or proposing for substitution to the

               U.S. Patent and Trademark Office (or any similar agency of a foreign government) patent

               claims in said post-grant proceeding(s). For the avoidance of doubt, this paragraph shall

               apply to individuals only and shall not be applied to an entire law firm.

14.            Nothing in this Order shall require production of documents, information or other material

               that a Party contends is protected from disclosure by the attorney-client privilege, the work

               product doctrine, or other privilege, doctrine, or immunity. If documents, information or

               other material subject to a claim of attorney-client privilege, work product doctrine, or other

               privilege, doctrine, or immunity is inadvertently or unintentionally produced, such

               production shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to,

               any such privilege, doctrine, or immunity. Any Party that inadvertently or unintentionally




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               produces documents, information or other material it reasonably believes are protected under

               the attorney-client privilege, work product doctrine, or other privilege, doctrine, or immunity

               may obtain the return of such documents, information or other material by promptly

               notifying the recipient(s) and providing a privilege log for the inadvertently or

               unintentionally produced documents, information or other material. The recipient(s) shall

               gather and return all copies of such documents, information or other material to the

               producing Party, except for any pages containing privileged or otherwise protected markings

               by the recipient(s), which pages shall instead be destroyed and certified as such to the

               producing Party.

15.            There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

               to have access thereto to any person who is not authorized for such access under this Order.

               The Parties are hereby ORDERED to safeguard all such documents, information and

               material to protect against disclosure to any unauthorized persons or entities.

16.            Nothing contained herein shall be construed to prejudice any Party’s right to use any

               DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided that

               the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to have

               access to the DESIGNATED MATERIAL by virtue of his or her employment with the

               designating Party, (ii) identified in the DESIGNATED MATERIAL as an author, addressee,

               or copy recipient of such information, (iii) although not identified as an author, addressee,

               or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary course of

               business, seen such DESIGNATED MATERIAL, (iv) a current or former officer, director

               or employee of the producing Party or a current or former officer, director or employee of

               a company affiliated with the producing Party; or (v) another person entitled hereunder to




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               access to DESIGNATED MATERIAL.                 DESIGNATED MATERIAL shall not be

               disclosed to any other persons unless prior authorization is obtained from counsel

               representing the producing Party or from the Court.

17.            Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

               deposition or hearing transcript, designate the deposition or hearing transcript or any

               portion thereof as “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’ EYES ONLY,”

               or “RESTRICTED CONFIDENTIAL SOURCE CODE” pursuant to this Order. Access

               to the deposition or hearing transcript so designated shall be limited in accordance with

               the terms of this Order. If not designated at the deposition, until expiration of the 30-day

               period, the entire deposition or hearing transcript shall be treated as “RESTRICTED -

               ATTORNEYS’ EYES ONLY.”

18.            Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

               shall remain under seal until further order of the Court. The filing Party shall be responsible

               for informing the Clerk of the Court that the filing should be sealed and for placing the

               legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the

               caption and conspicuously on each page of the filing. Exhibits to a filing shall conform

               to the labeling requirements set forth in this Order.    If a pretrial pleading filed with the

               Court, or an exhibit thereto, discloses or relies on DESIGNATED MATERIAL, such

               confidential portions shall be redacted to the extent necessary and the pleading or exhibit

               filed publicly with the Court.

19.            The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

               the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of




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                this Action, or from using any information contained in DESIGNATED MATERIAL at

                the trial of this Action, subject to any pretrial order issued by this Court.

 20.            A Party may request in writing to the other Party that the designation given to any

                DESIGNATED MATERIAL be modified or withdrawn.                   If the designating Party does

                not agree to redesignation within ten (10) days of receipt of the written request, the

                requesting Party may apply to the Court for relief. Upon any such application to the Court,

                the burden shall be on the designating Party to show why its classification is proper. Such

                application shall be treated procedurally as a motion to compel pursuant to Federal Rules

                of Civil Procedure 37, subject to the Rule’s provisions relating to sanctions. In making

                such application, the requirements of the Federal Rules of Civil Procedure and the Local

                Rules of the Court shall be met. Pending the Court’s determination of the application, the

                designation of the designating Party shall be maintained.

 21.            Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

                accordance with the terms of this Order shall be advised by counsel of the terms of this

                Order, shall be informed that he or she is subject to the terms and conditions of this Order,

                and shall sign an Undertaking that he or she has received a copy of, has read, and has

                agreed to be bound by this Order.            A copy of the Undertaking is attached as

                Appendix A.

 22.            To the extent that any discovery is taken of Third Parties and in the event that such Third

                Parties contend the discovery sought involves trade secrets, confidential business

                information, or other proprietary information, then such Third Parties may agree to be

                bound by this Order.




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 23.            To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

                designate as “CONFIDENTIAL” or “RESTRICTED – ATTORNEYS’ EYES ONLY”

                any documents, information or other material, in whole or in part, produced or given by

                such Third Parties.   The Third Parties shall have ten (10) days after production of such

                documents, information or other materials to make such a designation. Until that time

                period lapses or until such a designation has been made, whichever occurs sooner, all

                documents, information or other material so produced or given shall be treated as

                “RESTRICTED – ATTORNEYS’ EYES ONLY” in accordance with this Order.

 24.            To the extent a receiving Party receives a subpoena or other compulsory process from a

                Third Party seeking production or other disclosure of a producing Party’s DESIGNATED

                MATERIAL, that receiving Party shall give written notice to outside counsel for the

                producing Party immediately, and in no event more than five (5) business days after receipt

                of the subpoena or other compulsory process, identifying the specific DESIGNATED

                MATERIAL sought and enclosing a copy of the subpoena or other compulsory process.

                The receiving Party must also promptly inform in writing the Third Party who caused the

                subpoena or other compulsory process to issue in the other litigation that some or all of

                the materials covered by the subpoena or other compulsory process are subject to this

                Order. In addition, the receiving Party must deliver a copy of this Order promptly to the

                Third Party that caused the subpoena or order to issue. If the producing Party timely seeks

                a protective order, the receiving Party to whom the subpoena or other compulsory process

                was issued or served shall not produce the DESIGNATED MATERIAL requested prior

                to receiving a Court order or consent of the producing Party.           In the event that




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                DESIGNATED MATERIAL is produced to the Third Party, such material shall be treated

                as DESIGNATED MATERIAL pursuant to this Order.

 25.            Within thirty (30) days of final termination of this Action, including any appeals, all

                DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes,

                summaries, descriptions, and excerpts or extracts thereof (excluding excerpts or extracts

                incorporated into any privileged memoranda of the Parties and materials which have been

                admitted into evidence in this Action), shall at the producing Party’s election either be

                returned to the producing Party or be destroyed. However, outside counsel may retain

                pleadings, attorney and consultant work product, attorney-client communications,

                communications with opposing counsel, and depositions for archival purposes. The

                receiving Party shall verify the return or destruction by affidavit furnished to the producing

                Party, upon the producing Party’s request.

 26.            The failure to designate documents, information or material in accordance with this Order

                and the failure to object to a designation at a given time shall not preclude a Party from

                seeking to impose such designation or challenging the propriety thereof at a later date.

                The producing Party may subsequently inform the receiving Party of the confidential

                nature of the disclosed DESIGNATED MATERIAL, and the receiving Party shall treat

                the disclosed DESIGNATED MATERIAL as “CONFIDENTIAL,” “RESTRICTED –

                ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE,”

                as the case may be, upon receipt of written notice from the producing Party, to the extent

                the receiving Party has not disclosed this DESIGNATED MATERIAL. Disclosure of

                such DESIGNATED MATERIAL to persons not authorized to receive that material prior

                to receipt of the confidentiality designation shall not be deemed a violation of this Order.




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                However, in the event the material has been distributed in a manner inconsistent with the

                categorical designation, the receiving Party will take the steps necessary to conform

                distribution to the categorial designation, i.e., by retrieving all copies of the

                DESIGNATED MATERIAL, or notes or extracts thereof, in the possession of the persons

                not authorized under this Order to possess such DESIGNATED MATERIAL and advising

                the person to whom disclosure was made that the material is confidential and should be

                treated as provided in the Order. The entry of this Order and/or the production of

                documents, information and material hereunder shall in no way constitute a waiver of any

                objection to the furnishing thereof, all such objections being hereby preserved.

 27.            Any Party knowing or believing that any other Party is in violation of or intends to violate

                this Order and has raised the question of violation or potential violation with the opposing

                Party and has been unable to resolve the matter by agreement may move the Court for

                such relief as may be appropriate in the circumstances. Pending disposition of the motion

                by the Court, the Party alleged to be in violation of or intending to violate this Order shall

                discontinue the performance of and/or shall not undertake the further performance of any

                action alleged to constitute a violation of this Order.

 28.            Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed a

                publication of the documents, information and material (or the contents thereof) produced

                so as to void or make voidable whatever claim the Parties may have as to the proprietary and

                confidential nature of the documents, information or other material or its contents.

 29.            Nothing in this Order shall be construed to effect an abrogation, waiver or limitation of any

                kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.




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 30.            Each of the Parties shall also retain the right to file a motion with the Court (a) to modify this

                Order to allow disclosure of DESIGNATED MATERIAL to additional persons or entities

                if reasonably necessary to prepare and present this Action and (b) to apply for additional

                protection of DESIGNATED MATERIAL.

             So ORDERED and SIGNED this 12th day of February, 2021.




                                                                     ____________________________________
                                                                     RODNEY GILSTRAP
                                                                     UNITED STATES DISTRICT JUDGE




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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        MARSHALL DIVISION

   UNICORN ENERGY GmbH                                 )
                                                       )
                                Plaintiff,             )
                                                       )
                          v.                           )        C.A. No. 2:20-cv-338-JRG
                                                       )
   TESLA, INC.                                         )       JURY TRIAL DEMANDED
                                                       )
                                Defendant.             )

                                         APPENDIX A
                      UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                                     PROTECTIVE ORDER
                I, ___________________________________________, declare that:

 1.             My address is _________________________________________________________.

                My current employer is _________________________________________________.

                My current occupation is ________________________________________________.

 2.             I have received a copy of the Protective Order in this action. I have carefully read and

                understand the provisions of the Protective Order.

 3.             I will comply with all of the provisions of the Protective Order. I will hold in confidence,

                will not disclose to anyone not qualified under the Protective Order, and will use only for

                purposes of this action, any information designated as “CONFIDENTIAL,”

                “RESTRICTED – ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

                SOURCE CODE” that is disclosed to me.

 4.             Promptly upon termination of these actions, I will return all documents and things

                designated as “CONFIDENTIAL,” “RESTRICTED – ATTORNEYS’ EYES ONLY,” or

                “RESTRICTED CONFIDENTIAL SOURCE CODE” that came into my possession, and




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                all documents and things that I have prepared relating thereto, to the outside counsel for

                the party by whom I am employed.

 5.             I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

                Protective Order in this action.

                I declare under penalty of perjury that the foregoing is true and correct.

 Signature ________________________________________

 Date ____________________________________________




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                      Exhibit 15
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


 THE TRUSTEES OF
 PURDUE UNIVERSITY,

                Plaintiff,

 v.                                                 Civil Action No. 6:21-cv-00727-ADA

 STMICROELECTRONICS N.V.,                           JURY TRIAL DEMAND
 STMICROELECTRONICS
 INTERNATIONAL N.V., and
 STMICROELECTRONICS, INC.,

                Defendants.


                        ORDER REGARDING DISCOVERY DISPUTES

       This Court, having considered the parties’ disputes raised during the January 28, 2022

Discovery Hearing, hereby ORDERS the following:

       Defendants sought to include the Court's standard source-code restrictions in the parties'

protective order, and further to allow Defendants to designate semiconductor design and

manufacturing information (e.g., design files, recipes, GDS files, process flows, CAD/CAE files, and

similar materials) as subject to the source code restrictions. The Court DENIES the request.

       Defendants also sought to include an acquisition bar in the parties' protective order to

preclude individuals that have access to a party’s Confidential – Attorneys’ Eyes Only information

from participating in the acquisition of patents (including patent applications), or the rights to any

such patents or patent applications with the right to sublicense, relating to the functionality,

operation, and design of MOSFET products during the pendency of this Action and for one year

after its conclusion, including any appeals. The Court DENIES the request.
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         Plaintiff requested that certain third parties subpoenaed by Defendants, namely Purdue

Research Foundation, Professor James A. Cooper, Dr. Asmita Saha, and Bahret & Associates

(collectively, the "Purdue Affiliated Parties") be considered for the purposes of discovery as part of,

or in privity with Plaintiff. Counsel for Plaintiff and the Purdue Affiliated Parties stipulated that

Plaintiff has full and complete control over all relevant documents and materials in the possession,

custody and control of the Purdue Affiliated Parties as well as the ability to present each for a

deposition, and that the Purdue Affiliated Parties agree to have all disputes related to discovery sought

from them by STMicroelectronics, Inc. in connection with the above-styled case decided by the Judge

presiding over this case, and submit themselves to the jurisdiction of this Court for such purposes.

Based on the representations and stipulations made by counsel for Plaintiff and the Purdue Affiliated

Parties, the Court finds that the Purdue Affiliated Parties are not third-parties for the purposes of

discovery, and discovery served on these affiliated entities is not warranted before party discovery

opens.



SIGNED this 3rd day of February, 2022.

                                                      ___________________________________
                                                      ALAN D ALBRIGHT
                                                      UNITED STATES DISTRICT JUDGE
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                      Exhibit 16
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 5                          UNITED STATES DISTRICT COURT FOR THE
 6                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7
         TELEBUYER, LLC,
                                                             CASE NUMBER: 13-cv-1677
                                 Plaintiff,
                 v.                                          ORDER GRANTING DEFENDANT’S
                                                             MOTION FOR A PROTECTIVE
         AMAZON.COM, INC., AMAZON WEB                        ORDER
         SERVICES LLC, VADATA, INC.,

                                 Defendants.
 8
 9

10           Defendants Amazon.com, Inc., Amazon Web Services LLC, and Vadata, Inc.

11    (collectively, “Amazon”) move for a protective order under Fed. R. Civ. P. 26. The proposed

12    protective order, which would supplement the parties’ existing protective agreement, covers the

13    disclosure and handling of Amazon’s confidential source code, and prohibits counsel and experts

14    from participating in certain patent prosecution and acquisition activities. Having considered the

15    parties’ filings together with all other relevant materials, the Court grants Amazon’s motion, for

16    the reasons discussed below.


17                                            LEGAL STANDARD

18           Fed. R. Civ. P. 26 authorizes this Court to issue a protective order upon a showing of

19    good cause. A protective order may require that trade secrets “not be revealed or be revealed

20    only in a specified way.” Fed R. Civ. P. 26(c)(1)(G). “If a court finds particularized harm will

21    result from disclosure of information to the public, then it balances the public and private

22    interests to decide whether a protective order is necessary.” Rivera v. NIBCO, Inc., 384 F.3d 822,

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 1    827 (9th Cir. 2004). Courts generally require “a specific prejudice or harm.” Id. (quotation

 2    omitted).

 3           Because the legality of a “prosecution bar” turns on the interpretation of substantive

 4    patent law, Federal Circuit precedent governs the question. See In re Deutsche Bank Trust Co.

 5    Americas, 605 F.3d 1373, 1378 (Fed. Cir. 2010). The Federal Circuit in Deutsche Bank set forth

 6    a two-step balancing test for deciding whether to include a prosecution bar in a protective order.

 7    Id. First, the court determines on a case-by-case basis whether individuals who receive

 8    confidential information play a role in “competitive decision-making.” Id. Second, the court

 9    weighs the risk of inadvertent disclosure against the potential harm caused by placing restrictions

10    on access to counsel. Id. at 1380. In performing this balancing test, courts “should consider such

11    things as the extent and duration of counsel’s past history in representing the client before the

12    PTO, the degree of the client’s reliance and dependence on that past history, and the potential

13    difficulty the client might face if forced to rely on other counsel for the pending litigation or

14    engage other counsel to represent it before the PTO.” Id. at 1381. The party seeking to include

15    the prosecution bar has the burden of showing good cause. Id. at 1378.


16                                                ANALYSIS

17           The parties are quite familiar with the underlying facts and legal arguments. In the

18    interest of rendering a prompt decision, the Court will not review those matters here.

19       A. The Necessity of a Protective Order for Source Code

20           Amazon asks the Court to order restrictions on viewing, handling, printing, and

21    transporting all materials designated as “source code.” Telebuyer argues that the parties’ existing

22    Protective Agreement adequately protects Amazon’s source code, such that adding a specific

23    provision for source code would be unnecessary and burdensome. Telebuyer also argues that the

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 1    harm or prejudice that could be caused by disclosure of documents designated as “source code”

 2    is too speculative to outweigh the presumption in favor of public litigation. For the reasons given

 3    below, the Court concludes that a specific provision for source code is warranted.

 4             1.    The Parties’ Existing Agreement Does Not Provide Equivalent Protection

 5           The Protective Agreement already signed by the parties does not restrict the viewing,

 6    handling, transport, or replication of source code. It also contains no prosecution bar. As such, it

 7    cannot be said to provide a level of protection that would make additional source code

 8    protections superfluous.

 9           Telebuyer essentially asks the Court to give its counsel and experts the benefit of the

10    doubt that they will faithfully observe the confidentiality rules to which the parties have already

11    agreed. This assurance does not address Amazon’s concerns. The proposed source code

12    provision is designed not only to hold the designated parties to their word, but also to prevent

13    any others from gaining unauthorized access to the information. It restricts how, when, and

14    where the information is displayed, how much can be printed, and how it is transported. The

15    existing agreement does not do these things, and Telebuyer’s promise of fidelity to the

16    confidentiality rules, however sincere, is not a substitute.

17           Telebuyer’s argument fares no better with respect to the prosecution bar. Source code is

18    “highly confidential, technical information” that creates a “heightened risk of inadvertent

19    disclosure.” Kelora Sys., LLC v. Target Corp., 2011 WL 6000759, at *7 (N.D. Cal. Aug. 29,

20    2011) (quoting Applied Signal Technology, Inc. v. Emerging Markets Communications, 2011

21    WL 197811, at *2 (N.D. Cal. Jan. 20, 2011)). The Federal Circuit recognized in Deutsche Bank

22    that “even the most rigorous efforts of the recipient of such information to preserve

23    confidentiality in compliance with the provisions of such a protective order may not prevent



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 1    inadvertent compromise.” 605 F.3d at 1378. This is because “[i]t is very difficult for the human

 2    mind to compartmentalize and selectively suppress information once learned, no matter how

 3    well-intentioned the effort may be to do so.” Id. (citing FTC v. Exxon Corp., 636 F.2d 1336,

 4    1350 (D.C. Cir. 1980)). Telebuyer’s promise that designated individuals would not deliberately

 5    or affirmatively disclose Amazon’s confidential information is irrelevant. The prosecution bar

 6    functions as a guard against inadvertent disclosure and inadvertent misuse of confidential

 7    information.

 8             2.    Amazon Has Shown Specific Harm or Prejudice

 9           The “particularized harm” of disclosure is self-evident in this case. See Rivera, 384 F.3d

10    at 827. Moreover, the parties’ private interest in protecting themselves from the disclosure of

11    proprietary technical information outweighs the public interest in transparent litigation. Id.

12           Telebuyer does not dispute the value of Amazon’s source code and related documents.

13    Amazon explained that some documents (described as “pseudo-code”) do not contain source

14    code but could still be used to derive source code. Amazon also emphasized the investment in

15    time and manpower that goes into developing the source code and related materials, and pointed

16    out the obvious value and highly confidential nature of any documents that “define or otherwise

17    describe in detail” Amazon’s algorithms. This is enough of a “particularized harm” to justify a

18    protective order. Amazon need not provide a step-by-step description of precisely how someone

19    might go about taking advantage of Amazon’s trade secrets.

20       B. “Source Code” Definition

21           The Court adopts Amazon’s proposed definition of “source code,” which reads:

22    “computer code and associated comments and revision histories, formulas, engineering

23    specifications, or schematics that define or otherwise describe in detail the algorithms or



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 1    structure of software or hardware designs.” Declaration of Eugene Chiu (“Chiu Decl.”) [Dkt.

 2    #92] Ex. 2, at 6. 1

 3             Telebuyer maintains that the definition given by Amazon is too broad, encompassing

 4    routinely disclosed documents that have nothing to do with source code. It is true, for example,

 5    that Amazon could designate as source code “engineering specifications” that describe the

 6    “structure” of “hardware designs.” Id. On its face this would seem further removed from the

 7    actual code than the other elements included in Amazon’s proposed definition. However, at this

 8    point in the litigation, Amazon is best qualified to determine whether these elements actually do

 9    relate to source code. Telebuyer has given the Court no specific reason not to err on the side of

10    caution when dealing with highly technical materials.

11             Furthermore, Amazon’s proposed definition is a verbatim transcription of the model

12    Stipulated Protective Order for source code in the United States District Court for the Northern

13    District of California. See id. Ex. 11 at 2. That court has substantial expertise in this area of law,

14    and its model order reflects the cumulative wisdom of the court and the bar in that jurisdiction.

15        C. Print Restrictions

16             Amazon proposes a 25-page limit on printing of “any continuous block of Source Code,”

17    unless “reasonably required for printing a source code function or method in its entirety.” Id. Ex.

18    2 at 9. Amazon also proposes a 1500-page aggregate printing limit. Id. The proposal recognizes

19    that the receiving party “may request a meet and confer to discuss the printing of additional

20    code.” Id.


      1
       The Court notes a discrepancy between the definition quoted herein and the definition given by Amazon in its
      briefs to the Court. Amazon’s definition in the briefs omits the reference to “hardware.” See Def’s Mot. at 6; Def’s
      Reply Br. at 3. Adding the term “hardware” appears to expand the scope of the definition. However, contrary to
      Telebuyer’s Surreply, the proper remedy is not to strike those portions of Amazon’s briefs. See Pl’s Surreply at 2.
      The material in Amazon’s briefs is not redundant, immaterial, impertinent, or scandalous. See Fed. R. Civ. P. 12(f)
      (describing grounds for striking material from a pleading). It is just erroneous. The Court does not rely upon any
      arguments stemming from the misquotation. Those arguments have no force, but need not be struck.

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 1           These requirements appear reasonable. The receiving party still has the option to request

 2    more than 25 continuous pages when necessary to print a function or method in its entirety, and

 3    the parties are obligated to meet and confer in the event of a dispute concerning the print

 4    limitation. Telebuyer argues that it cannot assess the reasonableness of the print limitation until it

 5    learns the total volume of documents in the source code. If Telebuyer later discovers that the

 6    document volume makes the print limitations unworkable, it may move for an amendment of the

 7    protective order.

 8       D. Transport Restrictions

 9           Amazon proposes that any printed source code transported outside of counsel’s office

10    must be kept in the possession of individuals cleared for access to that code, and that the

11    printouts must be hand-carried by one of those individuals. Id. at 11. The proposal permits

12    outside counsel to print up to six copies (excluding deposition copies) of any page of the source

13    code, as long as the sole purpose is to create “hard duplicate copies for retention in the offices of

14    persons authorized to access and review the source code.” Id. at 9-10.

15       Like the print restrictions, the proposed transport restrictions appear reasonable. Telebuyer

16    will have electronic access to the entire source code, some hard copies (subject to the print

17    limitation), and the right to make six duplicates of any page. The sensitivity of the material

18    outweighs Telebuyer’s inconvenience.

19       E. The Prosecution Bar

20           Amazon proposes a prosecution bar under which “any person” who reviews certain

21    protected material is subject to a two-year bar on “Prosecution/Acquisition Activity.” Id. at 26.

22    “Prosecution/Acquisition Activity” includes “any activity related to the prosecution or

23    acquisition of patents or patent applications relating to: 1) e-commerce technology for searching,



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 1    displaying, advertising, offering, and/or selling products and/or services, or 2) traffic control

 2    technology for interfacing members for video communication over dial-up telephone.” Id. at 26-

 3    27. The proposed order specifies that “prosecution” includes “original prosecution, reissue,

 4    reexamination, or other proceedings affecting the scope or maintenance of patent claims.” Id. at

 5    27.

 6           The Court concludes that the proposed prosecution bar is necessary as well as reasonable

 7    in scope and duration. The risk of inadvertent disclosure outweighs any potential harm caused by

 8    restricting access to counsel. Deutsche Bank, 605 F.3d at 1378.

 9             1.    The Subject Matter of the Prosecution Bar Reasonably Reflects the Risk that
10                   Amazon’s Source Code May Be Inadvertently Used
11
12           Deutsche Bank instructs that the scope of prohibited activities and the subject matter of

13    the bar must “reasonably reflect the risk presented by the disclosure of proprietary competitive

14    information.” 605 F.3d at 1381. A prosecution bar serves little purpose if it bars only some of the

15    activity that could lead to inadvertent use. To “reasonably reflect” the risk of disclosure, a

16    prosecution bar should ordinarily cover the whole universe of confidential information disclosed,

17    and prohibit the full category of patent activities in which that information might be

18    inadvertently used.

19           Amazon directly copied the language in its proposed order from Telebuyer’s discovery

20    request and Telebuyer’s own patent. See Chiu Decl. Exs. 3, 6. Those are appropriate sources

21    from which to draw a description of the prosecution bar’s subject matter. The scope of a

22    prosecution bar should match “the areas of technology where there is risk that individuals may

23    inadvertently exploit their new knowledge in future patent prosecution.” Applied Signal, 2011

24    WL 197811, at *3. The subject matter of the prosecution bar should be “coextensive with the

25    subject matter of the patents-in-suit.” Id. To the extent Telebuyer objects to the breadth of the

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 1    description, Telebuyer has made its own bed. A broad discovery request invites a broad

 2    protective order. 2

 3             Telebuyer argues that applying the prosecution bar to patent actions on behalf of third-

 4    party clients imposes an excessive restriction on access to counsel and experts, when balanced

 5    against the harm to Amazon. See Pl’s Opp. at 11. But, as Amazon points out, the harm is

 6    identical whether confidential information is inadvertently used on behalf of Telebuyer or

 7    another client. See Kelora Systems, 2011 WL 6000759, at *7 (noting the plaintiff’s failure to

 8    “explicitly address why the court should distinguish activities done on behalf of [the plaintiff]

 9    from those same activities when done on behalf of other clients”).

10             The Federal Circuit instructed courts to consider several factors in balancing the

11    restrictions on counsel against the risk of disclosure – namely, “the extent and duration of

12    counsel’s past history in representing the client before the PTO, the degree of the client’s

13    reliance and dependence on that past history, and the potential difficulty the client might face if

14    forced to rely on other counsel for the pending litigation or engage other counsel to represent it

15    before the PTO.” 605 F.3d at 1381.

16             Amazon alleges that Telebuyer has no past history with its current outside counsel. In

17    support of this allegation, Amazon offered documents from Telebuyer’s past patent actions that

18    show other attorneys representing Telebuyer. See Chiu Decl. Ex. 16. Though this evidence is far

19    from conclusive as to the degree of Telebuyer’s past history and dependence on counsel,

20    Telebuyer presented no evidence to the contrary. Furthermore, the Court has no reason to doubt

21    that Telebuyer can secure different counsel for future patent actions, at least during the limited


      2
       The model order from the Northern District of California supports Amazon’s proposed language. In the section
      dealing with the subject matter of the prosecution bar, the model order instructs parties to “insert [the] subject matter
      of the invention and of highly confidential technical information to be produced.” Chiu Decl. Ex. 11 at 13. That is
      precisely what Amazon did.

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 1    period of the prosecution bar. Should Telebuyer wish to exempt a particular individual from the

 2    prosecution bar, such exemptions are to be considered on an individual basis. See Deutsche

 3    Bank, 605 F.3d at 1381. Telebuyer “must show…(1) that counsel's representation of the client in

 4    matters before the PTO does not and is not likely to implicate competitive decision-making

 5    related to the subject matter of the litigation so as to give rise to a risk of inadvertent use of

 6    confidential information learned in litigation, and (2) that the potential injury to the moving party

 7    from restrictions imposed on its choice of litigation and prosecution counsel outweighs the

 8    potential injury to the opposing party caused by such inadvertent use.” Id.; Kelora Systems, 2011

 9    WL 6000759, at *7.

10              2.    Reexamination Proceedings

11            Telebuyer challenges the inclusion of reexamination proceedings in Amazon’s proposed

12    definition of “prosecution,” on the ground that reexamination proceedings do not involve the

13    same risk of inadvertent use. Pl’s Opp. at 11-12.

14            Under the Patent Act, patent owners and third parties may initiate a

15    “reexamination” proceeding to confirm or challenge the validity of a previously issued

16    patent. See 35 U.S.C. §§ 302-307. The statute gives “any person at any time” the right to

17    request a reexamination, and describes the requirements for such a request. Id. § 302. The

18    Director of the USPTO then determines whether the reexamination request raises a

19    “substantial new question of patentability.” Id. § 303. If not, the reexamination request is

20    denied. Id. If a substantial new question of patentability does exist, the Director orders a

21    reexamination and gives both the owner and (if different) the requester opportunity to

22    weigh in. Id. § 304. At that point, the reexamination goes forward “according to the




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 1    procedures established for initial examination” – that is, the process undertaken by the

 2    USPTO to examine a new patent application. Id. § 305.

 3             Because reexamination proceedings involve only a comparison of existing patent

 4    claims against publicly available prior art, courts often observe that reexamination

 5    proceedings present fewer opportunities and incentives for a receiving party to use

 6    confidential information. 3 Until recently, courts generally did not include reexamination

 7    proceedings within the scope of a prosecution bar. See Ameranth, Inc. v. Pizza Hut, Inc.,

 8    2012 WL 528248, at *6 (S.D. Cal. Feb. 17, 2012) (“a review of cases directly discussing

 9    a prosecution bar applied to reexamination finds near unanimous support against

10    extending the bar to cover reexamination”).

11             However, a newer line of cases recognizes that even in a reexamination

12    proceeding, a patent owner can use confidential information to restructure or amend its

13    claims so as to improve its litigation position against alleged infringers. See Shared

14    Memory Graphics, LLC v. Apple, Inc., 2010 WL 4704420, at *3 (N.D. Cal. Nov. 12,

15    2010) (“Claims may still be restructured in reexamination, and, in a given case, a patent

16    owner may well choose to restructure claims in a manner informed by the alleged

17    infringer's confidential information gleaned from litigation.”); Grobler v. Apple Inc.,

18    2013 WL 3359274, at *2 (N.D. Cal. May 7, 2013) (prohibiting counsel from drafting or

19    amending claims in reexamination); EPL Holdings, LLC v. Apple Inc., 2013 WL

20    2181584, at *4 (N.D. Cal. May 20, 2013) (same); Micro Unity Sys. Eng., Inc. v. Dell,

      3
        There are several reasons given for the reduced risk. First, confidential information would not be presented to or
      considered by the PTO in assessing patentability. See Xerox Corp. v. Google, Inc., 270 F.R.D. 182, 184 (D. Del.
      2010) (describing confidential information as “basically irrelevant” to the determination of patentability). Second, a
      patent owner cannot enlarge the scope of its patent claims in a reexamination proceeding, see 35 U.S.C. § 305,
      314(a), which means that, in theory, “no product that did not infringe a patent before reexamination could ever
      infringe that patent following reexamination.” Xerox Corp., 270 F.R.D. at 184. Finally, common sense suggests that
      a patentee “will seek to preserve the broadest possible reading of its claims on reexamination regardless of any
      insight gleaned from…confidential information.” Id. at 185.

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 1    Inc., 2005 WL 2299455, at *2-3 (E.D. Tex. Aug. 1, 2005). These decisions recognize

 2    that drafting, amending, restructuring, or otherwise participating in reexamination

 3    proceedings may constitute “competitive decision-making,” as contemplated by the

 4    Federal Circuit in Deutsche Bank. See 605 F.3d at 1378-79. 4

 5               Thus, where the need to protect confidential information outweighs the burden on the

 6    receiving party, see id. at 1380, a court may prohibit counsel from participating or consulting on

 7    reexamination proceedings, or may limit that participation. See Grobler, 2013 WL 3359274, at

 8    *2; EPL Holdings, 2013 WL 2181584, at *4; Shared Memory Graphics, 2010 WL 4704420, at

 9    *4. In this case the Court is persuaded that the risk to Amazon’s confidential information

10    outweighs the burdens imposed on Telebuyer. Though courts in other cases have permitted

11    counsel to participate in reexamination proceedings, while barring counsel from engaging in

12    drafting or amendment of claims, this Court does not view such distinctions as workable under

13    the present circumstances. The Court notes the breadth and volume of the material requested by

14    Telebuyer, and the possibility of counsel using such information in the PTO proceeding without

15    technically “drafting” or “amending” a claim. Therefore, the Court will prohibit designated

16    individuals from participating in or consulting on any reexamination proceedings concerning the

17    subject matter of this prosecution bar. This order also is consistent with the Northern District’s

18    model order, which includes reexamination within the scope of the prosecution bar. See Chiu

19    Decl., Ex. 11 at 13.

20               There is one particular circumstance in which the burden on the receiving party may

21    outweigh the risks. Should the producing party initiate the reexamination proceeding, the PTO

22    proceeding might effectively be “part and parcel of the litigation at issue.” Shared Memory

23    Graphics, 2010 WL 4704420, at *4. In such situations, a complete bar on participation in
      4
          A patent owner might even put its own patent into reexamination for the purpose of restructuring its claim.

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 1    reexamination proceedings would force the receiving party to retain separate counsel for what is

 2    essentially the same dispute, another “front” in the litigation. Therefore, upon a grant of leave

 3    from the Court, counsel may be permitted to participate in reexamination proceedings brought by

 4    the producing party. The scope of permitted activities will determined at that time.

 5             3.    Patent Acquisition Activities
 6
 7           Patent acquisition creates the same risks of inadvertent use as patent prosecution, in that

 8    “litigation counsel may consciously or subconsciously use their knowledge of…confidential

 9    information to advise a client on which patents to acquire.” EPL Holdings, 2013 WL 2181584, at

10    *4. However, not all activities associated with patent acquisition involve the same obvious level

11    of risk. The court in EPL Holdings found “less danger in using or revealing protected

12    information when counsel gives advice on legal matters, such as validity, in the patent

13    acquisition process.” Id. The Court recognizes that the risk of inadvertent use decreases where

14    counsel is offering a legal assessment of patent validity, infringement, claim scope, or the

15    language of an acquisition contract. Nevertheless, the Court sees little value in attempting to

16    draw, in advance, a fuzzy and unmanageable distinction between purely legal matters and

17    matters that implicate competitive decision-making.

18             4.    A Two-Year Duration is Reasonable

19           Amazon proposes a two-year prosecution bar. Telebuyer objects that two years is too

20    long, but gives no concrete reason why, apart from citing to certain cases in which the court

21    approved prosecution bars of less than two years. A two-year bar is suggested in the Northern

22    District’s model order, and has been approved in that jurisdiction. See Chiu Decl., Ex. 11 at 13;

23    Kelora Systems, 2011 WL 6000759 at *7; Applied Signal, 2011 WL 197811, at *2. This Court




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 1    finds that the duration “reasonably reflect[s] the risk presented by the disclosure of proprietary

 2    competitive information.” Deutsche Bank, 605 F.3d at 1381.

 3

 4                                             CONCLUSION

 5           For the reasons given above, the Court hereby ORDERS:

 6       1) Amazon’s motion is GRANTED.

 7       2) The parties shall comply with the provisions of Section I.C and Section II of Amazon’s

 8           proposed protective order.

 9       3) The parties shall submit a revised proposed protective order to the Court on or before

10           July 21st, 2014.

11    SO ORDERED.

12    July 7, 2014



13
14                                                  _______________________________________
15                                                  Barbara J. Rothstein
16                                                  United States District Judge




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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


  KONINKLIJKE KPN N.V.,                                 Case No. 2:22-cv-282-JRG

                  Plaintiff,
                                                        JURY TRIAL DEMANDED
  vs.

  TELEFONAKTIEBOLAGET LM
  ERICSSON and ERICSSON INC.,

                  Defendants.


                                      PROTECTIVE ORDER

        WHEREAS, Plaintiff Koninklijke KPN N.V. (“Plaintiff” or “KPN”) and Defendants

 Telefonaktiebolaget LM Ericsson and Ericsson, Inc. (collectively, “Defendants” or “Ericsson”),

 hereafter referred to as “the Parties,” believe that certain information that is or will be encompassed

 by discovery demands by the Parties involves the production or disclosure of trade secrets,

 confidential business information, or other proprietary information;

        WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance with

 Federal Rule of Civil Procedure 26(c):

        THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

        1.      Each Party may designate as confidential for protection under this Order, in whole

 or in part, any document, information or material that constitutes or includes, in whole or in part,

 confidential or proprietary information or trade secrets of the Party or a Third Party to whom the

 Party reasonably believes it owes an obligation of confidentiality with respect to such document,

 information or material (“Protected Material”). Protected Material shall be designated by the Party

 producing it by affixing a legend or stamp on such document, information or material as follows:




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 “CONFIDENTIAL,” “RESTRICTED – ATTORNEYS’ EYES ONLY” or “RESTRICTED

 CONFIDENTIAL          SOURCE        CODE”      (individually          or     collectively   “DESIGNATED

 MATERIAL”). The words “CONFIDENTIAL,” “RESTRICTED – ATTORNEYS’ EYES

 ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE” shall be placed clearly on each

 page of the Protected Material for which such protection is sought (except deposition and hearing

 transcripts).   For   deposition   and   hearing       transcripts,        the   word   “CONFIDENTIAL,”

 “RESTRICTED – ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

 SOURCE CODE” (depending on which designation is appropriate) shall be placed on the cover

 page of the transcript (if not already present on the cover page of the transcript when received from

 the court reporter) by each attorney receiving a copy of the transcript after that attorney receives

 notice of the designation of some or all of that transcript as “CONFIDENTIAL,” “RESTRICTED

 – ATTORNEYS’ EYES ONLY, or “RESTRICTED CONFIDENTIAL SOURCE CODE.” For

 documents produced in native format, the appropriate designation shall be affixed on the face of

 the media containing such native format documentation. In addition to the foregoing, to the extent

 that documents are produced in native electronic form, the addition of a confidentiality designation

 in the file or folder name shall be sufficient to provide notice of said confidentiality and additional

 written notice is unnecessary in this situation. Other tangible things not produced in documentary

 form may be designated by affixing the appropriate designation on a cover page for such material

 and in a prominent place on the exterior of the container(s) in which the information or things are

 stored. For information not reduced to any documentary, tangible, or physical form, or which

 cannot be conveniently designated as set forth above, the producing Party must inform the

 receiving Party of the designation of such information in writing. Protected Material of persons or

 entities who are not Parties to this Action (“Third Parties”) may be designated as




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 “CONFIDENTIAL,” “RESTRICTED – ATTORNEYS’ EYES ONLY” or “RESTRICTED

 CONFIDENTIAL SOURCE CODE” in the same manner in which such Protected Material is

 designated by a Party.

        2.      Any document produced under Patent Rules 2-2, 3-2, and/or 3-4 before issuance of

 this Order with the designation “Confidential” or “Highly Confidential – Attorneys’ Eyes Only”

 shall receive the same treatment as if designated “CONFIDENTIAL” or “RESTRICTED -

 ATTORNEYS’ EYES ONLY” under this Order, respectively, unless and until such document is

 redesignated to have a different classification under this Order.

        3.      With      respect   to   documents,      information    or    material    designated

 “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’ EYES ONLY,” “RESTRICTED

 CONFIDENTIAL SOURCE CODE,” subject to the provisions herein and unless otherwise stated,

 this Order governs, without limitation: (a) all documents, electronically stored information, and/or

 things as defined by the Federal Rules of Civil Procedure; (b) all pretrial, hearing or deposition

 testimony, or documents marked as exhibits or for identification in depositions and hearings; (c)

 pretrial pleadings, exhibits to pleadings and other court filings; (d) affidavits; (e) discovery

 responses, including answers to interrogatories and to requests for admission; and (f) stipulations.

 All copies, reproductions, extracts, digests, and complete or partial summaries prepared from any

 DESIGNATED MATERIALS shall also be considered DESIGNATED MATERIAL and treated

 as such under this Order.

        4.      A designation of Protected Material (i.e., “CONFIDENTIAL,” “RESTRICTED -

 ATTORNEYS’ EYES ONLY,” “RESTRICTED CONFIDENTIAL SOURCE CODE,”) may be

 made at any time. Inadvertent or unintentional production of documents, information or material

 that has not been designated as DESIGNATED MATERIAL shall not be deemed a waiver in




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 whole or in part of a claim for confidential treatment. Any party that inadvertently or

 unintentionally produces Protected Material without designating it as DESIGNATED MATERIAL

 may request destruction of that Protected Material by notifying the recipient(s), as soon as reasonably

 possible after the producing Party becomes aware of the inadvertent or unintentional disclosure,

 and providing replacement Protected Material that is properly designated. The recipient(s) shall

 then destroy all copies of the inadvertently or unintentionally produced Protected Materials and any

 documents, information or material derived from or based thereon.

        5.      “CONFIDENTIAL” documents, information and material may be disclosed only

 to the following persons, except upon receipt of the prior written consent of the designating party,

 upon order of the Court, or as set forth in paragraph 14 herein:

        a.      Outside counsel of record in this Action for the Parties;

        b.      Employees of such outside counsel assigned to and reasonably necessary to
                assist such counsel in the litigation of this Action;

        c.      In-house counsel for the Parties who either have responsibility for making
                decisions dealing directly with the litigation of this Action, or who are assisting
                outside counsel in the litigation of this Action;

        d.      Up to and including three (3) designated representatives of each of the Parties to the
                extent reasonably necessary for the litigation of this Action, except that either party
                may in good faith request the other party’s consent to designate one or more
                additional representatives, the other party shall not unreasonably withhold such
                consent, and the requesting party may seek leave of Court to designate such
                additional representative(s) if the requesting party believes the other party has
                unreasonably withheld such consent;

        e.      Outside consultants or experts (i.e., not existing employees or affiliates of a Party
                or an affiliate of a Party) retained for the purpose of litigation and employees of
                these consultants or experts, provided that: (1) such consultants or experts are not
                employed by the Parties hereto for purposes other than as a litigation consultant or
                expert; and (2) before access is given, the consultant or expert has completed the
                Undertaking attached as Exhibit A hereto and the same is served upon the
                producing Party or Third Party with a current curriculum vitae of the consultant or
                expert at least ten (10) days before access to the Protected Material is to be given
                to that consultant or expert to enable the producing Party or Third Party to object




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                to and notify the receiving Party in writing that it objects to disclosure of Protected
                Material to the consultant or expert. The affected Parties and/or Third Parties agree
                to promptly confer and use good faith to resolve any such objection. If the Parties
                and/or Third Parties are unable to resolve any objection, the objecting Party or
                Third Party may file a motion with the Court within ten (10) days of the notice, or
                within such other time as the Parties and/or Third Parties may agree, seeking a
                protective order with respect to the proposed disclosure. The objecting Party or
                Third Party shall have the burden of proving the need for a protective order. In the
                event of such a dispute, no disclosure shall occur until all such objections are
                resolved by agreement or Court order;

        f.      Independent litigation support services, including persons working for or as court
                reporters, graphics or design services, jury or trial consulting services including
                mock jurors, mediators and supporting personnel, and photocopy, document
                imaging, database, and translation services retained by counsel and reasonably
                necessary to assist counsel with the litigation of this Action;

        g.      An author, signatory, or prior recipient of the DESIGNATED MATERIAL, where
                such person shall be given access only to the specific document or information
                therein; and

        h.      The Court and its personnel.

        6.      A Party shall designate documents, information or material as “CONFIDENTIAL”

 only upon a good faith belief that the documents, information or material contains confidential or

 proprietary information or trade secrets of the Party or a Third Party to whom the Party reasonably

 believes it owes an obligation of confidentiality with respect to such documents, information or

 material.

        7.      Documents, information, or material produced in this Action, including but not

 limited to Protected Material designated as DESIGNATED MATERIAL shall be used by the

 Parties only in the litigation, including any attempt to settle it, and shall not be used for any other

 purpose. Any person or entity who obtains access to DESIGNATED MATERIAL or the contents

 thereof pursuant to this Order shall not make any copies, duplicates, extracts, summaries or

 descriptions of such DESIGNATED MATERIAL or any portion thereof except as may be

 reasonably necessary in the litigation of this Action. Any such copies, duplicates, extracts,




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 summaries or descriptions shall be classified DESIGNATED MATERIALS and subject to all of

 the terms and conditions of this Order.

        8.      To the extent a producing Party believes in good faith that certain Protected

 Material qualifying to be designated CONFIDENTIAL is so sensitive that its dissemination

 deserves even further limitation, the producing Party may designate such Protected Material

 “RESTRICTED - ATTORNEYS’ EYES ONLY,” or to the extent such Protected Material includes

 computer source code and/or live data (that is, data as it exists residing in a database or databases)

 (“Source Code Material”), the producing Party may designate such Protected Material as

 “RESTRICTED CONFIDENTIAL SOURCE CODE”.

        9.      For Protected Material designated RESTRICTED - ATTORNEYS’ EYES ONLY,

 access to, and disclosure of, such Protected Material shall be limited to individuals listed in

 paragraphs 5(a–b) and (e–g).

        10.     For Protected Material designated RESTRICTED CONFIDENTIAL SOURCE

 CODE, the following additional restrictions apply:

        a.      Access to a Party’s Source Code Material shall be provided only on “stand-alone”
                computer(s)—that is, the computer(s) may not be linked to any network, including
                a local area network (“LAN”), an intranet, or the Internet (“Source Code
                Computer(s)”). Neither the receiving Party’s outside counsel nor its outside
                consultants or experts may connect any devices to the Source Code Computer(s),
                nor may they copy, extract, or otherwise take any information from the Source
                Code Computer(s) in electronic form. In addition, neither the receiving Party’s
                outside counsel nor its outside consultants or experts may modify the files on the
                Source Code Computer(s) nor may they load anything onto the Source Code
                Computer(s) absent the consent of the producing Party. Unless otherwise agreed,
                the Source Code Computer(s) shall be located at the offices of the producing
                Party’s outside counsel;

        b.      Prior to the first inspection of Source Code Material, the receiving Party shall
                provide fourteen (14) days’ notice of its intent to inspect Source Code. The
                receiving Party shall provide three (3) business days’ notice prior to any additional
                inspection. If a review of the source code is taking place and the receiving Party
                requests the review continue to take place on the subsequent business day, the




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              producing Party shall make the Source Code Material available unless it is not
              possible to do so (e.g., a person to monitor the review is unavailable). When
              requesting inspection of a Party’s Source Code Material on the Source Code
              Computer(s), the receiving party shall identify all persons who will inspect the
              producing Party’s Source Code Material on behalf of a receiving Party, including
              members of a receiving Party’s outside law firm. The receiving Party shall make
              reasonable efforts to restrict its requests for such access to the Source Code
              Computer(s) to normal business hours, which for purposes of this paragraph shall
              be business days from 8:30 a.m. through 5:30 p.m. local time. However, upon
              reasonable notice from the receiving Party, the producing Party shall make
              reasonable efforts to accommodate the receiving Party’s request for access to the
              Source Code Computer(s) outside of normal business hours. The Parties agree to
              cooperate in good faith such that maintaining the producing Party’s Source Code
              Material at the offices of its outside counsel (or at some other mutually agreeable
              location) shall not unreasonably hinder the receiving Party’s ability to efficiently
              and effectively conduct the prosecution or defense of this Action;

       c.     The producing Party shall provide the receiving Party with information explaining
              how to start, log on to, and operate the Source Code Computer(s) in order to access
              the produced Source Code Material on the Source Code Computer(s);

       d.     No input/output devices or electronic devices, including cell phones, PDAs,
              cameras, camera-enabled devices, recordable or storage media (e.g., USB thumb
              drive, voice recorders etc.), or computers (other than a notetaking laptop supplied
              by the producing Party that is not connected to any network, including a LAN, an
              intranet, or the Internet) will be permitted inside the source code review room. A
              telephone and internet access will be provided in a room convenient to and near
              the source code review room—i.e., a room in close proximity to the source code
              review room. A reviewer shall be permitted to access the internet and use a
              personal cell phone in that room. If any individual inspecting Source Code seeks
              to take notes, all such notes will be taken by hand or on a laptop supplied by the
              producing Party not connected to any network, including a LAN, an intranet, or
              the Internet (notetaking laptop). Under no circumstances shall a reviewer
              transcribe any portion of the source code into his or her notes with the exception
              of file names or routine names as necessary; the reviewer also shall be permitted
              to take notes regarding the code provided that it is not copied verbatim. At the
              conclusion of each day, the producing Party shall print in the presence of the
              reviewer any notes. The producing Party otherwise shall not have any access to the
              notes and will not under any circumstances review or be permitted to review such
              notes. Such notes also shall remain on the note taking computer unless and until
              they are deleted by a reviewer;

       e.     The producing Party will produce Source Code Material in computer searchable
              format. The receiving Party, at its own expense, may request that the producing
              Party install licensed software on Source Code Computer(s) to assist with review
              of the producing Party’s Source Code. The receiving Party must provide the




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                   Producing Party with the requested licensed software at least fourteen (14) days in
                   advance of the date upon which the receiving Party wishes to have the additional
                   software tools available for use. The Parties shall promptly meet and confer as to
                   any objection the producing Party may have to the installation of such software.
                   Otherwise, the producing Party will install and confirm installation of timely
                   requests of said software on the Source Code Computer(s) prior to the date the
                   receiving Party seeks access.

          f.       The source code is to be provided in native format with, if possible, the original
                   path names (e.g., the directory tree pertinent to the produced files). Native format
                   means electronic files containing native text not produced through any process
                   involving optical character recognition.

          g.       Access to Protected Material designated RESTRICTED CONFIDENTIAL
                   SOURCE CODE shall be limited to outside counsel and up to three (3) outside
                   consultants or experts 1 (i.e., not existing employees or affiliates of a Party)
                   retained for the purpose of this litigation and approved to access such Protected
                   Materials pursuant to paragraph 5(e) above.

          h.       A receiving Party may include excerpts of Source Code Material in a pleading,
                   exhibit, expert report, discovery document, deposition transcript, other Court
                   document (“Source Code Documents”), provided that the Source Code Documents
                   are appropriately marked under this Order, restricted to those who are entitled to
                   have access to them as specified herein, and, if filed with the Court, filed under
                   seal in accordance with the Court’s rules, procedures and orders;

          i.       To the extent portions of Source Code Material are quoted in a Source Code
                   Document, either (1) the entire Source Code Document will be stamped and treated
                   as RESTRICTED CONFIDENTIAL SOURCE CODE or (2) those pages containing
                   quoted Source Code Material will be separately stamped and treated as
                   RESTRICTED CONFIDENTIAL SOURCE CODE;

          j.       No person shall copy, email, transmit, upload, download, print, photograph, or
                   otherwise duplicate any portion of the designated Source Code Material, except
                   that the receiving Party may request printouts of Source Code Material as permitted
                   by paragraph 10(k). Unless otherwise agreed to by the Parties, no electronic copies
                   of Source Code Material shall be made without prior written consent of the
                   producing Party, except as necessary to create documents which, pursuant to the
                   Court’s rules, procedures and orders, must be filed or served electronically;

          k.       The receiving Party shall be permitted to request a reasonable number of printouts
                   and photocopies of Source Code Material, all of which shall be designated and

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   For the purposes of this paragraph, an outside consultant or expert is defined to include the outside consultant’s or
 expert’s direct reports and other support personnel, such that the disclosure to a consultant or expert who employs
 others within his or her firm to help in his or analysis shall count as a disclosure to a single consultant or expert.




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                clearly labeled “RESTRICTED CONFIDENTIAL SOURCE CODE,” and the
                receiving Party shall maintain a log of all such files that are printed or photocopied.
                Up to 1500 pages, and 50 consecutive pages, of printed and/or photocopied source
                code shall be presumed reasonable. The receiving Party shall not print Source Code
                Material in order to review blocks of Source Code Material elsewhere in the first
                instance, as the parties agree that the purpose of the protections herein would be
                frustrated by printing portions of source code for review and analysis elsewhere;

        l.      Should such printouts or photocopies be transferred back to electronic media, such
                media shall be labeled “RESTRICTED CONFIDENTIAL SOURCE CODE” and
                shall continue to be treated as such;

        m.      If the receiving Party’s outside counsel, consultants, or experts obtain printouts or
                photocopies of Source Code Material, the receiving Party shall ensure that such
                outside counsel, consultants, or experts keep the printouts or photocopies in a
                secured locked area in the offices of such outside counsel, consultants, or experts.
                The receiving Party may also temporarily keep the printouts or photocopies at: (i) the
                Court for any proceedings(s) relating to the Source Code Material, for the dates
                associated with the proceeding(s); (ii) the sites where any deposition(s) relating to
                the Source Code Material are taken, for the dates associated with the deposition(s);
                and (iii) any intermediate location reasonably necessary to transport the printouts or
                photocopies (e.g., a hotel prior to a Court proceeding or deposition); and

        n.      A producing Party’s Source Code Material may be transported by the receiving
                Party only at the direction of a person authorized under paragraph 10(g) above to
                another person authorized under paragraph 10(g) above, on paper via hand carry,
                Federal Express, or other similarly reliable courier. Source Code Material may not
                be transported or transmitted electronically over a network of any kind, including
                a LAN, an intranet, or the Internet. Source Code Material otherwise may be
                transported electronically only for the purpose of Court proceeding(s) or
                deposition(s) as set forth in paragraph 10(l) above and is at all times subject to the
                transport restrictions set forth herein.

        11.     Any attorney representing a Party, whether in-house or outside counsel, and any

 person who is both associated with a Party and receives or otherwise learns Protected Material

 revealing the technical operation of a product or service made, sold, offered for sale, or used by

 the other the Party that is properly designated RESTRICTED – ATTORNEYS’ EYES ONLY

 and/or RESTRICTED CONFIDENTIAL SOURCE CODE (collectively “HIGHLY SENSITIVE

 MATERIAL”) shall not prepare, prosecute, supervise, or assist in the preparation or prosecution

 of any patent application pertaining to the field of the invention of the patent(s) in suit on behalf




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 of the receiving Party or its acquirer, successor, predecessor, or other affiliate during the pendency

 of this Action and for one year after its conclusion, including any appeals. This provision does not

 prohibit either Party’s counsel of record or experts in this litigation from participating in or

 representing it in reexamination proceedings, Post-Grant Review proceedings, inter partes review

 proceedings, or Covered Business Method Review proceedings involving any patent, including

 the patents-in-suit, provided they (1) do not rely upon or use, directly or indirectly, the other Party’s

 HIGHLY SENSITIVE MATERIAL in those proceedings and (2) do not advise on, consult on,

 prepare, draft, or edit any amendment to specifications or claims in those proceedings. Further, the

 Parties’ counsel of record or experts in this litigation may not reveal HIGHLY SENSITIVE

 MATERIAL of the other Party to any reexamination, inter partes review, or covered business

 method review counsel or agent.

         12.     Nothing in this Order shall require production of documents, information, or other

 material that a Party contends is protected from disclosure by the attorney-client privilege, the

 work product doctrine, or other privilege, doctrine, or immunity. If documents, information, or

 other material subject to a claim of attorney-client privilege, work product doctrine, or other

 privilege, doctrine, or immunity is inadvertently or unintentionally produced, such production shall

 in no way prejudice or otherwise constitute a waiver of, or estoppel as to, any such privilege,

 doctrine, or immunity. Any Party that inadvertently or unintentionally produces any documents,

 information, or other material it reasonably believes is protected under the attorney-client

 privilege, work product doctrine, or other privilege, doctrine, or immunity may obtain the return

 of such documents, information or other material by promptly notifying the recipient(s) and

 providing a privilege log for the inadvertently or unintentionally produced documents, information

 or other material. The recipient(s) shall (1) gather, destroy, and certify destruction of all copies of




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 such documents, information, or other material to the producing Party; or (2) gather and return all

 copies of such documents, information or other material to the producing Party, except for any

 pages containing privileged or otherwise protected markings by the recipient(s), which pages shall

 instead be destroyed and certified as such to the producing Party. The receiving Party may move

 the Court for an Order compelling production of such information, but the motion shall not assert

 as a ground for production the fact or circumstances of the inadvertent or unintentional production.

 If a claim is disputed, the receiving Party shall not use or disclose a document or information for

 which a claim of privilege or immunity is made pursuant to this Paragraph for any purpose except

 to challenge the claim of privilege or immunity to the Court until the matter is resolved by

 agreement of the parties or by a decision of this Court.

        13.     There shall be no disclosure of any DESIGNATED MATERIAL by any person

 authorized to have access thereto to any person who is not authorized for such access under this

 Order. The Parties are hereby ORDERED to safeguard all such documents, information, and

 material to protect against disclosure to any unauthorized persons or entities.

        14.     Nothing contained herein shall be construed to prejudice any Party’s right to use

 any DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided that

 the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to have access

 to the DESIGNATED MATERIAL by virtue of his or her employment with the designating party,

 (ii) identified in the DESIGNATED MATERIAL as an author, addressee, or copy recipient of such

 information, (iii) although not identified as an author, addressee, or copy recipient of such

 DESIGNATED MATERIAL, has, in the ordinary course of business, seen such DESIGNATED

 MATERIAL, (iv) a current or former officer, director or employee of the producing Party or a

 current or former officer, director or employee of a company affiliated with the producing Party;




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 (v) counsel for a Party, including outside counsel and in-house counsel (subject to paragraphs 9 of

 this Order); (vi) an independent contractor, consultant, and/or expert retained for the purpose of

 this litigation; (vii) court reporters and videographers; (viii) the Court; or (ix) other persons entitled

 hereunder to access to DESIGNATED MATERIAL. DESIGNATED MATERIAL shall not be

 disclosed to any other persons unless prior authorization is obtained from counsel representing the

 producing Party or from the Court.

         15.     Parties may, at the deposition or hearing or within thirty (30) days after receipt of

 a deposition or hearing transcript, designate the deposition or hearing transcript or any portion

 thereof as “CONFIDENTIAL,” “RESTRICTED – ATTORNEYS’ EYES ONLY,” or

 “RESTRICTED CONFIDENTIAL SOURCE CODE” pursuant to this Order. Access to the

 deposition or hearing transcript so designated shall be limited in accordance with the terms of this

 Order. Until expiration of the 30-day period, the entire deposition or hearing transcript shall be

 treated as confidential.

         16.     Any DESIGNATED MATERIAL that is filed with the Court shall be filed under

 seal and shall remain under seal until further order of the Court. The filing party shall be

 responsible for informing the Clerk of the Court that the filing should be sealed and for placing

 the legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the caption

 and conspicuously on each page of the filing. Exhibits to a filing shall conform to the labeling

 requirements set forth in this Order. If a pretrial pleading filed with the Court, or an exhibit thereto,

 discloses or relies on confidential documents, information or material, such confidential portions

 shall be redacted to the extent necessary and the pleading or exhibit filed publicly with the Court.

         17.     The Order applies to pretrial discovery. Nothing in this Order shall be deemed to

 prevent the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of




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 this Action, or from using any information contained in DESIGNATED MATERIAL at the trial

 of this Action, subject to any pretrial order issued by this Court.

        18.     A Party may request in writing to the other Party that the designation given to any

 DESIGNATED MATERIAL be modified or withdrawn. If the designating Party does not agree to

 redesignation within ten (10) days of receipt of the written request, the requesting Party may apply

 to the Court for relief. Upon any such application to the Court, the burden shall be on the

 designating Party to show why its classification is proper. Such application shall be treated

 procedurally as a motion to compel pursuant to Federal Rules of Civil Procedure 37, subject to the

 Rule’s provisions relating to sanctions. In making such application, the requirements of the Federal

 Rules of Civil Procedure and the Local Rules of the Court shall be met. Pending the Court’s

 determination of the application, the designation of the designating Party shall be maintained.

        19.     Each outside consultant or expert to whom DESIGNATED MATERIAL is

 disclosed in accordance with the terms of this Order shall be advised by counsel of the terms of

 this Order, shall be informed that he or she is subject to the terms and conditions of this Order, and

 shall sign an acknowledgment that he or she has received a copy of, has read, and has agreed to be

 bound by this Order. A copy of the acknowledgment form is attached as Appendix A.

        20.     To the extent that any discovery is taken of persons who are not Parties to this

 Action (“Third Parties”) and in the event that such Third Parties contend the discovery sought

 involves trade secrets, confidential business information, or other proprietary information, then

 such Third Parties may agree to be bound by this Order.

        21.     To the extent that discovery or testimony is taken of Third Parties, the Third Parties

 may designate as “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’ EYES ONLY,”

 “RESTRICTED CONFIDENTIAL SOURCE CODE” any documents, information, or other




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 material, in whole or in part, produced or given by such Third Parties. The Third Parties shall have

 ten (10) days after production of such documents, information, or other materials to make such a

 designation. Until that time period lapses or until such a designation has been made, whichever

 occurs sooner, all documents, information or other material so produced or given shall be treated

 as “CONFIDENTIAL” in accordance with this Order.

        22.     The provisions of this Order shall continue to be binding after final termination of

 this case until a Producing Party agrees otherwise in writing or a court order otherwise directs.

 Within sixty (60) days of final termination of this Action, including any appeals, all

 DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes, summaries,

 descriptions, and excerpts or extracts thereof (excluding excerpts or extracts incorporated into any

 privileged memoranda of the Parties and materials which have been admitted into evidence in this

 Action), shall either be returned to the producing Party or be destroyed. The receiving Party shall

 verify the return or destruction by affidavit furnished to the producing Party, upon the producing

 Party’s request. Notwithstanding the foregoing, outside counsel of record shall be entitled to

 maintain copies of all pleadings, expert reports, motions and trial briefs (including all supporting

 and opposing papers and exhibits thereto), written discovery requests and responses (and exhibits

 thereto), deposition transcripts (and exhibits thereto), trial transcripts and hearing transcripts, and

 exhibits offered or introduced into evidence at any hearing or trial, emails and their attachments,

 and their attorney work product which refers or is related to any Protected Material for archival

 purposes only. Any such archived copies that contain or constitute Protected Material remain

 subject to this Order and shall be maintained in confidence by outside counsel for the Party

 retaining the materials. This provision does not apply to the Court, including court personnel and

 the Court’s reporter. Any destruction obligations under this Protective Order shall not apply to




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 electronically-stored information in archival form stored on backup tapes or computer servers that

 are created only for disaster recovery purposes, provided that such electronic archives are not used

 as reference materials for a receiving Party’s business operations.

        23.     The failure to designate documents, information, or material in accordance with

 this Order, and the failure to object to a designation at a given time shall not preclude the filing of

 a motion at a later date seeking to impose such designation or challenging the propriety thereof.

 The entry of this Order and/or the production of documents, information, and material hereunder

 shall in no way constitute a waiver of any objection to the furnishing thereof, all such objections

 being hereby preserved. Newly designated DESIGNATED MATERIAL must be treated by the

 receiving party according to the new designation from the time the receiving party is notified in

 writing of the change in the designation. If material is designated as containing DESIGNATED

 MATERIAL subsequent to production or disclosure, the producing party shall reproduce the

 material with the correct designation. Upon receiving the material with the correct designation, the

 receiving party shall return or securely destroy all copies that were not properly designated. Any

 party desiring to change the designation of any previously produced material may do so at any

 time under the provisions of this section.

        24.     Any Party knowing or believing that any other party is in violation of or intends to

 violate this Order and has raised the question of violation or potential violation with the opposing

 party and has been unable to resolve the matter by agreement may move the Court for such relief

 as may be appropriate in the circumstances. Pending disposition of the motion by the Court, the

 Party alleged to be in violation of or intending to violate this Order shall discontinue the

 performance of and/or shall not undertake the further performance of any action alleged to

 constitute a violation of this Order.




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        25.     Production of DESIGNATED MATERIAL by each of the Parties shall not be

 deemed a publication of the documents, information and material (or the contents thereof)

 produced so as to void or make voidable whatever claim the Parties may have as to the proprietary

 and confidential nature of the documents, information, or other material or its contents.

        26.     Nothing in this Order shall be construed to constitute an abrogation, waiver, or
   .
 limitation of any kind on the rights of each of the Parties to assert any applicable discovery or trial

 privilege.

        27.     Each of the Parties shall also retain the right to file a motion with the Court (a) to

 modify this Order to allow disclosure of DESIGNATED MATERIAL to additional persons or

 entities if reasonably necessary to prepare and present this Action and (b) to apply for additional

 protection of DESIGNATED MATERIAL.

     So ORDERED and SIGNED this 10th day of February, 2023.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE




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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


  KONINKLIJKE KPN N.V.,                               Case No. 2:22-cv-282-JRG

                Plaintiff,
                                                      JURY TRIAL DEMANDED
  vs.

  TELEFONAKTIEBOLAGET                        LM
  ERICSSON and ERICSSON INC.,

                Defendants.


                              APPENDIX A
           UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                          PROTECTIVE ORDER

        I, ______________________________________, declare that:

 1.     My address is _________________________________________________________.

        My current employer is _________________________________________________.

        My current occupation is ________________________________________________.

 2.     I have received a copy of the Protective Order in this action. I have carefully read and

        understand the provisions of the Protective Order.

 3.     I will comply with all of the provisions of the Protective Order. I will hold in confidence,

        will not disclose to anyone not qualified under the Protective Order, and will use only for

        purposes   of this    action   any information       designated   as   “CONFIDENTIAL,”

        “RESTRICTED - ATTORNEYS’ EYES ONLY,” “RESTRICTED CONFIDENTIAL

        SOURCE CODE” that is disclosed to me.

 4.     Promptly upon termination of these actions, I will return all documents and things

        designated as “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’ EYES ONLY,”

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       “RESTRICTED CONFIDENTIAL SOURCE CODE” that came into my possession, and

       all documents and things that I have prepared relating thereto, to the outside counsel for

       the party by whom I am employed.

 5.    I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

       Protective Order in this action.

       I declare under penalty of perjury that the foregoing is true and correct.

 Signature ________________________________________

 Date ____________________________________________




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                      Exhibit 18
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

FRAUNHOFER-GESELLSCHAFT ZUR                   )
FORDERUNG DER ANGEWANDTEN                     )
FORSCHUNG E.V.,                               )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )       Civil Action No. 17-184-JFB-SRF
                                              )
SIRUS XM RADIO INC.,                          )
                                              )
               Defendants.                    )


                                   MEMORANDUM ORDER

       At Wilmington this l2>th day of October, 2017, the court having considered the parties'

discovery dispute submissions and the arguments presented during the September 26, 2017

discovery dispute hearing (D.I. 56; D.I. 57; D.I. 59; D.I. 61; 9/26117 Tr.), IT IS HEREBY

ORDERED THAT the parties' competing proposals regarding various disputed provisions of the

proposed protective order are resolved in the manner set forth below.

       1.       Background. PlaintiffFraunhofer-Gesellschaft Zur Forderung der angewandten

Forschung e.V. ("Fraunhofer") brought this civil action for patent infringement on February 22,

2017, alleging causes of action for infringement of United States Patent Nos. 6,314,289 ("the

'289 patent"), 6,931,084 ("the '1084 patent"), 6,993,084 ("the '3084 patent"), and 7,061,997

("the '997 patent"), which are directed to apparatuses and methods used to receive and decode

encoded satellite signals, identify "channel fading" effects, and correct for those offsets using a

channel decoder. (D.I. 1 at ifif 15-19)

       2.      On May 23, 201 7, the court entered a scheduling order setting a document

production deadline of January 31, 2018 and a fact discovery deadline of July 31, 2018. (D.I.
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26) On August 15, 2017, the court conducted a discovery dispute hearing regarding various

provisions of the proposed protective order. (D.1. 39) On September 26, 2017, the court held a

discovery di,spute teleconference to follow up on unresolved issues regarding the protective order

which were raised during the August 15 hearing. (D.I. 54) This Memorandum Order addresses

the remaining disputes regarding the definition of source code and additional restrictions on the

production of source code beyond those set forth in the Default Standard For Access To Source

Code (the "Default Standard").

        3.      Analysis. As a preliminary matter, the court adopts defendant Sirius XM Radio

Inc.' s ("SXM") proposed definition of source code in paragraph 12 of the protective order:

        computer instructions and code, scripts, binaries, object code, data definitions,
        source code listings, and any of the foregoing expressed in a form suitable for
        input to an assembler or compiler, along with associated comments found within
        the source code files. For purposes of clarity, Source Code as defined in this
        Order shall include any code (such as RTL, HDL, VHDL, Verilog, netlists),
        hardware-based documents (such as RTL, HDL, VHDL, Verilog, netlists,
        physical synthesis, schematics, and similar documents) or technical software
        documents (such as flow charts and design and functional specifications) that
        disclose code, are required for code compilation, and/or are used for and/or in the
        generation or building of an ASIC (Application Specific Integrated Circuit) or
        software directly executed on a microprocessor, micro controller or digital signal
        processor.

(D.I. 56, Ex. B at if 12)

        4.      SXM' s proposed definition of source code is broad enough to include both

software-based code and hardware-based code such as VHDL, which can be used to fabricate

and replicate circuit chips. (8/15/17 Tr. at 57:25-58:5) ("[T]here is a code that we would want to

look at. It has to do with how you make the chips. It's called VHDL. And it is code, but it's not

a code that's running on the chip. A code that they used that ultimately creates the net list, the

terms of the mass, how they make the chips themselves.") Code used to determine how chips are

actually made warrants heightened source code protection.

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       5.      The evidence submitted in connection with this dispute establishes that the term

"source code" encompasses both software-based and hardware-based code. (D.I. 57, Ex.Bat~

10) SXM's expert, Nigel Jones, states that "[h]ardware code, such as VHDL, is source code that

employs a human-readable syntax that can be used to design, fabricate and/or enable the

operation of integrated circuits or chips, such as customized circuits for specific or specialized

purposes." (Id at~ 11) Fraunhofer's expert does not expressly deny that VHDL is source code.

(D.I. 60 at~~ 9-11)

       6.      Defining "source code" to include hardware-based code, including VHDL, is also

consistent with this court's case authorities. See Intel Corp. v. Broadcom Corp., 173 F. Supp. 2d

201, 212 (D. Del. 2001) (ordering Intel "to provide to Broadcom VHDL source code," among

other material). In HSM Portfolio LLC v. Fujitsu Ltd, C.A. No. 11-770-RGA, the plaintiff

observed that "there is no dispute among the parties as to the agreed treatment of either HDL

Code or any physical layout file or other design file that can be used to actually fabricate a chip,"

and the resulting protective order afforded HDL Code heightened source code protection. (D.I.

57, Exs. Eat 2, Hat~ l(f), (1), & (m)) Although Judge Andrews ultimately concluded that

sourc.e code protection was not warranted for the disputed native circuit schematic files, that

conclusion was based on the finding that native circuit schematics could not be used to directly

fabricate integrated circuit chips. (D.I. 57, Exs. D at 2, Fat~ 19) In contrast, Fraunhofer's

counsel in the present case has expressly indicated that VHDL identifies how the chips

themselves are made. (8/15/17 Tr. at 57:25-58:5)

       7.      Several of SXM's additional proposals regarding restrictions on the production of

source code should be adopted to provide clear guidance and avoid the need to revisit such issues

in this case. As set forth in more detail below, the court adopts SXM' s proposals at paragraphs



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40, 41, 42, 43, 44, and 45. The court grants-in-part SXM's requested relief with respect to ·

paragraph 39. With respect to paragraph 46, the court adopts Fraunhofer's proposed

compromise position.

        8.      SXM's requested relief should be granted-in-part with respect to paragraph 39.

Prohibiting the use of recording devices in the source code review room is a reasonable

precaution to prevent the dissemination of highly confidential material. However, Fraunhofer

should be required to provide a private space at the inspection site where SXM representatives

may use electronic devices.

        9.·     SXM's requested relief regarding paragraph 40 should be granted. The provision

permits source code reviewers to take notes on the source code computer. As explained during

the September 26, 201 7 discovery dispute teleconference, the source code reviewers may then

request printouts of their notes on relevant code passages to prepare their expert reports.

        10.     SXM's requested relief should be granted with respect to paragraph 41.

Fraunhofer did not specifically address this topic in its letter submissions, and during the

September 26, 2017 discovery dispute teleconference, the parties represented that the provision

was no longer disputed. Requiring seven days' written notice of individuals planning to attend

the source code review, and requiring source code reviewers to sign a log, are not unreasonable

or burdensome requests.

        11.     SXM's proposal should be granted with respect to paragraphs 42 and 43. The

number of source code pages that may be printed or copied without the agreement of the

producing party should be limited to 500 pages. Fraunhofer has alleged that source code review

is not critical to the facts of this case, so it is unlikely that additional pages would be necessary.




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Moreover, the parties and are not prejudiced from seeking additional relief ifthe need presents

itself.

          12.   SXM' s requested relief on paragraphs 44 and 45 should be granted, as Fraunhofer

represents that it no longer disputes the inclusion of these paragraphs. Placing limitations on

when, where, and how printouts and photocopies of source code may be maintained is reasonable

to ensure that the highly confidential source code is securely maintained. Likewise, placing

limitations on how excerpts of source code may be included in pleadings and other litigation

documents protects against the disclosure of highly confidential source code.

          13.   The court adopts Fraunhofer' s compromise position on paragraph 46.

Specifically, documents with fewer than 50 contiguous lines of source code may be produced

under the "Highly Confidential -·Attorneys' Eyes Only" designation, while documents with

more than 50 contiguous lines of source code may be produced in redacted form under the,

"Highly Confidential - Attorneys' Eyes Only" designation, or in unredacted form under the

"Highly Confidential - Attorneys' Eyes Only - Source Code" designation.

          14.   Conclusion. In view of the foregoing analysis, SXM's request for relief is

granted with respect to paragraphs 40, 41, 42, 43, 44, and 45. The court grants-in-part SXM's

requested relief with respect to paragraph 39. With respect to paragraph 46, the court adopts

Fraunhofer' s proposed compromise position.

          15.   This Memorandum Order is filed pursuant to 28 U.S.C. § 636(b)(l)(A), Fed. R.

Civ. P. 72(a), and D. Del. LR 72.l(a)(2). The parties may serve and file specific written

objections within fourteen (14) days after being served with a copy of this Memorandum Order.

Fed. R. Civ. P. 72(a). The objections and responses to the objections are limited to ten (10) pages

each.



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       16.     The parties are directed to the court's Standing Order For Objections Filed Under

Fed. R. Civ. P. 72, dated October 9,' 2013, a copy of which is available on the court's website,

www.ded.uscourts.gov.




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